          Case: 22-2153    Document: 28     Page: 1    Filed: 07/24/2023




                          Nos. 22-2153, 23-1952

                In the United States Court of Appeals
                        For the Federal Circuit

            SALIX PHARMACEUTICALS, LTD.,
            SALIX PHARMACEUTICALS, INC.,
     BAUSCH HEALTH IRELAND LTD., ALFASIGMA S.P.A.,
                              Plaintiffs - Appellants
                                      v.
                NORWICH PHARMACEUTICALS INC.,
                                 Defendant - Cross-Appellant

            On Appeal from the United States District Court for the
           District of Delaware (Hon. Richard G. Andrews, presiding)
                            Case No. 1:20-cv-00430

                  OPENING BRIEF OF APPELLANTS

MORGAN, LEWIS & BOCKIUS LLP               MORGAN, LEWIS & BOCKIUS LLP
      Michael J. Abernathy                       William R. Peterson
      Karon Nicole Fowler                 1000 Louisiana St., Ste. 4000
      Michael Sikora                      Houston, TX 77002
110 North Wacker Drive, Ste. 2800         (713) 890-5188
Chicago, IL 60606
                                                 Julie S. Goldemberg
                                          1701 Market Street
                                          Philadelphia, PA 19103

                            Counsel for Appellants
           Case: 22-2153    Document: 28     Page: 2   Filed: 07/24/2023




                               CLAIMS AT ISSUE
Claim 3 of the ’667 Patent depends from Claim 1:

      1.     A method of treating one or more symptoms of irritable bowel
      syndrome (IBS) in a subject 65 years of age or older, said method comprising
      administering, 550 mg of rifaximin TID for 14 days to the subject, thereby
      treating one or more symptoms of IBS in the subject 65 years of age or older.

      3.    The method of claim 1, wherein the IBS is diarrhea-predominant IBS.

Claim 2 of the ’569 Patent depends from Claim 1:

      1.    A method of providing acute treatment for diarrhea-associated Irritable
      Bowel Syndrome (dIBS) comprising: administering 1650 mg/day of rifaximin
      for 14 days to a subject in need thereof, wherein removing the subject from
      treatment after the 14 days results in a durability of response, wherein the
      durability of response comprises about 12 weeks of adequate relief of
      symptoms.

      2.     The method of claim 1, wherein the 1650 mg is administered as 550 mg
      three times per day.

Claim 4 of the ’199 Patent provides:

      4.     Rifaximin in polymorphic form β, wherein the rifaximin has x-ray
      powder diffraction pattern peaks at about 5.4°; 9.0°; and 20.9° 2θ and wherein
      the rifaximin has a water content of greater than 5%.

Claim 36 of the ’206 Patent depends from Claim 34:

      34. A solid pharmaceutical composition comprising rifaximin in
      polymorphic Form β and a pharmaceutically acceptable excipient or carrier,
      wherein the rifaximin Form β has x-ray powder diffraction pattern peaks at
      about 5.4°; 9.0°; and 20.9° 2θ.

      36. The pharmaceutical composition of claim 34, wherein the rifaximin
      Form β has a water content of between about 4.5% to about 40%.




                                         i
           Case: 22-2153       Document: 28      Page: 3       Filed: 07/24/2023




                            CERTIFICATE OF INTEREST
Case Numbers              22-2153, 23-1952

Short Case Caption        Salix Pharmaceuticals, Ltd. v. Norwich Pharmaceuticals
                          Inc.

Filing Party/Entity       Salix Pharmaceuticals, Ltd., Salix Pharmaceuticals, Inc.,
                          Alfasigma S.p.A., Bausch Health Ireland Ltd.


I certify the following information and any attached sheets are accurate and complete
to the best of my knowledge.

                                          /s/ William R. Peterson
                                          William R. Peterson
                                          Counsel for Appellants
                                          Salix Pharmaceuticals, Ltd.,
                                          Salix Pharmaceuticals, Inc.,
                                          Bausch Health Ireland Ltd., and
                                          Alfasigma S.p.A.

                                          Dated: July 24, 2023

 1. Represented Entities.      2. Real Party in                 3. Parent Corporations
 Fed. Cir. R. 47.4(a)(1).      Interest.                        and Stockholders.
                               Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).

 Provide the full names of     Provide the full names of        Provide the full names of
 all entities represented by   all real parties in interest     all parent corporations for
 undersigned counsel in        for the entities. Do not         the entities and all
 this case.                    list the real parties if they    publicly held companies
                               are the same as the              that own 10% or more
                               entities.                        stock in the entities.

                                None/Not Applicable            ☐ None/Not Applicable

 Salix Pharmaceuticals,        Not Applicable                   Bausch Health
 Ltd.                                                           Companies Inc.




                                            ii
          Case: 22-2153     Document: 28       Page: 4   Filed: 07/24/2023




Salix Pharmaceuticals,      Not Applicable                Bausch Health
Inc.                                                      Companies Inc.

Bausch Health Ireland       Not Applicable                Bausch Health
Ltd.                                                      Companies Inc.

Alfasigma S.p.A.            Not Applicable                Turytes S.p.A.


4. Legal Representatives. List all law firms, partners, and associates that (a)
appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already
entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

Karen Jacobs                Damien N. Dombrowski          Daniel A. Apgar
Morris Nichols Arsht &      Venable LLP                   Venable LLP
Tunnell LLP

Jack B. Blumenfeld          Alexis M. McJoynt             Eric T. Harmon
Morris Nichols Arsht &      Venable LLP                   Venable LLP
Tunnell LLP

Cameron P. Clark            Becky E. Steephenson          Kelly A. Plummer
Morris Nichols Arsht &      Venable LLP                   Morgan, Lewis &
Tunnell LLP                                               Bockius LLP

Scott K. Reed               Steven C. Kline               Shannon K. Clark
Venable LLP                 Venable LLP                   Venable LLP


5. Related Cases. Other than the originating case(s) for this case, are there
related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?

 Yes                        ☐ No                       ☐ N/A (amicus/movant)
(See Notice of Related Case Information at Dkt. 9 in No. 23-1952.)




                                         iii
          Case: 22-2153     Document: 28    Page: 5   Filed: 07/24/2023




6. Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).

 None/Not Applicable




                                       iv
                 Case: 22-2153              Document: 28            Page: 6         Filed: 07/24/2023




                                             TABLE OF CONTENTS
                                                                                                                       Page

Claims at Issue ............................................................................................................i

Certificate of Interest ................................................................................................ ii

Table of Contents ....................................................................................................... v

Table of Authorities ..................................................................................................ix

Statement of Related Cases .................................................................................... xiii

Statement of Jurisdiction............................................................................................ 1

Statement of the Issues............................................................................................... 2

Introduction ................................................................................................................ 3

Statement of the Case................................................................................................. 4

I.       The IBS-D Patents ........................................................................................... 6

         A.        Background on IBS-D ........................................................................... 6

                   1.        In 2008, the medical community lacks treatments for
                             IBS-D. ......................................................................................... 7

                   2.        Some physicians publish “retrospective chart reviews”
                             discussing treatment of IBS with rifaximin. ............................... 8

                   3.        Dr. Pimentel attempts treating IBS with antibiotics, but
                             his work cannot be replicated. .................................................. 10

                   4.        In 2008, the medical community believes that
                             insufficient evidence supports using rifaximin to treat
                             IBS-D. ....................................................................................... 12

         B.        Salix Investigates, Discovers, and Patents a Method of
                   Treating IBS-D with 1,650 mg/day of Rifaximin ............................... 12



                                                              v
             Case: 22-2153             Document: 28            Page: 7         Filed: 07/24/2023




                                        TABLE OF CONTENTS
                                                 (continued)
                                                                                                                  Page

               1.       Salix conducts a Phase II clinical trial, “RFIB2001.” .............. 13

               2.       Salix reports some results of RFIB2001 in a press
                        release........................................................................................ 14

               3.       Salix conducts several Phase III clinical trials. ........................ 14

               4.       Salix patents the method of treating IBS-D with a
                        specific rifaximin dosage (1,650 mg/day for 14 days). ............ 16

       C.      The District Court Holds the IBS-D Claims Invalid as
               Obvious................................................................................................ 17

               1.       The district court relies heavily on the RFIB2001 Press
                        Release. ..................................................................................... 18

               2.       The district court relies on prior art disclosing positive
                        results for dosages well below the claimed dosage. ................. 19

II.    The Polymorph Patents .................................................................................. 20

       A.      Background on Polymorphism ............................................................ 20

       B.      Alfasigma Discovers a Polymorphic Form of Rifaximin that
               It Names “Form β” .............................................................................. 22

       C.      The District Court Holds the Polymorph Claims Invalid as
               Obvious................................................................................................ 23

III.   The District Court Enters Judgment .............................................................. 24




                                                        vi
                Case: 22-2153              Document: 28             Page: 8         Filed: 07/24/2023




                                            TABLE OF CONTENTS
                                                      (continued)
                                                                                                                       Page

Summary of the Argument....................................................................................... 26

Standard of Review .................................................................................................. 29

Argument.................................................................................................................. 30

I.       The District Court Erred in Holding the IBS-D Claims Invalid as
         Obvious. ......................................................................................................... 30

         A.        The District Court Erred by Relying on the RFIB2001 Press
                   Release................................................................................................. 30

                   1.       Norwich failed to carry its burden to prove that the
                            RFIB2001 Press Release was “a work of others.” .................... 31

                            a.        The RFIB2001 Press Release could be prior art
                                      only if it was a work of others. ....................................... 31

                            b.        Norwich bore the burden to prove, by clear and
                                      convincing evidence, that the RFIB Press
                                      Release was prior art....................................................... 32

                            c.        Norwich failed to satisfy its burden of
                                      persuasion. ...................................................................... 34

                   2.       The district court was incorrect to suggest that Salix
                            waived its challenge to the RFIB2001 Press Release as
                            prior art. ..................................................................................... 35

                   3.       The error in treating the RFIB2001 Press Release as
                            prior art was harmful. ................................................................ 37

         B.        The District Court Erred in Finding that a Skilled Artisan
                   Would Have Had an Expectation of Success in Using the
                   Claimed Dosage—1,650 mg/day—to Treat IBS-D. ........................... 39




                                                            vii
                Case: 22-2153             Document: 28             Page: 9        Filed: 07/24/2023




                                            TABLE OF CONTENTS
                                                     (continued)
                                                                                                                    Page

                   1.       The claimed daily dose (1,650 mg) is nearly 40%
                            larger than the largest daily dose reported to be
                            successful in the prior art (1,200 mg). ...................................... 40

                   2.       The district court misapplied this Court’s prior-art-
                            range precedent. ........................................................................ 44

                   3.       This Court should render judgment in favor of Salix. .............. 47

II.      The District Court Erred in Holding the Polymorph Claims Invalid
         as Obvious. .................................................................................................... 48

         A.        Pharmacyclics and Grunenthal Explain How to Analyze the
                   Obviousness of Polymorph Claims. .................................................... 49

         B.        Cannata and Common Knowledge Did Not Provide Skilled
                   Artisans with a Motivation and Reasonable Expectation of
                   Success in Creating the Claimed β Polymorph. .................................. 52

         C.        The District Court Applied the Wrong Test........................................ 55

Conclusion & Prayer for Relief ............................................................................... 58

Addendum ................................................................................................................ 60

Certificate of Compliance with Rule 32(a)




                                                           viii
              Case: 22-2153          Document: 28          Page: 10       Filed: 07/24/2023




                                     TABLE OF AUTHORITIES
                                                                                                    Page(s)

CASES

Adapt Pharma Operations Ltd. v. Teva Pharms. USA, Inc.,
  25 F.4th 1354 (Fed. Cir. 2022) ........................................................................... 46

Allergan, Inc. v. Apotex Inc.,
   754 F.3d 952 (Fed. Cir. 2014) ......................................................................32, 33

Bausch & Lomb, Inc. v. Barnes-Hind/Hydrocurve, Inc.,
  796 F.2d 443 (Fed. Cir. 1986) ............................................................................ 39

Boehringer Ingelheim Pharms. Inc. v. Mylan Pharms. Inc.,
  803 F. App’x 397 (Fed. Cir. 2020) ..................................................................... 46

Bristol-Myers Co. v. U.S. Int’l Trade Comm’n,
   892 F.2d 1050 (Table), 1989 WL 147230 (Fed. Cir. 1989) .........................51, 57

Duncan Parking Techs., Inc. v. IPS Grp., Inc.,
  914 F.3d 1347 (Fed. Cir. 2019) .......................................................................... 31

Dynamic Drinkware, LLC v. Nat’l Graphics, Inc.,
  800 F.3d 1375 (Fed. Cir. 2015) .......................................................................... 32

Eli Lilly & Co. v. Teva Parenteral Meds., Inc.,
   845 F.3d 1357 (Fed. Cir. 2017) .......................................................................... 29

Endo Pharms. Sols., Inc. v. Custopharm Inc.,
  894 F.3d 1374 (Fed. Cir. 2018) .......................................................................... 45

Ferring B.V. v. Watson Lab’ys, Inc.-Fla.,
   764 F.3d 1401 (Fed. Cir. 2014) .......................................................................... 45

Google LLC v. IPA Techs. Inc.,
  34 F.4th 1081 (Fed. Cir. 2022) ...............................................................26, 32, 33

Grunenthal GMBH v. Alkem Lab’ys Ltd.,
  919 F.3d 1333 (Fed. Cir. 2019) ...................................................................passim




                                                      ix
               Case: 22-2153           Document: 28           Page: 11        Filed: 07/24/2023




                                       TABLE OF AUTHORITIES
                                                  (continued)
                                                                                                          Page(s)

Hoffmann-La Roche Inc. v. Apotex Inc.,
  748 F.3d 1326 (Fed. Cir. 2014) .......................................................................... 46

In re Applied Materials, Inc.,
    692 F.3d 1289 (Fed. Cir. 2012) ..............................................................20, 27, 44

In re Cyclobenzaprine Hydrochloride Extended-Release Capsule Patent Litig.,
    676 F.3d 1063 (Fed. Cir. 2012) ....................................................................42, 45

In re Katz,
    687 F.2d 450 (C.C.P.A. 1982) ............................................................................ 31

Invitrogen Corp. v. Biocrest Mfg., L.P.,
   424 F.3d 1374 (Fed. Cir. 2005) .......................................................................... 31

IXI IP, LLC v. Samsung Elecs. Co., Ltd.,
   903 F.3d 1257 (Fed. Cir. 2018) .......................................................................... 29

LSI Corp. v. Regents of Univ. of Minn.,
   43 F.4th 1349 (Fed. Cir. 2022) ........................................................................... 32

Mahurkar v. C.R. Bard, Inc.,
  79 F.3d 1572 (Fed. Cir. 1996) ......................................................................26, 32

Medichem, S.A. v. Rolabo, S.L.,
  437 F.3d 1157 (Fed. Cir. 2006) .......................................................................... 57

Medtronic, Inc. v. Mirowski Fam. Ventures, LLC,
  571 U.S. 191 (2014) ............................................................................................ 29

Pfizer, Inc. v. Apotex, Inc.,
   480 F.3d 1348 (Fed. Cir. 2007) .......................................................................... 57

Pharmacyclics LLC v. Alvogen, Inc.,
  No. 21-2270, 2022 WL 16943006 (Fed. Cir. Nov. 15, 2022) .....................passim

Pharmacyclics LLC v. Alvogen Pine Brook LLC,
  556 F.Supp.3d 377 (D. Del. 2021)...............................................................passim


                                                         x
               Case: 22-2153             Document: 28            Page: 12         Filed: 07/24/2023




                                         TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                               Page(s)

Proctor & Gamble Co. v. Teva Pharm. USA, Inc.,
   566 F.3d 989 (Fed. Cir. 2009) ............................................................................ 29

Pullman-Standard v. Swint,
   456 U.S. 273 (1982) ......................................................................................39, 48

Riverwood Int’l Corp. v. R.A. Jones & Co.,
   324 F.3d 1346 (Fed. Cir. 2003) .......................................................................... 39

Sanofi-Aventis U.S. LLC v. Sandoz, Inc.,
   No. CV 20-804-RGA, 2023 WL 4175334 (D. Del. June 26, 2023)................... 42

Tech. Licensing Corp. v. Videotek, Inc.,
   545 F.3d 1316 (Fed. Cir. 2008) .......................................................................... 32

Teva Pharms. USA, Inc. v. Corcept Therapeutics, Inc.,
   18 F.4th 1377 (Fed. Cir. 2021) .........................................................27, 39, 44, 45

U.S. Gypsum Co. v. Schiavo Bros., Inc.,
   668 F.2d 172 (3d Cir. 1981) ............................................................................... 37

Vanda Pharms. Inc. v. Teva Pharms. USA, Inc.,
  No. 23-1247, 2023 WL 3335538 (Fed. Cir. May 10, 2023).........................42, 43

Woodland Tr. v. Flowertree Nursery, Inc.,
  148 F.3d 1368 (Fed. Cir. 1998) .......................................................................... 31

Yeda Rsch. v. Mylan Pharms., Inc.,
   906 F.3d 1031 (Fed. Cir. 2018) ..............................................................45, 46, 54

ZUP, LLC v. Nash Mfg., Inc.,
  896 F.3d 1365 (Fed. Cir. 2018) .......................................................................... 29

STATUTES

28 U.S.C. § 1295 ........................................................................................................ 1

28 U.S.C. § 1331 ........................................................................................................ 1



                                                            xi
               Case: 22-2153              Document: 28            Page: 13         Filed: 07/24/2023




                                         TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                Page(s)

35 U.S.C. § 102 .................................................................................................... 3, 31

RULES & REGULATIONS

42 C.F.R. § 11.22 ..................................................................................................... 42

Fed. R. App. P. 4 ........................................................................................................ 1

Fed. R. Civ. P. 60 ...........................................................................................1, 24, 25




                                                            xii
           Case: 22-2153     Document: 28       Page: 14   Filed: 07/24/2023




                        STATEMENT OF RELATED CASES
      Norwich Pharmaceuticals, Inc. v. Becerra et al., No. 1:23-cv-01611 (D.D.C.),

is a pending suit by Norwich against the FDA because of the FDA’s compliance

with the judgment that is the subject of this appeal.




                                         xiii
          Case: 22-2153     Document: 28     Page: 15   Filed: 07/24/2023




                          STATEMENT OF JURISDICTION
      The district court had federal question jurisdiction under 28 U.S.C. § 1331.

The district court entered a final judgment on August 10, 2022. Appx50. Appellants

filed a timely notice of appeal on August 16. Appx3965.

      On September 7, Appellee Norwich Pharmaceuticals Inc. moved to modify

the judgment under Federal Rule of Civil Procedure 60(b), Appx3968; Appx3970,

which suspended the appeal. Fed. R. App. P. 4(a)(4)(A)(iv).

      On May 17, 2023, the district court denied Norwich’s motion to modify the

judgment. Appx52. Norwich filed a timely appeal of the final judgment and denial

of the motion to modify on May 19. Appx4243. This Court consolidated these

appeals. No. 22-2153, Dkt. 20.

      This Court has jurisdiction over this appeal of a final decision of a district

court in this civil action arising under the Patent and Trademark Act. 28 U.S.C.

§ 1295(a)(1).




                                         1
           Case: 22-2153     Document: 28     Page: 16    Filed: 07/24/2023




                           STATEMENT OF THE ISSUES
      Issues Concerning IBS-D Patents:

      Two patents claim methods of treating IBS-D using a specific dosage of

rifaximin: 550 mg administered three times a day (1,650 mg per day) for 14 days.

      1.     In finding these claims invalid as obvious, the district court relied on a

press release (“the RFIB2001 Press Release”), which quotes a named inventor and

reports some results of a study that is discussed at length in the IBS-D Patents. Did

the district court err by relying on the RFIB2001 Press Release as prior art under

pre-AIA Section 102(a) without evidence that it reported work “by others”?

      2.     Even considering the RFIB2001 Press Release, the highest dosage for

which the district court found prior art reported successful results in treating IBS-D

was 1,200 mg per day. Did the district court err in applying this Court’s “prior-art-

range” cases to find a reasonable expectation of success in treating IBS-D using the

claimed dosage (1,650 mg per day) because it was “within the known range”?

      Issue Concerning Polymorph Patents:

      Two patents claim rifaximin in a form labeled “polymorphic form β.”

      3.     At the time of the patent filing, it was unknown whether rifaximin was

even polymorphic, much less whether form β existed. Did the district court err in

finding that a skilled artisan would have had a motivation and reasonable expectation

of success in preparing the claimed rifaximin form β?



                                          2
           Case: 22-2153     Document: 28      Page: 17    Filed: 07/24/2023




                                  INTRODUCTION
      This appeal concerns three straightforward errors in invalidating claims as

obvious. First, the district court relied heavily on a press release issued within one

year of the IBS-D Patents’ filing that quoted a named inventor and that disclosed

high-level results of a study also discussed at length in the specifications. Norwich

presented no evidence that this press release was “by others,” as required by 35

U.S.C. § 102(a) [pre-AIA]. The district court erred by treating it as prior art.

      Second, none of the prior art credited by the district court, including the press

release, justified finding that a skilled artisan would have had a reasonable

expectation of success in treating IBS-D with the specific dosage claimed in the

IBS-D Patents: 1,650 mg/day. To the extent that the district court made such a

finding—none was made expressly—it erred. The highest dosage for which the

district court found prior art reported success in treating IBS-D was 1,200 mg/day.

The dosage claimed by Salix was outside the range disclosed to be safe and effective.

      Third, the district court clearly erred in finding a motivation and reasonable

expectation of success in preparing rifaximin form β. No reference disclosed form β

or taught that rifaximin was polymorphic. The opinion below expressly rejects the

contrary analysis of Pharmacyclics LLC v. Alvogen Pine Brook LLC, 556 F.Supp.3d

377 (D. Del. 2021). Appx15 n.1. Having affirmed in Pharmacyclics, No. 21-2270,

2022 WL 16943006 (Fed. Cir. Nov. 15, 2022), this Court should reverse here.



                                           3
           Case: 22-2153     Document: 28     Page: 18   Filed: 07/24/2023




                            STATEMENT OF THE CASE
      Appellants Salix Pharmaceuticals, Ltd., Salix Pharmaceuticals, Inc., and

Bausch Health Ireland Ltd. are related companies that are parts of “one of the largest

specialty pharmaceutical companies in the world committed to the prevention and

treatment of gastrointestinal diseases.” Appx4059. For two patents at issue, these

appellants are the exclusive licensees of Appellant Alfasigma S.p.A. Appx187 ¶ 43.

For convenience, we refer to all appellants collectively as “Salix.”

      For more than thirty years, Salix “has licensed, developed and marketed

innovative products to improve patients’ lives and arm health care providers with

life-changing solutions for many chronic and debilitating conditions.” Appx4059.

Salix’s flagship product—the antibiotic Xifaxan® (the brand name for the drug

rifaximin)—provides important relief for a variety of conditions.

      The Food and Drug Administration first approved Xifaxan in 200 mg tablets

to treat travelers’ diarrhea in 2004. Appx2. As a result of Salix’s continued research

and innovation, the FDA approved 550 mg tablets for treatment of hepatic

encephalopathy (“HE”) in 2010 and, following years of research and studies, for

treatment of irritable bowel syndrome with diarrhea (“IBS-D”) in 2015. Id.

      This appeal involves challenges by Appellee Norwich Pharmaceuticals Inc. to

the patents protecting Xifaxan. In December 2019, Norwich filed an Abbreviated




                                          4
          Case: 22-2153     Document: 28     Page: 19    Filed: 07/24/2023




New Drug Application (“ANDA”) seeking to make and sell generic rifaximin 550

mg tablets with the same indications and uses as Xifaxan. Appx1365; Appx1368.

      Salix sued Norwich under the Hatch-Waxman Act in March 2020, alleging

that Norwich’s ANDA infringed more than two dozen patents listed in the Orange

Book for Xifaxan. Appx1366. As often occurs, the parties agreed to simplify the

case and limit the claims and defenses in dispute. Norwich voluntarily dismissed

several claims for invalidity, and Salix stipulated that Norwich’s then-pending

ANDA label did not infringe numerous asserted claims. Appx3709.

      By the time of trial, the case had been streamlined to three groups of patents:

patents claiming a method of treating hepatic encephalopathy, U.S. Patent Nos.

8,642,573, 9,421,195, and 10,335,397 (“the HE Patents”); patents claiming a method

of treating IBS-D, U.S. Patent Nos. 8,309,569 and 10,765,667 (“the IBS-D

Patents”); and patents claiming rifaximin in polymorphic form β, U.S. Patent Nos.

7,612,199 and 7,902,206 (“the Polymorph Patents”).

      Following a five-day bench trial, the district court found that the asserted

claims of the HE Patents were valid and infringed by Norwich. Appx46. This appeal

involves the asserted claims of the IBS-D Patents and Polymorph Patents: although

the district court held that Norwich’s ANDA would induce infringement, it held the

asserted claims of the IBS-D Patents and Polymorph Patents invalid as obvious.




                                         5
           Case: 22-2153    Document: 28     Page: 20    Filed: 07/24/2023




I.    The IBS-D Patents

      This appeal primarily concerns Salix’s patents claiming methods for treating

IBS-D. Salix raises two discrete arguments regarding these patents before this

Court: (1) the erroneous treatment of a reference as prior art; and (2) the erroneous

finding of an expectation of success in treating IBS-D using the claimed dosage. An

understanding of these issues requires background about the art and the litigation.

      A.     Background on IBS-D

      Irritable bowel syndrome (IBS) affects millions of Americans. Appx3027-

3028. It is “a functional bowel disorder in which abdominal pain or discomfort is

associated with defecation or a change in bowel habit.” Appx3024. Symptoms

include “abdominal pain, bloating, frequency, urgency, gas, and changed bowel

habits.” Appx32. Roughly one-third of IBS patients suffer from IBS-D, in which

diarrhea is predominant. Appx3143.

      IBS is a “syndrome” rather than a “disease” because it describes a “collection

of symptoms” without a “defined, single cause.” Appx3140-41. Doctors diagnose

IBS “based on a patient’s subjective symptoms and the absence of finding other

disorders.” Appx3028. In other words, after ruling out other causes for the

symptoms, doctors diagnose patients with IBS. No medical test—not blood analysis,

colonoscopy, CT scan, or anything else—allows a doctor to verify whether a patient

has IBS. Appx3029.



                                         6
          Case: 22-2153     Document: 28     Page: 21    Filed: 07/24/2023




      Even today, IBS is “a black box,” and doctors do not know its underlying

cause. Appx3026. Some hypotheses include a central nervous system defect,

signaling defects in the enteric (gut) nervous system, inflammatory changes in the

mucosa of the colon, bacterial alterations, genetic factors, and dietary triggers.

Appx3026-3027; Appx32.

             1.    In 2008, the medical community lacks treatments for IBS-D.

      With such uncertainty about its underlying cause, treating IBS-D is

challenging. This was particularly true in February 2008, the priority date for the

IBS-D Patents. See Appx33.

      Before the FDA approved Xifaxan in 2015, doctors had no good options for

the treatment of IBS-D. Appx3316 (noting the “big unmet need”). At the time of

the patents in 2008, numerous therapies were being tried out of hope and desperation,

without any real expectation that they would succeed.

      The placebo effect makes identifying successful treatments difficult. Because

doctors must rely on patients’ “subjective assessment of symptoms,” Appx3297, “a

huge placebo effect” is “associated with using any therapy,” Appx3295. One paper

cautions that the placebo response rate for “a global improvement in IBS symptoms”

was 36%. Appx6403 (discussing “a recently published meta-analysis”). Others

suggest even higher: “The placebo response of up to 40–50% in IBS trials confounds

interpretation of many drug studies.” Appx5504.



                                         7
           Case: 22-2153      Document: 28      Page: 22       Filed: 07/24/2023




      Particularly because of the placebo effect, a “double-masked, randomized,

placebo-controlled trial is the gold standard method to test the efficacy of a new

treatment” for IBS-D. Appx6403.

      In 2008, the only FDA-approved product for the treatment of IBS-D was

alosetron, indicated only for women with severe IBS-D. Appx3033. Some doctors

attempted to treat the diarrhea with Imodium and pain with Bentyl. Appx3032.

Others experimented with antidepressants, speculating that they might help with

brain-gut communications. Appx3033. Still others tried probiotics (which might

affect the bacteria in the colon) or changes to a patient’s diet. Id.

      Some doctors resorted to antibiotics, including off-label use of 200 mg

Xifaxan (rifaximin) tablets. Dr. Schoenfeld, Salix’s expert at trial, explained that he

tried it on patients “who had severe irritable bowel syndrome with diarrhea

symptoms, who had failed multiple therapies, who were despairing because of how

their symptoms impacted them.” Appx3319. He did not expect success but tried it

as “an experiment”: “[B]ecause . . . you’ve already failed so many treatments and

you’re so miserable, I think there’s some hope that we might try something, and let’s

see if it’s beneficial, but this is like an experiment.” Id.

             2.     Some physicians publish “retrospective chart reviews”
                    discussing treatment of IBS with rifaximin.

      Some physicians who tried treating IBS patients with rifaximin published

papers based on “retrospective chart reviews.” Appx3295. These publications are


                                            8
          Case: 22-2153     Document: 28     Page: 23    Filed: 07/24/2023




“the very lowest level of [medical] evidence.” Id. A retrospective chart review is

not a scientific study that tests a hypothesis. Doctors instead review their notes on

old patient charts and (retrospectively) attempt to classify whether, when, and how

much patients improved. Appx3308.

      By definition, a retrospective chart review is not randomized (the patients are

not assigned treatments at random), not blinded (the doctor and patient both know

what treatment the patient received), and not placebo-controlled (patients receiving

treatment are not compared against patients receiving a placebo). Particularly given

the “huge placebo effect” for IBS-D, one witness explained, a skilled artisan would

not rely on a retrospective chart review “to provide accurate and unbiased results

about the potential efficacy and safety of a treatment.” Appx3295.

      One such paper was published in March 2006 by Dr. Salvagini Cuoco.

Appx4533 (“Cuoco”). It involved fewer than two dozen patients, who all received

both 1,200 mg/day rifaximin and a probiotic. Appx3222. Cuoco is a retrospective

chart review:

      The investigators went back and looked at their notes about bowel
      habits and what the patient said about their symptoms. And then in
      order to do a numeric comparison for symptom relief, they then
      assigned whether it was [0, 1, 2, or 3].

Appx3308. Like other retrospective chart reviews, Cuoco was not randomized, not

blinded, and not placebo-controlled. Appx3221-3222 (discussing Appx4533).




                                         9
          Case: 22-2153    Document: 28     Page: 24   Filed: 07/24/2023




      Another retrospective chart review was published by Dr. George Barrett in

September 2006. Appx4799 (“Barrett”). Barrett involved only eight patients. Like

Dr. Cuoco, Dr. Barrett administered 1,200 mg/day rifaximin along with a probiotic.

Appx3293; Appx4800. Barrett concludes that “further studies . . . are warranted.”

Appx4800.

            3.     Dr. Pimentel attempts treating IBS with antibiotics, but his
                   work cannot be replicated.

      Dr. Mark Pimentel, a clinician at the Cedars-Sinai Medical Center, was also

researching treatments for IBS. Appx3115. He—along with others at Cedars-Sinai,

Appx3276—theorized that “buildup of bacteria was a contributing factor to

symptoms of irritable bowel syndrome” and thus attempted to treat IBS with

antibiotics, Appx3117-3118.

      In 2006, Dr. Pimentel published a study, which was conducted almost entirely

at Cedars-Sinai, on the effects of treating IBS (not IBS-D) with 1,200 mg/day

rifaximin. Appx4639 (“Pimentel 2006”). This was a randomized, double-blind,

placebo-controlled study with 80 participants. Id.. According to Dr. Pimentel’s

calculations, “rifaximin recipients reported global improvements in overall

symptoms and less bloating more frequently than placebo recipients.” Appx4640.

But “[n]o major differences in abdominal pain, diarrhea, or constipation were

observed[.]” Id.




                                       10
           Case: 22-2153     Document: 28      Page: 25    Filed: 07/24/2023




      The broader medical community never accepted Dr. Pimentel’s work. He

was, in his own words, “the lone voice in the wilderness.” Appx3117. Pimentel

2006, for example, involved idiosyncratic calculations, never used by any other

study: “a very complicated biostatistical formula” that even a “master’s degree

recipient in health research methodology” could not understand. Appx3284.1 In an

editorial published alongside Pimentel 2006, Dr. Douglas Drossman—“one of the

world’s experts in irritable bowel syndrome,” Appx3287—noted “several

methodological issues” in Pimentel 2006 that made its “findings inconclusive and

raise[d] questions about the clinical significance of the results,” Appx5152-5153

(“Drossman”).2

      Dr. Pimentel’s results—and those of his colleagues at Cedars-Sinai—could

not be reproduced by other researchers. E.g., Appx5152-5153 (noting differences

in results); Appx5526 (“strongly cautions against antibiotic treatment for IBS

patients”); Appx5546 (published study failing to duplicate results); Appx3281 (“I

am not aware of a group in the U.S., certainly, that was able to replicate that [Cedars-

Sinai] data.”).



1
   No trial witness explained the calculations supporting the results reported in
Pimentel 2006.
2
  See also Appx5543 (“[T]he most recent study by Pimentel and colleagues analysed
the data using a complex statistical mixed model which creates a blending of
symptom responses over the entire period rather than a conventional single end
point.”).

                                          11
           Case: 22-2153    Document: 28     Page: 26    Filed: 07/24/2023




            4.     In 2008, the medical community believes that insufficient
                   evidence supports using rifaximin to treat IBS-D.

      Several publications captured the mainstream medical view of the evidence at

the time of the IBS-D Patents. A 2007 Education Practice note by Dr. Eamonn M.M.

Quigley, Appx5537 (“Quigley”), stated, “sound rationale for antibiotic therapy has

not been established,” Appx3298. “[O]ne cannot yet recommend . . . empiric

antibiotic therapy in IBS.” Appx5537.

      A 2007 publication from the British Society of Gastroenterology recognized

that antibiotic treatment “cannot be recommended until replicated in well designed

studies by others [i.e., doctors outside of Cedars-Sinai].” Appx5506.

      A February 2008 article by Dr. Steve Vanner, Appx5539 (“Vanner”),

surveyed the evidence, including “virtually every publication from the Cedars-Sinai

group,” Appx3300. He concluded that Dr. Pimentel’s research (and other studies on

using antibiotics to treat IBS-D) presented an “intriguing” but ultimately “unproven

hypothesis.” Appx5544. Less than a month before the priority date of the IBS-D

Patents, Dr. Vanner wrote: “There is insufficient evidence to recommend antibiotics

for the treatment of irritable bowel syndrome at present.” Appx5543.

      B.    Salix Investigates, Discovers, and Patents a Method of Treating
            IBS-D with 1,650 mg/day of Rifaximin

      Against this backdrop of medical uncertainty, Salix conducted the first serious

clinical research into the use of rifaximin for treating IBS-D. After a decade of



                                        12
           Case: 22-2153      Document: 28      Page: 27   Filed: 07/24/2023




research and numerous clinical trials, Salix eventually received FDA approval for

treating IBS-D with rifaximin.

                1.   Salix conducts a Phase II clinical trial, “RFIB2001.”

      Salix began by filing an investigational new drug application in November

2005. Appx3041. Shortly afterwards, Salix conducted a study called “RFIB2001,”

a “Phase II” clinical trial that tested a variety of different dosages and durations.3 It

was a randomized, double blind, and placebo-controlled study with more than 680

participants.

      The protocol for the RFIB2001 study was published on ClinicalTrials.gov.

DX340 (RFIB2001 Protocol). The study tested twice-daily doses of placebo, twice-

daily doses of rifaximin 275 mg (550 mg/day), twice-daily doses of rifaximin 550

mg (1,100 mg/day) for both 14 and 28 days, and twice-daily doses of rifaximin 1,100

mg (2,200 mg/day). Appx7051; Appx7053.

      The evidence at trial was that skilled artisans would not have an expectation

of success merely because a Phase II clinical trial is being conducted. Appx3313-

3314. Many Phase II trials do not yield positive results, Appx3314, and the

RFIB2001 study was no exception. Its results were “confusing.” Appx3042. The



3
  “RFIB2001” is the study’s “Unique Protocol ID.” Appx7050; see also Appx3173-
3174. The district court included a space between “RFIB” and “2001.” Although
not explained in the record, it appears that “RF” indicates the drug and “IB” the
target. The rifaximin–HE studies were labeled “RFHE.” Appx2576.

                                           13
           Case: 22-2153    Document: 28      Page: 28   Filed: 07/24/2023




study showed adequate relief of IBS symptoms using the 550-milligram-twice-daily

dosage for 14 days but not from the same dosage for 28 days and not from the higher

dosage (2,200 mg/day). Appx3042.

            2.     Salix reports some results of RFIB2001 in a press release.

      On September 5, 2007, Salix reported some results of its RFIB2001 study in

a press release (the “RFIB2001 Press Release”). Appx7480-7482. The press release

reports success only for the 1,100-milligram-per-day dose:

      Top-line results of this study demonstrate that the . . . comparison of a
      14-day dose of rifaximin at 550 mg twice-a-day [1,100 mg/day],
      provides a statistically significant improvement in both adequate relief
      of dIBS symptoms and adequate relief of bloating, compared to
      placebo.

Appx7480. Skilled artisans understood (correctly) that reporting success only for

the 1,100 mg/day dosage indicated that the other dosages were unsuccessful.

Appx3314.

      Salix retained different IBS experts—including Dr. Schoenfeld, its expert

witness at trial—to analyze the full results from the RFIB2001 study and conducted

additional studies. Appx3042-3043.

            3.     Salix conducts several Phase III clinical trials.

      In Phase III clinical trials initiated in June 2008, Salix tested 550 mg three

times a day for 14 days. Appx3043. This is the same dosage claimed in the IBS-D

Patents.



                                         14
             Case: 22-2153   Document: 28    Page: 29   Filed: 07/24/2023




      After its Phase III trials demonstrated improvement compared to the placebo,

Salix submitted its new drug application to the FDA in June 2010. Appx3044. But

the FDA rejected the sufficiency of Salix’s data and required more studies.

Appx5127 (March 2011).

      On November 16, 2011, the FDA Gastrointestinal Drugs Advisory Committee

met to discuss the design of additional clinical trials to evaluate the efficacy of

rifaximin for IBS-D treatment. Appx5207. One member, Dr. Pasricha, questioned

the “almost magical” 550 mg TID (three times daily) dosage identified by Salix.

Appx5245; see also id. (“[A]nything over that doesn’t work, anything less than that

doesn’t work[.]”); Appx5247 (noting that Salix had demonstrated a “U-shaped dose-

response curve”).     She noted the significant uncertainty about both IBS and

rifaximin:

      [T]his is 2011. I know we don’t know much about IBS, but we’re
      basically . . . treating a disease which we know nothing or very little
      about with a drug that we know little or nothing about.

Appx5246.

      Finally, in 2015, after Salix conducted an additional multiyear Phase III

clinical trial, FDA approved rifaximin for the treatment of IBS-D at a dosage of 550

mg three times a day for 14 days.




                                        15
                      Case: 22-2153              Document: 28            Page: 30      Filed: 07/24/2023




                       4.          Salix patents the method of treating IBS-D with a specific
                                   rifaximin dosage (1,650 mg/day for 14 days).

           In February 2008, Salix filed patent applications that later became U.S. Patent

Nos. 8,309,569 and 10,765,667. Both patents discuss the RFIB2001 study at length

in their specifications. See Appx119, ’569 Patent at 21:65-66 (“This example relates

to a study of rifaximin in subjects with dIBS. Subjects received daily one of BID

[twice-per-day] doses of placebo, rifaximin 275 mg, 550 mg, or 1100 mg for 14

days.”); see also Appx119-121, ’569 Patent at 21:65-25:52 (discussing RFIB2001

study and results); Appx151-153, ’667 Patent at 23:63-27:56 (same). The figures in

the ’569 Patent are stamped “RFIB2001”:

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                                                                 16
            Case: 22-2153     Document: 28      Page: 31   Filed: 07/24/2023




Appx103, ’569 Patent, Fig. 1 (emphasis added); see also Appx104, Appx106-108.4

Dr. Bill Forbes—the individual quoted discussing the results of “our study” in the

RFIB2001 Press Release—is a named inventor on both patents.

      Claim 3 of the ’667 Patent and Claim 2 of the ’569 Patent (“the IBS-D

Claims”) both involve a method of treating IBS-D with 550 milligrams of rifaximin

three times per day (a total of 1,650 milligrams per day) for 14 days.5

      C.     The District Court Holds the IBS-D Claims Invalid as Obvious

      At trial, Norwich argued that the IBS-D Claims were obvious based on three

combinations of prior art. For the ’569 Patent, Norwich relied on the combination

of Cuoco (Appx4533) and the RFIB2001 Protocol (Appx7047). For the ’667 Patent,

Norwich relied on the combination of Barrett (Appx4799) and the RFIB2001

Protocol.    For both, Norwich relied on the combination of Pimentel 2006

(Appx4639) and the RFIB2001 Protocol. Because the district court found both

IBS-D Claims obvious in view of the third combination, it did not address the others.

      There is no dispute that skilled artisans knew of the general concept of trying

off-label use of rifaximin to treat IBS-D. Salix, for example, was investigating

rifaximin in the RFIB2001 study. And Salix’s expert at trial, Dr. Schoenfeld,


4
  The figures in the ’667 Patent are substantively identical but lack the “RFIB2001”
stamp.
5
  Claim 2 of the ’569 Patent includes the additional limitation of “about 12 weeks of
adequate relief of symptoms” after stopping the treatment, and Claim 3 of the ’667
Patent includes the additional limitation that the subject is “65 years of age or older.”

                                           17
           Case: 22-2153     Document: 28      Page: 32   Filed: 07/24/2023




testified that he treated some IBS-D patients with rifaximin (albeit at dosages below

the claimed dosage) as an act of desperation. Appx3319; Appx3371.

      The trial thus focused on narrower questions: (1) Would a skilled artisan have

had a reasonable expectation of success in using rifaximin to treat IBS-D? and

(2) More specifically, would a skilled artisan have had a reasonable expectation of

success in using the claimed dosage (1,650 mg/day for 14 days) to treat IBS-D?

After trial, the district court made two key findings:

      A POSA would have been motivated to combine the RFIB 2001
      Protocol and Pimentel 2006 with a reasonable expectation of success.
      As of the priority date, the prior art disclosed positive results in using
      rifaximin to treat IBS-D for a range of doses. The asserted IBS-D
      claims describe a dosing regimen within the known range.

Appx33-34.

      Two aspects of these findings warrant comment.

             1.     The district court relies heavily on the RFIB2001 Press
                    Release.

      Despite acknowledging the medical community’s skepticism regarding using

rifaximin to treat IBS-D, the district court found an expectation of success. In

reaching this conclusion, the district court relied heavily on the RFIB2001 Press

Release, which reported some results of Salix’s RFIB2001 study.

      The RFIB2001 Press Release was the heart of the district court’s analysis: “Its

disclosure of positive results would give a POSA a reasonable expectation of success

in using rifaximin to treat IBS-D.” Appx42; see also, e.g., Appx39 (“The RFIB 2001


                                          18
           Case: 22-2153     Document: 28      Page: 33    Filed: 07/24/2023




Press Release reported that a ‘14-day course of rifaximin at 550 mg twice-a-day’

dosage saw effective results.”).

      And the district court found that Norwich overcame Salix’s evidence of

skepticism largely because the RFIB2001 Press Release “was not cited by Quigley,

Vanner, or Drossman.” Appx42. Fundamentally, the district court concluded, a

skilled artisan “would look to the top-line results from the RFIB 2001 Protocol [i.e.,

the RFIB2001 Press Release] as evidence that rifaximin could be effective in treating

IBS-D.” Appx43.

      The opinion suggests that Salix may have waived any challenge to the

RFIB2001 Press Release as prior art by not listing it as disputed in the pretrial order.

Appx41. This was incorrect. Salix listed the disputed issues as including “[w]hether

Norwich has proven by clear and convincing evidence” that “Harary Reply Report

Exhibit C” (another name for the RFIB2001 Press Release) “qualif[ied] as prior art

to the Asserted IBS-D Patent claims.” Appx1457.

             2.     The district court relies on prior art disclosing positive
                    results for dosages well below the claimed dosage.

      The district court found that the prior art “describes positive results from a

range of doses,” Appx39, but three of the four prior art references credited by the

district court (Pimentel 2006, Cuoco, and Barrett) disclosed positive results only for

1,200 mg/day. The fourth—the RFIB2001 Press Release—reported effective results

only for 1,100 mg/day (and indicated that the higher dosage tested was ineffective).


                                          19
           Case: 22-2153      Document: 28      Page: 34    Filed: 07/24/2023




The district court did not identify any prior art reporting positive results from treating

IBS-D with doses larger than 1,200 mg.

      Nonetheless, the district court found that the claimed dosage (1,650 mg/day,

nearly 40% larger) was “within the known range,” Appx34, and thus reasoned that

treating patients using the dosage was “not inventive,” Appx39 (quoting In re

Applied Materials, Inc., 692 F.3d 1289, 1295 (Fed. Cir. 2012)).

      For these reasons, the district court held that the IBS Claims were invalid as

obvious. Appx46.

II.   The Polymorph Patents

      The district court also held invalid as obvious the asserted claims of the

Polymorph Patents, id., which claim a specific form of rifaximin that they label

“polymorphic form β,” Appx5-6.

      A.     Background on Polymorphism

      Polymorphism means that a chemical compound can crystallize with different

internal structures.     Appx5688.       “Polymorphism in active pharmaceutical

ingredients, API’s, is critical . . . since polymorphs can exhibit different physical

and/or chemical properties.” Id. Different polymorphs are distinguished by their

measured X-ray powder diffraction (XRPD) peaks. Appx6.

      Skilled artisans were baffled by polymorphism, and they remain so today.

See, e.g., Appx5617 (Reutzel-Edens paper, from 2003: “[I]t is not yet possible to



                                           20
           Case: 22-2153    Document: 28        Page: 35    Filed: 07/24/2023




predict when materials will crystallize, let alone when multiple crystal forms will

appear.”); Appx5688 (Vishweshwar paper, from 2005: “Polymorphism, the

existence of more than one crystalline form of a compound, is an intensely studied

phenomenon, yet it remains poorly understood and controlled.”); see also

Appx3460-3461 (Myerson). Scientists do not “know, based on molecular structure

alone, whether a compound will be polymorphic” or whether “all possible

polymorphs have been found.” Appx5146 (Cruz-Cabeza paper, from 2020); see also

Appx5589 (Stahly paper, from 2007: “The ability to predict whether a given

compound will exist in multiple crystal forms does not yet exist, although not for

lack of effort.”).

       Since polymorphism is an unpredictable art, Appx3434-3436, Appx3440-

3441 (Zaworotko); Appx3460-3461, Appx3477 (Myerson), skilled artisans use

“polymorph screens”—trial-and-error experiments—to attempt to find new

polymorphs or crystalline forms of substance. Appx3462 (Myerson). There is no

standard way to perform polymorph screens.                 Appx3464-3465 (Myerson)

(discussing eight techniques); Appx5376-5412; Appx5668-5687.               And minor

differences among any of the numerous variables used in conducting a screen can

have significant effects on how a compound crystallizes. Appx5617 (“[E]ven with

the most carefully designed and executed screens, polymorphs . . . are all too

frequently discovered by serendipity.”).



                                           21
           Case: 22-2153    Document: 28     Page: 36   Filed: 07/24/2023




      B.    Alfasigma Discovers a Polymorphic Form of Rifaximin that It
            Names “Form β”

      The rifaximin chemical compound was invented by scientists at Alfa

Wassermann, which is now part of Alfasigma, in the early 1980s. Appx2532.

      But until the early 2000s, it was unknown that rifaximin is polymorphic, i.e.,

that rifaximin sometimes crystallizes with different internal structures. Appx3433-

3434; Appx3467-3468; Appx3796 ¶ 218.

      For example, Cannata, a prior art reference considered by the patent examiner,

Appx3466, Appx3475, discloses methods for preparing rifaximin. But it does not

discuss polymorphism or identify the crystalline forms (if any) prepared by the

examples. Appx3469-3470 (Myerson).

      In the early 2000s, a group of Alfasigma scientists noticed differences in

different batches of rifaximin. Appx2532. In collaboration with scientists at the

University of Bologna, they discovered that rifaximin could exist in different

polymorphic forms, with different properties, and determined how to consistently

produce particular forms. Id.; see also Appx85 at 1:41-42 (“It has now been found,

unexpectedly, that there are several polymorphous forms [of rifaximin].”).

      One form of rifaximin identified (and patented) by Alfasigma was a form with

“water content higher than 4.5%, preferably between 5.0% and 6.0%,” and with an

x-ray powder diffractogram showing “peaks at the values of the diffraction angles

20 of 5.4°; 6.49°; 7.0°; 7.80°; 9.09°; 10.49°; 13.10°; 14.40°; 17.10°; 17.90[°];


                                        22
           Case: 22-2153     Document: 28     Page: 37   Filed: 07/24/2023




18.30[°]; 20.99°.” Appx87 at 5:65-6:3. They labeled this form “rifaximin β,”

Appx87 at 5:65, or “rifaximin in polymorphic form β.”

      The Polymorph Patents, which the other appellants later licensed from

Alfasigma, have a priority date of November 7, 2003. Claim 4 of the ’199 Patent

and Claim 36 of the ’206 Patent (the “Polymorph Claims”) both claim rifaximin “in

polymorphic form β, wherein the rifaximin has x-ray powder diffraction pattern

peaks at about 5.4°; 9.0°; and 20.9° 2θ.”6

      C.     The District Court Holds the Polymorph Claims Invalid as Obvious

      Although it was undisputed that rifaximin was not known to be polymorphic

and rifaximin form β was not known to exist, the district court determined that the

Polymorph Claims were invalid as obvious. The district court first found that skilled

artisans “would have been motivated to characterize the rifaximin produced by the

Cannata processes.” Appx13. Had skilled artisans done so, the district court found,

they “would have [had] a reasonable expectation of success in characterizing the

polymorph β, as opposed to the other forms of rifaximin” because “polymorph β is

a commonly produced polymorph and the most stable form of rifaximin.” Appx14.




6
 Claim 4 of the ’199 Patent adds the requirement that “the rifaximin has a water
content of greater than 5%.” Claim 36 of the ’206 Patent claims “a solid
pharmaceutical composition” comprising rifaximin in polymorphic Form β and a
“pharmaceutically acceptable excipient or carrier,” “wherein the rifaximin Form β
has a water content of between about 4.5% to about 40%.”

                                         23
           Case: 22-2153      Document: 28      Page: 38    Filed: 07/24/2023




       The district court viewed it as irrelevant that a skilled artisan “would not have

been able to predict the precise peaks that characterize rifaximin β.” Appx14.

“[T]he XRPD [x-ray power diffraction] peaks and water content are ‘inherent’

properties of a crystal form[.]” Appx15. It was irrelevant to the district court that

skilled artisans would not have been motivated to create or have expected success in

creating the particular form β claimed.

       The district court expressly rejected the contrary analysis of a different district

court: “Plaintiffs call to my attention Pharmacyclics LLC v. Alvogen Pine Brook

LLC. I have considered that case but I do not agree with it on this point.” Appx15

n.1 (internal citation omitted).

III.   The District Court Enters Judgment

       Based on its determinations that the asserted claims of the HE Patents were

valid and infringed by Norwich’s ANDA, the district court entered judgment in

accordance with the Hatch-Waxman Act ordering that the FDA not finally approve

ANDA No. 214369 until expiration of the HE Patents in October 2029. Appx51.

Six days later, Salix filed a notice of appeal. Appx3965.

       Twenty-eight days after entry of judgment, Norwich moved to modify the

judgment under Rule 60(b), asking the district court to remove the judgment’s

“prohibition on FDA’s approval” of Norwich’s “Amended ANDA” that removed

“the HE Indication from the proposed ANDA labeling.” Appx3980-3981.



                                           24
          Case: 22-2153     Document: 28     Page: 39   Filed: 07/24/2023




      In May 2023, the district court denied Norwich’s motion. Appx52. The

district court explained that no “changed circumstances” warranted modification of

the judgment: “The only changed circumstance is that [Norwich] decided to amend

its ANDA . . . nearly one month after the final judgment. The changed circumstance

is simply a voluntary decision of the trial loser to change course, which is neither

unanticipated nor unforeseeable.” Appx53-54. Norwich “fully litigated the merits

of its non-infringement and invalidity case, lost, and now seeks a way around the

final judgment through Rule 60(b).” Appx55.

      Following the district court’s denial of Norwich’s Rule 60(b) motion, this

Court reinstated Salix’s appeal. No. 22-2153, Dkt. 19. Norwich filed a notice of

appeal of the judgment and the denial of its Rule 60(b) motion. Appx4243. This

Court consolidated the appeals and, on June 29, 2023, denied Norwich’s request to

shorten the briefing schedule. No. 22-2153, Dkt. 27.




                                        25
           Case: 22-2153     Document: 28     Page: 40   Filed: 07/24/2023




                         SUMMARY OF THE ARGUMENT
      The district court erred in two ways in holding the IBS-D Claims invalid as

obvious. First, the district court relied heavily on a reference—the RFIB2001 Press

Release—that Norwich failed to prove was prior art. Appx42. To prove that the

press release was prior art under pre-AIA Section 102(a), Norwich bore the burden

to show by clear-and-convincing evidence that the work was “by others” and not the

inventor’s work. Google LLC v. IPA Techs. Inc., 34 F.4th 1081, 1085–86 (Fed. Cir.

2022); Mahurkar v. C.R. Bard, Inc., 79 F.3d 1572, 1576 (Fed. Cir. 1996).

      Norwich failed to carry its burden. The RFIB2001 Press Release quotes a

named inventor discussing the results of “our” study, Appx7480, see also Appx3178,

and the IBS-D Patents’ specifications discuss the underlying study’s results.

      The district court was wrong to suggest that Salix forfeited this argument.

Appx41. In an exhibit to the Joint Pretrial Order, Salix listed whether “Harary Reply

Report Exhibit C” constituted prior art as a contested issue. Appx1457. This is

another name for the “RFIB2001 Press Release.” E.g., Appx1708-1709; Appx1740.

      The error was harmful. The RFIB2001 Press Release was the key piece of

prior art relied upon by the district court in finding an expectation of success. See,

e.g., Appx42 (“Its disclosure of positive results would give a POSA a reasonable

expectation of success in using rifaximin to treat IBS-D.”). At a minimum, this

Court would need to remand for reconsideration.



                                         26
           Case: 22-2153     Document: 28     Page: 41   Filed: 07/24/2023




      No remand is necessary, however, because of the second error: even

considering the RFIB2001 Press Release, the district court erred in finding a

reasonable expectation of success in treating IBS-D using the claimed dosage:

1,650 mg/day.

      Norwich was required to show a reasonable expectation of success for the

specific rifaximin dosage claimed. Teva Pharms. USA, Inc. v. Corcept Therapeutics,

Inc., 18 F.4th 1377, 1381 (Fed. Cir. 2021). The opinion does not find such an

expectation expressly. The district court instead relied on this Court’s “prior-art-

range” cases, which hold that claiming a specific value within a range known to be

successful is obvious. Appx39 (citing In re Applied Materials, Inc., 692 F.3d at

1295).

      But the highest dosage for which the district court found that the prior art

disclosed positive results in treating IBS-D was 1,200 mg/day. Id. The RFIB2001

Press Release reported positive results only for 1,100 mg/day, id., and indicated that

the higher dosage from the RFIB2001 Protocol (2,200 mg/day) was unsuccessful,

Appx3314; Appx3042.

      Because the claimed dosage falls outside the range known to be safe and

effective, the district court erred in relying on prior-art-range cases. See Teva, 18

F4th at 1382–83. This Court should render judgment that Norwich failed to show

that the IBS-D Claims are obvious.



                                         27
          Case: 22-2153     Document: 28      Page: 42   Filed: 07/24/2023




      The district court also erred in analyzing the Polymorph Claims. The district

court found that skilled artisans “would have been motivated to characterize the

rifaximin produced by the Cannata processes,” Appx13, and that if a skilled artisan

had done so, the skilled artisan would have been reasonably likely to characterize

“the polymorph β, as opposed to the other forms of rifaximin.” Appx14.

      The district court expressly rejected (at Appx15 n.1) the contrary analysis of

Pharmacyclics LLC v. Alvogen Pine Brook LLC, 556 F. Supp. 3d at 412, which this

Court subsequently affirmed. No. 21-2270, 2022 WL 16943006 (Fed. Cir. Nov. 15,

2022). Pharmacyclics holds that the correct inquiry is whether skilled artisans

would be motivated to create (and have an expectation of success in creating) the

specific claimed polymorph, with the particular claimed x-ray diffraction peaks. 556

F. Supp. 3d at 412; 2022 WL 16943006, at *10.

      Applying the correct legal standard from Pharmacyclics, the district court

erred in finding a motivation and a reasonable expectation of success in creating the

claimed polymorph. This Court should reverse the invalidation of the Polymorph

Claims.




                                         28
           Case: 22-2153     Document: 28     Page: 43   Filed: 07/24/2023




                             STANDARD OF REVIEW
      This Court reviews the district court’s findings of fact for clear error and its

legal rulings de novo. Eli Lilly & Co. v. Teva Parenteral Meds., Inc., 845 F.3d 1357,

1372 (Fed. Cir. 2017).

      Obviousness is a question of law based on underlying factual findings,

including the scope and content of prior art. IXI IP, LLC v. Samsung Elecs. Co.,

Ltd., 903 F.3d 1257, 1262 (Fed. Cir. 2018); ZUP, LLC v. Nash Mfg., Inc., 896 F.3d

1365, 1371 (Fed. Cir. 2018). The allocation of the burden of proof is a legal issue,

Medtronic, Inc. v. Mirowski Family Ventures, LLC, 571 U.S. 191, 198–99 (2014),

which this Court reviews de novo.

      To show that a patent is invalid as obvious, an accused infringer must prove

by clear and convincing evidence “that a skilled artisan would have been motivated

to combine the teachings of the prior art references to achieve the claimed invention,

and that the skilled artisan would have had a reasonable expectation of success in

doing so.” Eli Lilly, 845 F.3d at 1372 (quoting Proctor & Gamble Co. v. Teva

Pharm. USA, Inc., 566 F.3d 989, 994 (Fed. Cir. 2009)).




                                         29
           Case: 22-2153     Document: 28      Page: 44   Filed: 07/24/2023




                                    ARGUMENT
I.    The District Court Erred in Holding the IBS-D Claims Invalid as
      Obvious.

      The district court committed two independent errors in holding the IBS-D

Claims invalid as obvious. It relied heavily on the RFIB2001 Press Release, even

though Norwich failed to carry its burden to prove that the press release was “by

others” as required by pre-AIA Section 102(a). It also held that a skilled artisan

would have had a reasonable expectation of success in treating patients with the

claimed dosage (1,650 mg/day), even though the highest dosage that the district

court found reported by the prior art for the successful treatment of IBS-D was

1,200 mg/day, significantly lower than the claimed dosage. Each of these errors

independently requires reversal.

      A.     The District Court Erred by Relying on the RFIB2001 Press
             Release.

      The district court erred by treating the RFIB2001 Press Release as prior art

under pre-AIA Section 102(a) because Norwich failed to carry its burden to prove

that the press release was “by others.”




                                          30
           Case: 22-2153     Document: 28     Page: 45   Filed: 07/24/2023




             1.    Norwich failed to carry its burden to prove that the
                   RFIB2001 Press Release was “a work of others.”

                   a.      The RFIB2001 Press Release could be prior art only if
                           it was a work of others.

      Norwich argued that the RFIB2001 Press Release was prior art under pre-AIA

Section 102(a).7 Appx1708. “[Pre-AIA] Section 102(a) denies any applicant for a

patent an exclusive right to any invention already ‘known or used by others in this

country.’” Invitrogen Corp. v. Biocrest Mfg., L.P., 424 F.3d 1374, 1381 (Fed. Cir.

2005). Under this provision, the inventor’s “own work is not prior art . . . even

though it has been disclosed to the public in a manner or form which otherwise would

fall under 102(a).” In re Katz, 687 F.2d 450, 454 (C.C.P.A. 1982); accord Duncan

Parking Techs., Inc. v. IPS Grp., Inc., 914 F.3d 1347, 1357 (Fed. Cir. 2019)

(involving pre-AIA Section 102(e)). An inventor who “has not contributed to the

store of knowledge . . . has no entitlement to a patent.” Woodland Tr. v. Flowertree

Nursery, Inc., 148 F.3d 1368, 1370 (Fed. Cir. 1998). But under Section 102(a), “an

inventor’s own work cannot be used to invalidate patents protecting his own later

inventive activities.” Invitrogen, 424 F.3d at 1381.



7
  Because the RFIB2001 Press Release was published within one year of the priority
date of the IBS-D Patents, it cannot constitute prior art under pre-AIA Section
102(b). See Appx33 (February 2008 priority date for the claims); Appx7477
(September 5, 2007 publication of the RFIB2001 Press Release); 35 U.S.C. § 102(b)
[pre-AIA] (limiting prior art to publications “more than one year prior to the date of
the application”).

                                         31
           Case: 22-2153     Document: 28      Page: 46   Filed: 07/24/2023




      “Whether a reference is a work of others for the purposes of [pre-AIA]

§ 102(a) is . . . a question of law based on underlying facts.” Google, 34 F.4th at

1085 (quoting Allergan, Inc. v. Apotex Inc., 754 F.3d 952, 969 (Fed. Cir. 2014)).

                    b.     Norwich bore the burden to prove, by clear and
                           convincing evidence, that the RFIB Press Release was
                           prior art.

      The burden of persuasion—the burden to “prove something to a specified

degree of certainty”—always remains with the party challenging a patent’s validity.

Google, 34 F.4th at 1085 (quoting Tech. Licensing Corp. v. Videotek, Inc., 545 F.3d

1316, 1326 (Fed. Cir. 2008)). In district court, the challenger bears “the burden of

persuasion by clear and convincing evidence on all issues relating to the status of [a

reference] as prior art.” Mahurkar, 79 F.3d at 1576.

      The patent challenger thus bears the burden to establish that a reference was

prior art “by others” under pre-AIA Section 102(a). See Google, 34 F.4th at 1087–

88 (inter partes review); see also Dynamic Drinkware, LLC v. Nat’l Graphics, Inc.,

800 F.3d 1375, 1379 (Fed. Cir. 2015) (“[T]he different evidentiary standard in an

inter partes review does not alter the shifting burdens between the parties[.]”).

      Norwich bore the burden to demonstrate—by clear and convincing

evidence—that the work reported in the RFIB2001 Press Release was the work of

others. See LSI Corp. v. Regents of Univ. of Minn., 43 F.4th 1349, 1356 (Fed. Cir.




                                          32
           Case: 22-2153     Document: 28     Page: 47   Filed: 07/24/2023




2022) (“Tsang’s summary of, and reliance on, the earlier work of Dr. Moon and Dr.

Brickner does not make Tsang an inventor of the earlier work.”).

      The district court committed legal error and misplaced the burden by asking

whether there was “evidence upon which to make a factual finding that the press

release was derived from the inventor’s work.” Appx41. In suggesting that Salix

bore the burden of proof, the district court relied on language from Allergan, Inc. v.

Apotex Inc., but unlike this case, Allergan involved references that appeared on their

face to be the work of others: “a publication by Drs. Sherwood and Brandt” and “a

publication by Drs. Brandt, VanDenburgh (a named inventor . . . ), Chen, and

Whitcup.” 754 F.3d at 967.8 Google, which cited Allergan, held unequivocally that

the challenger bears the ultimate burden to prove that a “reference was prior art ‘by

another.’” 34 F.4th at 1086. The correct inquiry was whether Norwich proved, by

clear and convincing evidence, that the press release was “by others” and not derived

from the inventors’ work.




8
  In Allergan, the face of the references indicated that the references were the work
of others, and no evidence supported a contrary finding. See 754 F.3d at 969
(“[W]hether Dr. VanDenburgh supervised the logistics of the clinical trial on her
own or not, appellees have not produced evidence that shows she was responsible
for directing the production of either article’s content, which includes the design,
trial, and analysis of results. There is no evidence, therefore, that appellees’
explanation of the Brandt references is in any way consistent with the content of the
articles and the nature of the publications.”).

                                         33
                          Case: 22-2153                                  Document: 28                                Page: 48                       Filed: 07/24/2023




                                                 c.               Norwich failed to satisfy its burden of persuasion.

               Norwich failed to satisfy its burden. Norwich made no attempt to show that

the RFIB2001 Press Release described the work of “others.” The only evidence

introduced at trial links the RFIB2001 Press Release (and the underlying RFIB2001

study) to the IBS-D Patents.

               The press release quotes Dr. Bill Forbes discussing “our” study.

 ·•we are extremely plea1ed w ith the outcome of our 680-patient, multicenter, random ized, double-blind, pl acebo-cont ro lled stud::t of rifaximin, wh ich we market in the U.S. under the
 trade name Xl FAXAN, ~,U.cjJ3il) fptbe~ \!ll'IIJli.P- 'ii,c;.l' i;.s.il,l<;11t,,ll..:;earc.b. :w<UlllY<;lpJ21lllll't_SjjJii., ':J(lfax.:;r::i..cw-rlll'llYlil; '!l.'proved for the treatment of pati ents , twe lve years of
 age or older, ~h-1:rfvelers' diarrhea caused by noninvas ive stra ins of Escherichia coli. The be lief that bacteria in the small bowe l mayJ)rty-:r re,((j,,,jn.,the s mptoms of 18S gains
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ed with the outcome of our 680-patient, multicenter, randomizea, dou61e-blind, placebo-controlled study
 stated Bill Forbes, Pharm.D., Vice President, Research and Development, Salix. " XIFAXAN currently i


Appx7480. Norwich’s expert, Dr. Harary, testified that Dr. Forbes is both an

inventor of the IBS-D patents and the speaker in the RFIB2001 Press Release:

               Q.               . . . Do you recognize the name of who’s being quoted?
               A.               Yes, Bill Forbes was one of the officers of Salix, is being quoted.
               Q.               And do you recall whether Dr. Forbes is a named inventor of the
                                ’569 patent?
               A.               Yes.
               Q.               Do you recall whether he’s a named inventor of the ’667 patent?
               A.               I think he is also, yes.

Appx3178. Norwich made similar representations in exhibits to the Joint Pretrial

Order.                See Appx1709 (acknowledging that the press release quotes “Named

inventor Bill Forbes”).

               The IBS-D Patents discuss the RFIB2001 study—on which the RFIB2001

Press Release reports—at length. Figures 1, 2, and 4-6 of the ’569 Patent bear the

                                                                                                          34
           Case: 22-2153     Document: 28      Page: 49    Filed: 07/24/2023




label “RFIB2001,” Appx103-104, Appx106-108, and Norwich’s expert confirmed

that Figure 3 showed a schematic of the RFIB2001 study design, Appx3244-3243.

Example 1 of the IBS-D Patents discusses the same 680-patient study discussed in

the RFIB2001 Press Release.        See Appx119-121, ’569 Patent at 21:65-25:52

(discussing RFIB2001 study and results); Appx151-153, ’667 Patent at 23:63-27:56

(same).

       The only evidence presented at trial thus indicated that the RFIB2001 study

(for which the RFIB2001 Press Release reported high-level results) was part of the

basis for the IBS-D Patents, not work “by others” that can be used to invalidate these

patents under Section 102(a). No evidence in the record permits the finding that the

RFIB2001 Press Release was work “by others.” Because Norwich failed to satisfy

its burden, the district court erred in relying on the RFIB2001 Press Release as prior

art.

             2.     The district court was incorrect to suggest that Salix waived
                    its challenge to the RFIB2001 Press Release as prior art.

       The district court suggested—although it did not find—that Salix waived any

challenge to whether the RFIB2001 Press Release constitutes prior art. Appx41.

This is incorrect: Salix preserved this argument.

       The district court appears to have been confused by the parties’ use of

different designations to refer to the same document. See Appx41 (“I see a list of

items the prior art status of which Plaintiffs contest, which does not include the press


                                          35
                Case: 22-2153          Document: 28         Page: 50      Filed: 07/24/2023




release (id. at 6 ¶ 28)[.]”). In Paragraph 28 of Exhibit 2 to the Joint Pretrial Order,

Salix listed “Harary Reply Report Exhibit C” as contested prior art:


          28 .        \VhetherKorwich has prO\·en by clear and conYincing e\·idence that the follov,ing

  qualify as prior art to the A<,se1ted IBS-D Patent claims:

                 •    Hara1y Opening Report Exhibit E-

                 •    Pimentel Exhibit 9, and what orwich refers to as "prior a1t use by Glass ;"

                 •    Hara1y Reply Report Exhibit C:



Appx1457 (emphases added). “Harary Reply Report Exhibit C” refers to the

“RFIB2001 Press Release.” Other exhibits to the Joint Pretrial Order make this

clear.

                                      iv.    Salix's September 5, 2007 P1·ess Release

              855 .   On September 5, 2007. Salix issued a press release annom1cing the successfol

   completion of its Phase lib trial to assess the efficacy and safety of rifaximin in the treatment of

   patients with IBS-D . (Hara1y Reply Ex. C.) TI1is press release was published before the earliest

   claimed filing date for the ' 569 and '667 patents . Accordingly, it is prior a1t under 35 U.S.C . §

   102(a) .


Appx1708 (emphasis added); see also Appx1740 (“Salix Press Release, dated Sep.

5, 2007, at 1 (Harary Reply Ex. C at Ex. 99.2)”); Appx1745 (citing “Harary Reply

Report Ex. C” for the proposition that a skilled artisan would have known “the




                                                       36
           Case: 22-2153     Document: 28      Page: 51   Filed: 07/24/2023




topline results of the RFIB 2001 Study”); Appx1750 (same for knowing that the

“RFIB 2001 Study achieved ‘adequate relief’ of symptoms”).9

      Salix thus listed whether the “RFIB2001 Press Release” (i.e., “Harary Reply

Report Exhibit C”) constituted prior art as a disputed issue in the pretrial order.

Appx1457. Under regional circuit law, pretrial orders “are to be liberally construed

to embrace all legal and factual theories inherent in the issues defined therein.” U.S.

Gypsum Co. v. Schiavo Bros., Inc., 668 F.2d 172, 181 n.12 (3d Cir. 1981). And in

its proposed findings of fact and conclusions of law and its post-trial briefing, Salix

explained that Norwich failed to satisfy its burden to prove that the press release was

prior art. See Appx3787 ¶ 183; Appx3744. Salix fully preserved the argument that

the RFIB2001 Press Release was not prior art.

             3.     The error in treating the RFIB2001 Press Release as prior
                    art was harmful.

      The RFIB2001 Press Release was the critical piece of evidence the district

court relied upon in invalidating the IBS-D Claims. Most of the prior art consisted

of retrospective chart reviews—the “lowest level of [medical] evidence,” Appx3256,

and which do not control for the placebo effect—but the RFIB2001 Press Release

disclosed the results of a scientific, randomized, double-blind, placebo-controlled




9
  The RFIB2001 Press Release is also not among the undisputed prior art in the
pretrial order. See Appx1444-1447.

                                          37
           Case: 22-2153    Document: 28      Page: 52   Filed: 07/24/2023




study, Appx7480-7482, “the gold standard” to test a treatment for IBS-D,

Appx6403.

      Given its reliability (particularly compared to that of other references), it is

unsurprising that the district court relied on the RFIB2001 Press release so heavily

in its opinion:

       “As of the priority date, a POSA would have known about the successful
        RFIB 2001 Protocol results.”

       “Rifaximin had been shown to be effective in treating IBS in Pimentel
        2006 and IBS-D in the RFIB 2001 Protocol[.]”

       “The RFIB 2001 Press Release reported that a ‘14-day course of rifaximin
        at 550 mg twice-a-day’ dosage saw effective results.”

       “[The RFIB2001 Press Release’s] disclosure of positive results would give
        a POSA a reasonable expectation of success in using rifaximin to treat
        IBS-D.”

       “More importantly, a POSA would look to the top-line results from the
        RFIB 2001 Protocol [i.e., the RFIB2001 Press Release] as evidence that
        rifaximin could be effective in treating IBS-D[.]”

Appx38-43.

      The district court placed particular emphasis on the RFIB2001 Press Release

in overcoming the evidence of skepticism. Three articles published shortly before

the IBS-D Patents reviewed the literature—including the majority of the prior art

cited by Norwich—and concluded that rifaximin had not been shown to be

successful in treating IBS-D. Appx42. In discounting this evidence, the district

court relied on the fact that these articles did not cite the RFIB2001 Press Release.


                                         38
           Case: 22-2153     Document: 28      Page: 53    Filed: 07/24/2023




See Appx44 (“Norwich argues that one of the [skeptical] articles was published

before Yang and the RFIB 2001 Press Release, and the other two articles did not cite

those references.”); Appx42 (noting that the “RFIB 2001 Press Release . . . was not

cited by Quigley, Vanner, or Drossman,” skeptical literature).

      Because of the district court’s erroneous reliance on the RFIB2001 Press

Release in finding an expectation of success, this Court should, at a minimum, vacate

the obviousness determination and remand. See, e.g., Riverwood Int’l Corp. v. R.A.

Jones & Co., 324 F.3d 1346, 1357 (Fed. Cir. 2003); Bausch & Lomb, Inc. v. Barnes-

Hind/Hydrocurve, Inc., 796 F.2d 443, 449 (Fed. Cir. 1986).

      B.     The District Court Erred in Finding that a Skilled Artisan Would
             Have Had an Expectation of Success in Using the Claimed
             Dosage—1,650 mg/day—to Treat IBS-D.

      Remand is unnecessary, however, because even considering the RFIB2001

Press Release, the district court erred in finding that a skilled artisan would have had

a reasonable expectation of success in using the claimed dosage—1,650 mg/day—

to treat IBS-D. This argument applies to all three combinations of prior art, and this

Court need not remand because “the record permits only one resolution of the factual

issue.” Pullman-Standard v. Swint, 456 U.S. 273, 292 (1982).

      When a patent claims a method of treatment using a specific dosage, the

reasonable-expectation-of-success analysis must focus on the specific dosage

claimed. Teva, 18 F.4th at 1381 (holding that the patent challenger was required “to



                                          39
           Case: 22-2153      Document: 28      Page: 54   Filed: 07/24/2023




show a reasonable expectation of success for a specific mifepristone dosage

[claimed]”). Norwich was thus required to prove a reasonable expectation of success

for the specific rifaximin dosage claimed: 1,650 mg/day (550 mg three times/day).

      But the IBS-D Patents claim a dosage significantly (nearly 40%) outside the

range for which the prior art disclosed positive results in treating IBS-D. The highest

dosage for which the district court found that the prior art disclosed positive results

was 1,200 mg/day, far less than the claimed 1,650 mg/day. Because the claimed

dosage was outside the range known to be effective in treating IBS-D and the district

court relied only on the “known range” for a reasonable expectation of success in

using the claimed dosage to treat IBS-D, the district court erred in finding a

reasonable expectation of success.

             1.     The claimed daily dose (1,650 mg) is nearly 40% larger than
                    the largest daily dose reported to be successful in the prior
                    art (1,200 mg).

      The opinion states that “the prior art disclosed positive results in using

rifaximin to treat IBS-D for a range of doses” and that the IBS-D Claims “describe

a dosing regimen within the known range.” Appx34.

      The opinion thus implies—without actually stating—that the “known range”

means the range of doses for which “the prior art disclosed positive results.” The

implication is incorrect: the “positive results” found by the district court all involved

dosages far less than the claimed 1,650 mg/day dosage. Three references disclosed



                                           40
           Case: 22-2153     Document: 28      Page: 55   Filed: 07/24/2023




positive results for 1,200 mg/day (Pimentel 200610, Cuoco, and Barrett). One

disclosed positive results for 1,100 mg/day (RFIB2001 Press Release).

      I also find that a POSA would have had the motivation to select an
      optimal dosing regimen from within the known range. The prior art
      describes positive results from a range of doses. Pimentel 2006 used
      400 mg of rifaximin TID for 10 days and reported “global
      improvement in IBS.” Cuoco disclosed a total dose of 1200 mg for
      14 days and reported significant reduction in the number of patients
      having IBS symptoms. Barrett disclosed 400 mg TID for 1-5 months.
      In 2007, Quigley explained, “Antibiotic dose and duration of therapy
      have not been established. All studies to date have used different doses
      and antibiotic regimens; the optimal approach needs to be established
      in a prospective, placebo-controlled, dose-ranging study.” The RFIB
      2001 Protocol taught a range from 1100 mg to 2200 mg per day for 10-
      14 days. The RFIB 2001 Press Release reported that a “14-day
      course of rifaximin at 550 mg twice-a-day” dosage saw effective
      results.

Appx39 (emphases added; internal citations omitted). The claimed dosage (1,650

mg/day) is nearly 40% higher than the highest dosage for which the district court

found that the prior art reported positive results (1,200 mg/day).11

      The opinion discusses only a single dosage in the prior art exceeding

1,650 mg/day: the RFIB2001 Protocol tested “2200 mg per day for 10-14 days.”

Appx39. But the RFIB2001 Protocol is simply a “protocol that doesn’t have any


10
   Pimentel 2006 used 1,200 mg/day for 10 days and failed to significantly improve
“hallmark symptoms” of IBS-D (i.e., abdominal pain and diarrhea). See Appx4643;
Appx5152; Appx3285.
11
   Although not mentioned in this paragraph, the district court also appeared to credit
“Yang,” Appx7590, a retrospective chart review published by a member of the
Cedars-Sinai group, as disclosing positive results in treating IBS-D. Like Pimentel
2006, Barrett, and Cuoco, Yang involved 1,200 mg/day. Appx7592.

                                          41
           Case: 22-2153     Document: 28     Page: 56    Filed: 07/24/2023




results in it.” Appx3219. The district court was correct not to find that the

RFIB2001 Protocol “describes positive results” for treating IBS-D with rifaximin.

See also Sanofi-Aventis U.S. LLC v. Sandoz, Inc., No. CV 20-804-RGA, 2023 WL

4175334, at *14 (D. Del. June 26, 2023) (Andrews, J.) (“I also do not think that the

mere existence of a Phase III trial, with no information about its results, would have

lifted a POSA’s hopes over the bar for a reasonable expectation of success.”).

      The alternative—treating the disclosure of a study protocol as the equivalent

of disclosing positive results for the study—would have dangerous consequences.

The RFIB2001 Protocol was available because it was published on “the

clinicaltrials.gov archive, which is a government-sponsored archive that shows

studies that are ongoing or complete.” Appx3173. Federal regulations require these

publications, 42 C.F.R. § 11.22, which benefit the public. Companies should not

risk losing their future patent rights for making disclosures—particularly disclosures

of studies without results—that federal law requires.12


12
  This Court distinguishes between obviousness in conducting an experiment and a
reasonable expectation of success. In re Cyclobenzaprine Hydrochloride Extended-
Release Capsule Patent Litig., 676 F.3d 1063, 1070 (Fed. Cir. 2012) (“While it may
have been obvious to experiment with the use of the same PK profile when
contemplating an extended-release formulation, there is nothing to indicate that a
skilled artisan would have had a reasonable expectation that such an experiment
would succeed in being therapeutically effective.”).
       No precedential decision of this Court has treated a clinical trial protocol as
evidence—much less sufficient evidence—of an expectation of success. Vanda
Pharmaceuticals Inc. v. Teva Pharmaceuticals USA, Inc., involved a Phase III—not


                                         42
           Case: 22-2153       Document: 28      Page: 57    Filed: 07/24/2023




       The district court correctly recognized that the only “positive results”

associated with the RFIB2001 Protocol were disclosed by the RFIB2001 Press

Release. But critically, the RFIB2001 Press Release did not report positive results

for the entire dosage range (including 2,200 mg/day) tested in the RFIB2001 study.

It reported positive results only for 1,100 mg/day, a “14-day course of rifaximin at

550 mg twice-a-day.” Appx7480.

       The RFIB2001 Press Release not only fails to disclose positive results for

2,200 mg/day, but skilled artisans would understand it to report negative results for

that dosage. See Appx3314 (“[I]f the other dosages met the primary endpoint [i.e.,

succeeded], you would have identified that as well in the press release.”). And in

fact, the 2,200 mg/day dosage “did not achieve more responders compared to the

placebo for adequate relief.” Appx3042.

       The highest dosage for which the district court found that prior art disclosed

positive results was 1,200 mg/day. The claimed dosage—1,650 mg/day—was, at

most, within the experimental range (as indicated by the RFIB2001 Protocol) but

was outside the range for which the prior art disclosed positive results.


a Phase II—trial that the district court found “would also have contributed to a
skilled artisan’s expectation of success.” No. 23-1247, 2023 WL 3335538, at *4
(Fed. Cir. May 10, 2023). No similar finding was made regarding the Phase II
clinical trial at issue here, and in Vanda, the district court relied on the Phase III trial
as only “one piece of evidence” regarding expectation of success and “did not find
that Vanda’s ongoing clinical trial would have given a POSA an expectation of
success in using” the claimed dosage. Id.

                                            43
           Case: 22-2153     Document: 28      Page: 58   Filed: 07/24/2023




             2.     The district court misapplied this Court’s prior-art-range
                    precedent.

      Because the claimed dosage fell outside the range known to be successful, the

district court erred by applying this Court’s prior-art-range cases. Under this Court’s

precedent, claiming a particular value within a range that is known to be successful

is ordinarily not inventive. Appx39 (citing In re Applied Materials, Inc., 692 F.3d

at 1295). The “known range” means the range known to work.

      Where a claimed dosage is outside the range known to be safe and effective,

the “known range” does not render it obvious. In Teva Pharmaceuticals v. Corcept

Therapeutics, the prior art created an expectation of success for up to 300 mg but

not for the claimed 600 mg. 18 F.4th at 1380. “Because there was no expectation

of success for any dosage over 300 mg per day, there was no expectation of success

for the specific 600 mg per day dosage.” Id. at 1381. This Court explained that

“prior-art-range” cases (such as Applied Materials) did not apply because “the

general working conditions disclosed in the prior art did not encompass the claimed

invention, i.e., there was no overlap in ranges.” Id. at 1382. Even “if the prior art

directed a skilled artisan to try” co-administering a 600 mg per day dosage, “without

showing a reasonable expectation of success, Teva did not prove obviousness.” Id.

at 1383.

      The analysis of the IBS-D Claims should track Teva. As in Teva, Norwich

was required to prove (here, by clear and convincing evidence) a reasonable


                                          44
          Case: 22-2153     Document: 28      Page: 59   Filed: 07/24/2023




expectation of success in the specific invention claimed: a 1,650 mg/day dosage. As

in Teva, the expectation of success in using a significantly lower dosage (here,

1,200 mg/day) would not create an expectation of success in using the higher

claimed dosage. And as in Teva, even if the prior art suggested trying the claimed

1,650 mg/day dosage, without showing a reasonable expectation of success,

Norwich failed to prove obviousness.

      This Court’s other method-of-treatment cases are consistent with Teva: where

a claimed dosage falls outside the range known to be safe and effective, the “known

range” does not render the claimed dosage obvious. See, e.g., Endo Pharms. Sols.,

Inc. v. Custopharm Inc., 894 F.3d 1374 (Fed. Cir. 2018) (claimed 750 mg dose not

obvious in light of known 1000 mg dose); Ferring B.V. v. Watson Lab’ys, Inc.-Fla.,

764 F.3d 1401 (Fed. Cir. 2014) (claimed 650 mg dose not obvious in light of known

500 mg dose).13

      In contrast, a claimed dosage is ordinarily obvious when it falls within a range

known to be safe and effective (or is equivalent to a dosage known to be safe and

effective). Yeda Research v. Mylan Pharmaceuticals, Inc., 906 F.3d 1031 (Fed. Cir.


13
   See also In re Cyclobenzaprine Hydrochloride Extended-Release Capsule Patent
Litig., 676 F.3d at 1072 (claimed “Cmax range of about 80% to 125% of about 20
ng/ml” not obvious in light of known Cmax of “129.5% of 20 ng/ml”); see also id.
(“The district court, however, cited no evidence specifically indicating that a
cyclobenzaprine PK profile with a Cmax of 129.5% of 20 ng/ml would be expected
to yield the same therapeutic effect as that with a Cmax range of about 80% to 125%
of about 20 ng/ml.”).

                                         45
          Case: 22-2153     Document: 28      Page: 60   Filed: 07/24/2023




2018), is a perfect example. There, the dosages known to be safe and effective were:

20 mg daily; 20 mg every other day; 40 mg daily; and 40 mg every other day.14 Id.

at 1045. The claimed dosage—40 mg three times per week—fit squarely within the

known range, id. at 1044, and because the range was known to be successful, skilled

artisans would have a reasonable expectation of success in using the claimed dosage.

See also id. at 1039 (“[C]ombining a 40mg dose with three-times-a-week

administration produced a weekly dose virtually identical to the FDA-approved

regimen of 20mg GA daily.”).

      This Court’s other decisions are consistent.       See, e.g., Adapt Pharma

Operations Ltd. v. Teva Pharms. USA, Inc., 25 F.4th 1354, 1368 (Fed. Cir. 2022)

(finding obvious a claimed 4mg intranasal dose that “would be bioequivalent to the

FDA-approved 1mg injectable dose”); Boehringer Ingelheim Pharms. Inc. v. Mylan

Pharms. Inc., 803 F. App’x 397, 402 (Fed. Cir. 2020) (claimed 2.5 or 5 mg doses

were within the 1-100 mg range disclosed in an earlier patent); Hoffmann-La Roche

Inc. v. Apotex Inc., 748 F.3d 1326, 1332 (Fed. Cir. 2014) (skilled artisans would

know that the claimed 150 mg/month was equivalent to the known 5 mg/day).




14
   See Yeda, 906 F.3d at 1036 (“FDA approved . . . 20mg GA injected daily”); id.
(“20mg of GA administered every other day . . . is safe, well tolerated, and probably
as effective”); id. at 1038 (“daily administration of 40mg GA was effective, safe,
and well tolerated”); id. at 1037 (“a 40mg GA, every other day dosing regimen . . .
is well tolerated and can improve the treatment”).

                                         46
           Case: 22-2153     Document: 28     Page: 61   Filed: 07/24/2023




      This principle makes sense: if a range of dosages is known to be successful,

then a skilled artisan would, ordinarily, have an expectation of success in using any

dosage within the range. But merely knowing that a dosage is possible to try (like

2,200 mg/day in the RFIB2001 Protocol) does not create an expectation of success.

      Even if skilled artisans would have had a reasonable expectation of success in

using between 1,100 mg/day and 1,200 mg/day of rifaximin to treat IBS-D, none of

the evidence credited by the district court supports the conclusion that skilled

artisans would have a reasonable expectation of success in treating IBS-D using the

claimed dosage (1,650 mg/day). The district court erred legally by applying the

prior-art-range cases to a dosage outside the range known to be safe and effective.

Alternatively, the district court clearly erred by finding that a dosage range up to

2,200 mg/day was known to be safe and effective for treating IBS-D with rifaximin.

             3.    This Court should render judgment in favor of Salix.

      Because the claimed 1,650 mg/day was outside the dosage range known to be

safe and effective for treatment of IBS-D, the district court clearly erred in finding

that a skilled artisan would have had a reasonable expectation of success in treating

IBS-D with the claimed dosage.

      This Court should reverse the determination that the IBS-D Claims are invalid

as obvious and render judgment that Norwich has failed to establish invalidity under

any of the three combinations it raised. Although the district court specifically held



                                         47
           Case: 22-2153     Document: 28      Page: 62    Filed: 07/24/2023




the IBS-D Patents invalid as obvious under the combination of Pimentel 2006 and

the RFIB2001 Protocol, its analysis of expectation of success in the claimed dosage

did not depend on the particular combination. Appx39. In analyzing the “known

range,” the district court considered both pieces of prior art involved in Norwich’s

other two combinations (Cuoco and Barrett). Id. Like Pimentel 2006, both Cuoco

and Barrett reported positive results only for 1,200 mg/day. Neither supports finding

an expectation of success in using the higher claimed dosage.

      No matter which of Norwich’s three combinations is considered, finding that

a skilled artisan would have had a reasonable expectation of success treating IBS-D

with 1,650 mg/day of rifaximin for 14 days would constitute clear error. Because

“the record permits only one resolution of the factual issue,” remand to address the

other combinations is unnecessary. Pullman-Standard, 456 U.S. at 290–91.

      This Court should reverse the determination that the IBS-D Claims are

obvious, render judgment that they are valid, and order that the FDA not approve

Norwich’s application until at least after expiration of the IBS-D Patents. In the

alternative, if necessary, this Court should remand to the district court.

II.   The District Court Erred in Holding the Polymorph Claims Invalid as
      Obvious.

      The district court also erred in finding the Polymorph Claims invalid as

obvious. Specifically, the district court erred in finding that a skilled artisan would




                                          48
           Case: 22-2153      Document: 28      Page: 63   Filed: 07/24/2023




have had a motivation and reasonable expectation of success in combining the

Cannata reference with common knowledge to arrive at the claimed polymorph β.

      The district court erroneously conflated actual success and the expectation of

success. The heart of its analysis was the finding that “polymorph β is a commonly

produced polymorph and the most stable form of rifaximin.” Appx14. But this

(undisputed) fact merely shows that skilled artisans actually succeed in producing

rifaximin polymorph β. It does not support the conclusion that, at the time of the

Polymorph Patents, skilled artisans would have expected to succeed in producing

the specific form of rifaximin with particular x-ray diffraction peaks that the

Polymorph Patents label “polymorph β.” This Court held as much in Pharmacyclics

LLC v. Alvogen, Inc., No. 21-2270, 2022 WL 16943006 (Fed. Cir. Nov. 15, 2022),

and it should follow that decision here.

      A.     Pharmacyclics and Grunenthal Explain How to Analyze the
             Obviousness of Polymorph Claims.

      After the district court’s decision, this Court addressed the question at issue

here: how to evaluate whether a claim directed to a specific polymorph is obvious in

view of the prior art. Pharmacyclics, 2022 WL 16943006.

      In Pharmacyclics, the prior art taught both the chemical structure of the drug

compound ibrutinib and that ibrutinib “may be in various forms, including

crystalline forms,” although it “d[id] not assert that any crystalline forms of ibrutinib

actually exist.” Id. at *5 (internal quotation marks omitted). Other references


                                           49
           Case: 22-2153     Document: 28     Page: 64   Filed: 07/24/2023




described crystalline forms generally and explained how to screen for polymorphs.

See id. at *6.

      The Pharmacyclics district court found that although a skilled artisan “would

have been motivated to develop a crystalline form of ibrutinib” based on the prior

art, none of those references “would have motivated an artisan to develop a

crystalline form of ibrutinib with the claimed 2-Theta peaks” (what the

Pharmacyclics patents labeled “Form A”). 556 F. Supp. 3d at 412. The district

court based that finding on the fact that “[d]iscovering new crystalline forms is

challenging and unpredictable.” Id. at 410.

      This Court affirmed:

      [T]he [district] court found that, given the lack of teaching in the art
      regarding crystalline forms of ibrutinib and the expert testimony that
      polymorph screening can produce unpredictable results, a skilled
      artisan would not have reasonably expected success in producing
      Form A of ibrutinib. That finding was not clearly erroneous.
      [Therefore] we hold that the district court did not err in finding that a
      skilled artisan would not have been motivated to combine the prior art
      to create Form A and would not have had a reasonable expectation of
      success in doing so[.]

2022 WL 16943006, at *10–11 (citation omitted; emphasis added).

      In Pharmacyclics, this Court relied on Grunenthal GMBH v. Alkem Lab’ys

Ltd., 919 F.3d 1333, 1344 (Fed. Cir. 2019), the only other case where this Court has

directly addressed polymorph obviousness. Grunenthal affirmed a finding that a

skilled artisan would not have expected success in producing a particular crystalline


                                         50
           Case: 22-2153     Document: 28      Page: 65    Filed: 07/24/2023




form when a skilled artisan would not have “know[n] how the multiple variables

involved in conducting a polymorph screen would affect the recrystallization” of the

compound. Id. at 1343 (“Because the record indicates that there was (1) no known

or expected polymorphism of tapentadol; (2) no evidence that the synthesis of

Example 25 results in any Form A; and (3) no guidance as to what particular

solvents, temperatures, agitation rates, etc., were likely to result in Form A, Alkem

failed to prove that a POSA would have reasonably expected a polymorph screening

of the Form B disclosed in the ’737 patent to result in Form A.”).

      Pharmacyclics and Grunenthal make clear that challengers to polymorph

claims must prove (by clear and convincing evidence) that skilled artisans would

have had a motivation and a reasonable expectation of success in developing the

specific claimed polymorph (i.e., the form with the specific claimed x-ray diffraction

peaks), not just motivation and expectation of success to look for polymorphs. See

also Bristol-Myers Co. v. U.S. Int’l Trade Comm’n, 892 F.2d 1050 (Table), 1989

WL 147230, at *4 (Fed. Cir. 1989) (citing older Court of Custom and Patent Appeals

decisions for the proposition that “[t]here must be a suggestion or teaching in the

prior art that the [a particular] crystal structure could or should be made” to render a

crystalline structure obvious).




                                          51
           Case: 22-2153     Document: 28      Page: 66   Filed: 07/24/2023




      B.     Cannata and Common Knowledge Did Not Provide Skilled
             Artisans with a Motivation and Reasonable Expectation of Success
             in Creating the Claimed β Polymorph.

      The Polymorph Claims both claim a form of rifaximin that “has x-ray powder

diffraction pattern peaks at about 5.4°; 9.0°; and 20.9° 2θ,” which these patents label

“polymorphic form β.” See generally Appx85 at 1:47-48 (explaining that the

polymorphic forms are labeled “on the basis of their respective specific

diffractograms”). To establish that these claims are invalid as obvious, Norwich

needed to prove by clear and convincing evidence that skilled artisans would have

had a reasonable expectation of success in developing the specific claimed

polymorphic form β, a form of rifaximin with the specific claimed x-ray diffraction

peaks. Pharmacyclics, 2022 WL 16943006, at *10 (“[A] skilled artisan would not

have reasonably expected success in producing Form A of ibrutinib.”).

      The district court correctly found that “rifaximin’s polymorphism was

unknown as of the priority date.” Appx13. In other words, skilled artisans did not

even know that rifaximin had different crystalline forms. Nor were any specific

forms known: “[N]o rifaximin had been publicly characterized as a particular form

as of the priority date.” Appx13. Salix’s expert, Dr. Myerson, explained that a

skilled artisan “would not have been able to predict in advance the existence of any




                                          52
           Case: 22-2153    Document: 28      Page: 67   Filed: 07/24/2023




crystalline forms, nor could they predict their properties.” Appx3459. No contrary

evidence was introduced (much less credited by the district court).15

      Just as he testified in Pharmacyclics, 556 F. Supp. 3d at 410, Dr. Myerson

testified in this case that there is no standard way of conducting a polymorph screen

(the set of experiments to attempt to find new polymorphs). Appx3462-3463. Any

number of variables “are well known to influence what polymorphs can form.”

Appx3463.

      None of the prior art describes a particular crystalline form of rifaximin or

provides any guidance to a skilled artisan on how to make a particular crystalline

form of rifaximin. Appx3477. Cannata (which was considered by the patent

examiner, Appx3466, Appx3475) discloses only general methods for preparing

rifaximin, not anything about rifaximin’s different forms:

      Q.     [W]hat does      Cannata    disclose   about    rifaximin   being
             polymorphic?
      A.     It does not disclose anything about it being polymorphic.
      Q.     And what does Cannata disclose about rifaximin Beta?
      A.     It does not discuss rifaximin Beta.




15
  “It’s not yet possible to predict when materials will crystallize, let alone when
multiple crystal forms will appear. . . . The ability to predict whether a given
compound will exist in multiple crystal forms does not yet exist[.]” Appx3460
(describing papers); see also Appx3434-3436, Appx3440-3441; Appx3460-3461,
Appx3477 (Myerson). It is “extremely not possible to predict what, if any,
polymorphs you will get or what their properties will be.” Appx3461.

                                         53
           Case: 22-2153      Document: 28       Page: 68   Filed: 07/24/2023




Appx3469; see also Appx3469-3470; see also Appx3391 (“Does Cannata disclose

rifaximin beta? A. Not expressly[.]”); Appx4526 (Cannata).

      The Viscomi Declaration, Appx4846, on which the district court relied,

cannot fill in any missing holes. The Viscomi Declaration states that only some

batches of rifaximin prepared according to Cannata yielded rifaximin form β. Id.

But the 2006 Viscomi Declaration post-dates the 2003 priority date of the Polymorph

Patents. The Viscomi Declaration cannot show that a skilled artisan would have had

an expectation of success in 2003. Cf. Yeda, 906 F.3d at 1037–41 (discussing the

admissibility of non-prior art only for their “proper supporting roles” such as

indicating the level of ordinary skill in the art).

      Like the district court, Norwich’s expert Dr. Zaworotko also solely relied on

the Viscomi Declaration and identified no prior art supporting his opinion that a

skilled artisan would have known about form β, let alone understand that “β is the

most stable form” at the time of the invention. Appx14.

      Under this Court’s precedent, there was no motivation or expectation of

success to create rifaximin in polymorphic form β (i.e., the form in which rifaximin

has x-ray powder diffraction pattern peaks at about 5.4°; 9.0°; and 20.9° 2θ).

Pharmacyclics, 2022 WL 16943006 at *10; see also Grunenthal, 919 F.3d at 1341

(affirming the conclusion that a polymorph was nonobvious because the challenger

failed “to prove a reasonable expectation of success in arriving at Form A”).



                                            54
            Case: 22-2153    Document: 28       Page: 69   Filed: 07/24/2023




      Dr. Myerson captured the facts perfectly:

      [A] POSA would not have a reasonable expectation of success in
      finding rifaximin Beta with the claimed x-ray diffraction peaks and
      water content because they couldn’t have predicted in advance it
      existed with those properties.

Appx3477-3478. Put simply, “[Y]ou can’t have a reasonable expectation of success

to find something you don’t know exists.” Appx3478. See Pharmacyclics, 556 F.

Supp. 3d at 412 (“As the prior art did not teach how to make any crystalline form of

ibrutinib, an artisan of ordinary skill in June 2012 could not reasonably have

expected to make a crystalline form of ibrutinib with the six claimed 2-Theta

peaks.”).

      C.     The District Court Applied the Wrong Test.

      Rather than follow the polymorph obviousness analysis from the

Pharmacyclics district court opinion, the district court here expressly parted ways

with the decision:

      Plaintiffs call to my attention Pharmacyclics LLC v. Alvogen Pine
      Brook LLC. I have considered that case but I do not agree with it on
      this point.

Appx15 n.1 (internal citations omitted).

      The district court—without the benefit of this Court’s subsequent affirmance

of Pharmacyclics—thought it sufficient that “a POSA would have been motivated

to characterize the rifaximin produced by the Cannata processes,” Appx13, and that

if a skilled artisan had done so, the skilled artisan would have been reasonably likely


                                           55
           Case: 22-2153     Document: 28     Page: 70   Filed: 07/24/2023




to characterize “the polymorph β, as opposed to the other forms of rifaximin.”

Appx14. It was irrelevant to the district court that a skilled artisan could not have

predicted “the precise peaks that characterize rifaximin β.” Appx14.

      The district court applied the approach to polymorph obviousness rejected in

Pharmacyclics. As here, the Pharmacyclics district court found that “an artisan of

ordinary skill would have been motivated to develop a crystalline form” of the

compound. 556 F. Supp. 3d. at 412. But the Pharmacyclics district court correctly

recognized that “the inquiry is not whether an artisan would have been motivated to

develop a crystalline form of ibrutinib; the inquiry is whether an artisan would have

been motivated to develop crystalline ibrutinib having [the specific claimed peaks].”

Id. On appeal, this Court agreed that the “motivat[ion] to develop a crystalline form”

was insufficient, 2022 WL 16943006, at *10, and that the proper inquiry was

whether a skilled artisan would “have been motivated to combine the prior art to

create [the claimed] Form A,” id. at *11.

      The Pharmacyclics district court’s analysis of expectation of success similarly

focused on the specific claimed polymorph, asking whether a skilled artisan could

“reasonably have expected to make a crystalline form of ibrutinib with the six

claimed 2-Theta peaks.” 556 F. Supp. 3d at 412. Again, this Court agreed, affirming

based on the finding that “a skilled artisan would not have reasonably expected

success in producing Form A of ibrutinib.” 2022 WL 16943006, at *10.



                                         56
            Case: 22-2153    Document: 28     Page: 71   Filed: 07/24/2023




      The correct inquiry is whether a skilled artisan would have been motivated to

make and had a reasonable expectation of success in making a crystalline form of

rifaximin with the claimed peaks. Particularly in light of the finding that the

polymorphic nature of rifaximin was unknown at the time of the patents, the district

court clearly erred in a finding of motivation and expectation of success in creating

the claimed form of rifaximin, which the patents label “form β.”16 See generally

Bristol-Myers, 1989 WL 147230, at *6 (“There must be an affirmative suggestion

or teaching in the prior art whereby it would have been obvious to make the new

[form]; not simply the absence of obstacle. No such suggestion or teaching has been

shown.”).

                                   *      *     *

      There is no principled basis to reach a different result here than in

Pharmacyclics, which considered a similar factual record and found that there was

no motivation to make and no reasonable expectation of success in making the

specific polymorphs claimed. The district court clearly erred in finding otherwise.




16
  The district court relied on Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1365 (Fed.
Cir. 2007), and Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1165 (Fed. Cir.
2006), in analyzing reasonable expectation of success. Appx14. Neither is a
polymorph case, and both provide only general, broad statements about the law not
requiring certainty of success. Grunenthal and Pharmacyclics are more on point.

                                         57
           Case: 22-2153    Document: 28        Page: 72   Filed: 07/24/2023




                     CONCLUSION & PRAYER FOR RELIEF
      The dosage claimed in the IBS-D Claims (1,650 mg/day) is outside the dosage

range known to be safe and effective, and no evidence credited by the district court

supported finding that a skilled artisan would have had a reasonable expectation of

success in treating IBS-D with the claimed dosage. This Court should reverse the

district court’s judgement that the IBS-D Claims are invalid, render judgment that

Norwich failed to show invalidity, and order the FDA not to approve Norwich’s

ANDA until at least the expiration of the IBS-D Patents.

      In the alternative, because the district court erroneously treated the RFIB2001

Press Release as prior art, this Court should vacate the invalidation of the IBS-D

Claims and remand to the district court.

      With respect to the Polymorph Claims, skilled artisans did not reasonably

expect that rifaximin was polymorphic, much less know that a form with the specific

claimed x-ray diffraction peaks existed. Because, as in Pharmacyclics, there was

neither a motivation nor an expectation of success in creating the claimed rifaximin

polymorph β, this Court should reverse the judgement that the Polymorph Claims

are invalid, render judgment that Norwich failed to show invalidity, and order the

FDA not to approve Norwich’s ANDA until at least the expiration of the Polymorph

Patents.




                                           58
         Case: 22-2153   Document: 28   Page: 73   Filed: 07/24/2023




Dated: July 24, 2023                    Respectfully submitted,

                                        MORGAN, LEWIS & BOCKIUS LLP

                                        By:   /s/ William R. Peterson

                                              William R. Peterson
                                        1000 Louisiana St., Ste. 4000
                                        Houston, TX 77002

                                              Julie S. Goldemberg
                                        1701 Market Street
                                        Philadelphia, PA 19103

                                             Michael J. Abernathy
                                             Karon Nicole Fowler
                                             Michael Sikora
                                        110 North Wacker Drive, Ste. 2800
                                        Chicago, IL 60606

                          Counsel for Appellants




                                   59
Case: 22-2153   Document: 28   Page: 74   Filed: 07/24/2023




                      ADDENDUM




                          60
       Case: 22-2153    Document: 28    Page: 75     Filed: 07/24/2023




                         TABLE OF CONTENTS
Dkt.   Docket Text                                 Date Filed    Appx Page
No.                                                              Nos.

191    TRIAL OPINION for bench trial held          8/10/2022     Appx1-46
       March 21 through March 25, 2022.
       Signed by Judge Richard G. Andrews on
       8/10/2022. (nms) (Entered: 08/10/2022)

192    MEMORANDUM regarding dispute over 8/10/2022               Appx47-49
       final judgment (D.I. 190 ). Signed by
       Judge Richard G. Andrews on 8/10/2022.
       (nms) (Entered: 08/10/2022)

193    FINAL JUDGMENT (see Judgment for       8/10/2022          Appx50-51
       further details) (CASE CLOSED). Signed
       by Judge Richard G. Andrews on
       8/10/2022. (nms) (Entered: 08/10/2022)

222    MEMORANDUM ORDER: Defendant's               5/17/2023     Appx52-56
       Rule 60(b) motion (D.I. 205 ) is
       DENIED. Signed by Judge Richard G.
       Andrews on 5/17/2023. (nms) (Entered:
       05/17/2023)




                                   61
               Case: 22-2153         Document: 28     Page: 76     Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 1 of 46 PageID #: 13184




                          IN THE UNITED STATES DISTRJCT COURT
                              FOR THE DISTRJCT OF DELAWARE



 SALIX PHARMACEUTICALS, LTD.;
 SALIX PHARMACEUTICALS, INC.;
 BAUSCH HEAL TH IRELAND LTD.;
 ALFASIGMA S.P.A.,

                  Plaintiffs,
                                                    Civil Action No. 20-430-RGA
          V.

 NORWICH PHARMACEUTICALS, INC.,

                  Defendant.




                                         TRJAL OPINION

Jack B. Blumenfeld, Karen Jacobs, Cameron P. Clark, MORRIS, NICHOLS, ARSHT & TUNNELL LLP,
Wilmington, DE; Scott K. Reed, Steven C. Kline, Shannon K. Clark, Daniel A. Apgar, Alexis M.
McJoynt, Damien N. Dombrowski, Becky E. Steephenson, VENABLE LLP, New York, NY.

         Attorneys for Plaintiffs.

Karen E. Keller, Nathan R. Hoeschen, SHA w KELLER LLP, Wilmington, DE; Matthew J. Becker,
Stacie L. Ropka, Matthew S. Murphy, Chad A. Landman, Rebecca L. Clegg, .AJaNN, VEL TROP &
HARKRIDER LLP, Hartford, CT; Aziz Burgy, Af!NN, VELTROP & HARKRIDER LLP, Washington, DC;
Richardo S. Camposanto, Af!NN, VEL TROP & HARKRIDER LLP, San Francisco, CA.

         Attorneys for Defendant.




August   J12,2022
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                                              Appx1
           Case: 22-2153           Document: 28       Page: 77       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 2 of 46 PageID #: 13185




       Salix sued Norwich for infringement of twenty-six patents that cover Salix's branded

Xifaxan (rifaximin) 550 mg tablets. (D.I. 59 ,, 12, 41). Before trial, Salix narrowed its case to

U.S. Patent Nos.      7,612,199, 7,902,206 ("the Polymorph Patents"), 8,642,573, 9,421,195,

10,335,397 ("the HE Patents"), 8,309,569, and 10,765,667 ("the IBS-D Patents"). In March 2022,

I held a four-day bench trial. (D.I. 168-172, hereinafter "Tr.").

  I.   BACKGROUND

       Norwich submitted an Abbreviated New Drug Application (ANDA) to the Food and Drug

Administration (FDA) for approval to market a generic version of Xifaxan.             Salix alleges

infringement under§ 271(e)(2)(A) of the Patent Act. 35 U.S.C. §271(e)(2)(A). Norwich counters

that the asserted patents are invalid.

       In 2004, the FDA approved Xifaxan (rifaximin) 200 mg tablets to treat travelers' diarrhea.

(D.I. 155, 9).    On March 24, 2010, the FDA approved Xifaxan (rifaximin) 550 mg tablets to

reduce the risk of overt hepatic encephalopathy ("HE") recurrence in adults. (Id ,10). On May

27, 2015, the 550 mg tablets were approved to treat irritable bowel syndrome with diarrhea ("IBS-

D") in adults. (Id ,11 ). The asserted patents cover a polymorphic form of rifaximin and methods

of treating HE and IBS-D in adults.

 II.    LEGAL ST AND ARD

        A. Infringement

        A patent is directly infringed when a person "without authority makes, uses, offers to sell,

or sells any patented invention, within the United States ... during the term of the patent .... "

35 U.S.C. § 271(a). A two-step analysis is employed in making an infringement determination.

See Markman v. Westview Instruments, Inc., 52 F.3d 967,976 (Fed. Cir. 1995) (en bane), aff'd,



                                                 2




                                              Appx2
          Case: 22-2153          Document: 28        Page: 78       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 3 of 46 PageID #: 13186



517 U.S. 370 (1996). First, the court must construe the asserted claims to ascertain their meaning

and scope. See id The trier of fact must then compare the properly construed claims with the

accused infringing product. See id This second step is a question of fact. See Bai v. L & L Wings,

Inc., 160 F.3d 1350, 1353 (Fed. Cir. 1998).

       "Under § 271 (b), whoever actively induces infringement of a patent shall be liable as an

infringer." Warner-Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1363 (Fed. Cir. 2003). To

prevail on a theory of induced infringement, a plaintiff must prove (1) direct infringement and (2)

"that the defendant possessed specific intent to encourage another's infringement and not merely

that the defendant had knowledge of the acts alleged to constitute infringement." Vanda Pharm.

Inc. v. West-Ward Pharm. Int 'l Ltd, 887 F.3d 1117, 1129 (Fed. Cir. 2019) (quoting DSU Med.

Corp. v. JMA Co., 471 F.3d 1293, 1306 (Fed. Cir. 2006)).

       In a Hatch-Waxman case, a plaintiff "can satisfy its burden to prove the predicate direct

infringement by showing that if the proposed ANDA product were marketed, it would infringe the

[asserted patent]." Vanda, 887 F.3d at 1130. For method-of-treatment patents, if an ANDA

applicant's "proposed label instructs users to perform the patented method ... , the proposed label

may provide evidence of [the ANDA applicant's] affirmative intent to induce infringement."

AstraZeneca LP v. Apotex, Inc., 633 F.3d 1042, 1060 (Fed. Cir. 2010). "When proof of specific

intent depends on the label accompanying the marketing of a drug inducing infringement by

physicians, the label must encourage, recommend, or promote infringement." Vanda, 887 F.3d at

1129 (cleaned up).

       B. Obviousness

       A patent is invalid as obvious under 35 U.S.C. § 103 if"the claimed invention as a whole

would have been obvious to a person of ordinary skill in the art at the time the invention was



                                                 3




                                              Appx3
           Case: 22-2153          Document: 28         Page: 79       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 4 of 46 PageID #: 13187



made." Kahn v. Gen. Motors Corp., 135 F.3d 1472, 1479 (Fed. Cir. 1998). "Obviousness is a

question oflaw based on underlying factual findings: (1) the scope and content of the prior art; (2)

the differences between the claims and the prior art; (3) the level of ordinary skill in the art; and

(4) objective considerations ofnonobviousness." In re Morsa, 713 F.3d 104, 109 (Fed. Cir. 2013)

(citations omitted).

        To show a patent is obvious, a party "must demonstrate by clear and convincing evidence

that a skilled artisan would have been motivated to combine the teachings of the prior art references

 to achieve the claimed invention, and that the skilled artisan would have had a reasonable

 expectation of success in doing so." InTouch Techs., Inc. v. VGO Commc 'ns, Inc., 751 F.3d 1327,

 1347 (Fed. Cir. 2014) (cleaned up). The overall inquiry into obviousness, though, must be

 "expansive and flexible." KSR Int'! Co. v. Teleflex, Inc., 550 U.S. 398,415 (2007). In conducting

 the obviousness analysis, "a court can take account of the inferences and creative steps that a

 person of ordinary skill in the art would employ." Id at 418.

            C. Written Description

        The written description "must clearly allow persons of ordinary skill in the art to

 recognize that the inventor invented what is claimed." Ariad Pharm., Inc. v. Eli Lilly & Co., 598

 F.3d 1336, 1351 (Fed.Cir.2010) (en bane) (cleaned up). The test is whether the disclosure

 "conveys to those skilled in the art that the inventor had possession of the claimed subject matter

 as of the filing date." Id This requires an "objective inquiry into the four comers of the

 specification from the perspective of a person of ordinary skill in the art." Id


            D. Indefiniteness

        35 U.S.C. § 112 requires that claims "particularly point(] out and distinctly claim[] the

 subject matter." The claims, viewed in light of the specification and prosecution history, must


                                                  4




                                               Appx4
             Case: 22-2153          Document: 28         Page: 80       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 5 of 46 PageID #: 13188




"inform those skilled in the art about the scope of the invention with reasonable certainty."

Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 910 (2014). "While a claim employing a

term of degree may be definite where it provides enough certainty to one of skill in the art when

read in the context of the invention, a term of degree that is purely subjective and depends on the

unpredictable vagaries of any one person's opinion is indefinite." Intell. Ventures I LLC v. T-

Mobile USA, Inc., 902 F.3d 1372, 1381 (Fed. Cir. 2018) (cleaned up).

III.      THE POLYMORPH PATENTS

          The Polymorph Patents claim polymorphic forms of rifaximin. Plaintiffs assert two such

claims. Asserted Claim 4 of the' 199 patent states:

          4. Rifaximin in polymorphic form p, wherein the rifaximin has x-ray powder diffraction
          pattern peaks at about 5.4°; 9.0°; and 20.9° 20 and wherein the rifaximin has a water content
          of greater than 5%.
Asserted Claim 36 of the '206 patent depends on claim 34:
          34. A solid pharmaceutical composition comprising rifaximin in polymorphic Form p and
          a pharmaceutically acceptable excipient or carrier, wherein the rifaximin Form phas x-ray
          powder diffraction pattern peaks at about 5.4°; 9.0°; and 20.9° 2-0.
          36. The pharmaceutical composition of claim 34, wherein the rifaximin Form phas a water
          content of between about 4.5% to about 40%.

              A. Findings of Fact

       1. If approved, Norwich's ANDA product will infringe the asserted claims of the Polymorph

          Patents.

       2. The priority date of the asserted polymorph claims is November 7, 2003.

       3. A person of skill in the art (a "POSA") would have had a B.S. in chemistry, chemical

          engineering, or a related discipline with at least 3 years' experience in the pharmaceutical

          industry related to API manufacturing, crystallization, characterization, or evaluation of

          solid state forms. Or a POSA would have had an advanced degree with less or no

          experience.

                                                    5




                                                 Appx5
          Case: 22-2153          Document: 28        Page: 81       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 6 of 46 PageID #: 13189




   4. The '199 patent is a continuation of, and contains substantially the same disclosures as,

      the '206 patent.

   5. Rifaximin exists m polymorphic forms.             Norwich's ANDA product comprises

      polymorphic form p.

   6. X-ray powder diffraction (XRPD) peaks are an inherent characteristic of a polymorph.

      Each peak in an XRPD diffractogram is a structural element of that form. XRPD was

      routine as of the priority date.

   7. A crystalline form of a known compound can be characterized by a subset of XRPD peaks.

      The subset ofXRPD peaks at about 5.4°, 9.0°, and 20.9° 20 was sufficient as of the priority

      date to distinguish rifaximin p from the other known rifaximin polymorphs.

   8. Water content is an inherent characteristic of a crystal form that can be determined by

      routine testing methods such as Karl Fischer (KF) or thermogravimetric analysis (TGA).

   9. Cannata, Marchi, and the N ormix Label are prior art.

   I 0. Cannata disclosed crystalline rifaximin, methods of making it, and that it had antibacterial

       properties.

   11. The four post-filing references relied upon by Defendant's expert, Dr. Zaworotko, do not

       show that any of the Cannata methods produces rifaximin Pevery time.

   12. Cannata does not inherently anticipate the asserted polymorph claims.

   13. Marchi disclosed methods of preparing crystalline rifaximin, rifaximin's antibacterial

       properties, and that it could be used in pharmaceutical compositions with conventional

       pharmaceutically acceptable excipients or carriers.

   14. The Normix Label describes the use of rifaximin as a pharmaceutical.




                                                6




                                             Appx6
          Case: 22-2153           Document: 28         Page: 82       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 7 of 46 PageID #: 13190




   15. Cannata in view of common knowledge discloses each and every limitation of claim 4 of

       the ' 199 patent.

   16. A POSA would have had a motivation to combine Cannata with commonly known testing

       techniques XRPD and KF or TGA because regulatory bodies instructed applicants to

       characterize the solubility, stability, and bioavailability of drug candidates.

   17. A POSA would have had a reasonable expectation of success at characterizing the

       rifaximin p polymorph and arriving at the claimed XRPD peaks at about 5.4°, 9.0°, and

       20.9° 20 and water content of greater than 5%.

   18. Marchi in view of Cannata and common knowledge discloses each and every limitation

       of claim 36 of the '206 patent.

   19. A POSA would have had a motivation to combine Cannata with Marchi in light of common

       knowledge.

   20. A POSA would have had a reasonable expectation of success at achieving a pharmaceutical

       composition comprising rifaximin pand a pharmaceutically acceptable excipient or carrier.

   21. All rifaximin p claim limitations are expressly disclosed in the specifications of the

       Polymorph Patents ..

           B. Infringement

       Norwich admits that its ANDA Product, if approved, will infringe claim 4 of the '199

patent and claim 36 of the '206 patent. (D.I. 148, Ex. 1, ,r,r 126, 127).




                                                  7




                                               Appx7
          Case: 22-2153          Document: 28         Page: 83       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 8 of 46 PageID #: 13191




           C. Invalidity

                   1. Inherent Anticipation

       Each expert asserts that his validity analysis is not impacted by which definition of a POSA

I use. (Tr. 860:7-861:8; Tr. 936:21-937:13). In view of Defendant's burden to prove invalidity

by clear and convincing evidence, I will adopt Plaintiffs' definition of a POSA.

       Norwich argues that U.S. Patent No. 4,557,866 (the "Cannata" reference) (JTX-37)

inherently anticipates claim 4 of the '199 patent because it discloses a process that necessarily

produces the claimed rifaximin p. (D.I. 176 at 32). "[A] prior art reference may anticipate

without disclosing a feature of the claimed invention if that missing characteristic is necessarily

present, or inherent, in the single anticipating reference." Schering Corp. v. Geneva Pharms.,

Inc., 339 F.3d 1373, 1377 (Fed. Cir. 2003). A disclosed process may anticipate "if it discloses in

an enabling manner the production" of the claimed polymorph. SmithKline Beecham Corp. v.

Apotex Corp., 403 F.3d 1331, 1344 (Fed. Cir. 2005).

       Here, the issue is whether the process disclosed by Cannata invariably produces rifaximin

p. Norwich has presented the following evidence in support:
           •   The "Viscomi Declaration," a declaration to the PTO stating that samples of
               batches produced according to Cannata "are composed either of mixture of
               polymorph (alpha and beta, and in some case alpha and epsilon) or different
               polymorphs." (JTX 80, 7).
           •   The "Viscomi 2008" article, which Norwich's expert Dr. Zaworotko testified
               shows that rifaximin p is a necessary precursor to the formation of rifaximin u, 8,
               and c. (JTX 65; Tr. 880:20-881: 1, 921 :24-922:6).
           •   The "Braga 2012" article, which describes the inherent properties of rifaximin p.
               (JTX 105).
           •   The "Bacchi 2008" article, which described rifaximin beta 4 ("RX4"), a substance
               the author concluded was "the so-called beta rifaximin of the literature." (DTX
               43; Tr. 882:14--24). The article describes slow evaporation as the method of
               preparation. From this article, Dr. Zaworotko concluded, "Examples 1 and 7, at
               the very least, of Cannata would have ... necessarily afforded rifaximin Beta
               because of the solvent system used, the method used of controlled crystallization,
               and the lack of drying or lack of aggressive drying." (Tr. 883:6--10).

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                                              Appx8
          Case: 22-2153          Document: 28         Page: 84       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 9 of 46 PageID #: 13192




According to this evidence, Norwich argues, "Cannata inherently produced rifaximin P every

time, either directly or as a necessary precursor to the a, 8, and £ forms and mixtures disclosed

in the Viscomi Declaration." (D.1. 185 at 9).

       I do not think this evidence amounts to clear and convincing evidence that Claim 4 is

inherently anticipated by Cannata. Norwich could have shown anticipation either because (1) as

a law of nature, rifaximin a , 8, and £ cannot exist without having been derived from rifaximin p,

or (2) a method disclosed in Cannata produces rifaximin peach and every time it is practiced.

Dr. Zaworotko's testimony did not prove either.

       Dr. Zaworotko' s opinion does not clearly support the conclusion that, as a law of nature,

rifaximin Pis a necessary precursor to rifaximin a, 8, and£. For one thing, had that been his

opinion, he could have clearly stated that, and I do not think he did. (See Tr. at 870-884). I think

Dr. Zaworotko's opinion was relying upon the Viscomi 2008 article:


       Q: Would rifaximin Beta form as a precursor to any polymorph listed in the Viscomi
       declaration listed at paragraph 7?

       A: Yes, based upon the Viscomi 2008 article, where the effect of moisture on rifaximin
       crystal forms was studied and based upon the diagram [derived from Viscomi 2008] it's
       clear that Beta has to be the precursor for any of the other crystal forms with lower water
       content.

(Tr. 921 :25-922: 1). This opinion appears to be based on Dr. Zaworotko's reading of Viscomi

2008, and not a conclusion that rifaximin a, 8, and £ cannot exist in the world without having

first been rifaximin p. I think Dr. Zaworotko stated his opinion the way he did because the

"diagram" to which Dr. Zawortko refers, which is based on Figure 4 ("The relationship between

the various crystal forms ofrifaximin"), was not the main point of the article. The article's

purpose, consistent with its title ("Crystal forms of rifaximin and their effect on pharmaceutical

properties") was to report on a "study [] to identify the presence of crystal forms of rifaximin

                                                  9




                                                Appx9
           Case: 22-2153          Document: 28         Page: 85       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 10 of 46 PageID #: 13193




and to assess their impact on parameters such as solubility, intrinsic dissolution and

 bioavailability." (JTX-65 at 1074). The paper concluded, "The unexpected outcome of this study

 is that we have found that some crystal forms of rifaximin are significantly absorbed, while it

 was previously considered a non-absorbable drug. These finding[s] indicate the need of putting

 appropriate manufacturing and analytical procedures in place to consistently yield rifaximin of

 the appropriate crystalline structure." (Id. at 1080). Thus, to the extent Dr. Zaworotko was

 offering an opinion that Viscomi 2008 is conclusive proof that rifaximin a, 8, and £ are

 necessarily derived from rifaximin ~' I do not find that conclusion to be well-supported. It is not

 clear and convincing proof.

        Thus, to show that Cannata inherently anticipates Claim 4, Norwich would need to show

 that every time Cannata is performed, rifaximin ~ is produced. Norwich has not done so.

        The Viscomi Declaration does not help Norwich. It stated that among "samples of

 batches" produced according to Cannata, when retested in 2006, there were four batches with no

 rifaximin ~- The four batches consisted of ( 1) only the "delta polymorph," (2) only of the

 "epsilon form," (3) a mixture of"the alpha and epsilon form," and (4) a mixture of the "alpha

 and delta forms," respectively. (JTX-80, ,7; see Tr. 949:8-12).

        Although Viscomi 2008 states that the "method of production of rifaximin" was disclosed

 in European Patent No. 161534, the counterpart to Cannata, Salix has persuasively argued that

 Viscomi 2008 discloses steps that are more specific than what Cannata describes. (See JTX 105

 at 6404 n.3; JTX 65 at 1074 & 1074 n.29; Tr. 874:16-25).

        In Viscomi 2008, the reaction step for preparing wet rifaximin describes (1) heating the

 reaction mixture to 50°C for 5 hours, then cooling it to 20°C; (2) adding a mixture of 0.1 moles

 of ascorbic acid and 2.5 moles of concentrated hydrochloric acid in 220 mL of 58% ethyl alcohol



                                                 10




                                              Appx10
           Case: 22-2153          Document: 28           Page: 86     Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 11 of 46 PageID #: 13194




 in water over 30 minutes; and (3) adding concentrated hydrochloric acid dropwise until pH 2.0 is

 reached. (Tr. 951:8-13; JTX 65 at 1074). Cannata has none of these details. (Tr. 951:13-17).

 The crystallization step in Viscomi is also described with more precision than in Cannata. (Tr.

 951: 18-952:2).

        Similarly, Bacchi 2008 discloses a process that does not precisely match Cannata's

 examples 1 and 7. Bacchi describes using a "slow evaporation" process while Cannata does not

 mention evaporation. (DTX 43 at 1734; Tr. 949:20-22). Furthermore, the Cannata examples

 crystallize rifaximin from a 7:3 ethanol to water mixture, whereas Bacchi does not disclose any

 ethanol to water ratio. (Tr. 949:15-23; Tr. 953:2-954:3).

        Ultimately, it appears that Cannata left certain steps up to the discretion of the chemist

 preparing the rifaximin. To show that Cannata invariably produces rifaximin ~, Norwich would

 have needed to show that, no matter how the chemist exercised his or her discretion, rifaximin ~

 would be produced. I do not think Norwich has done so. "Experiments that do not follow the

 prior art procedure alleged to inherently anticipate cannot show inherent anticipation." Merck &

 Cie v. Watson Lab'ys, Inc., 125 F. Supp. 3d 503,513 (D. Del. 2015) (cleaned up), rev'd on other

 grounds, 822 F.3d 1347 (Fed. Cir. 2016).

        Thus, I find that Norwich has not shown by clear and convincing evidence that claim 4 of

 the '199 patent is inherently anticipated by Cannata.

                    2. Obviousness

        Norwich contends that claim 4 of the '199 patent is obvious over Cannata in view of

 common knowledge. (D.l. 176 at 34-35). Norwich contends that claim 36 of the '206 patent is

 obvious over Cannata in view of the Normix Label and common knowledge or over Marchi in

 view of Cannata and common knowledge. (Id. at 35).



                                                 11




                                              Appx11
             Case: 22-2153          Document: 28         Page: 87       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 12 of 46 PageID #: 13195




          A POSA would have understood from Cannata that rifaximin exists in crystalline form

 and that rifaximin has "outstanding antibacterial properties." (JTX 37 at 3: 10-16, 5:21-36).

 Norwich argues this knowledge would motivate a POSA to "identify the characteristics of the

 obtained rifaximin" using "routine methods." (D.I. 176 at 35). Furthermore, Norwich argues

 that a POSA would recognize "that the crystallization solvent used by Cannata included water,

 which could lead to hydrate formation, and thus [the POSA] would have been motivated to

 analyze the effect of water on the crystalline form using conventional methods." (Id.). A POSA

 could have performed a "routine humidity experiment ... in one day and detected rifaximin ~-"

 (Id.).

          The Court of Appeals considered the obviousness of a polymorph patent in Grunenthal

 GmbH v. Alkem Labs. Ltd., 919 F.3d 1333, 1336 (Fed. Cir. 2019). The Grunenthal patent

 claimed Form A of tapentadol hydrochloride characterized by its XRPD peaks. Id. The

 Grunenthal defendant, Alkem, argued that the claim was obvious in light of prior art that

 disclosed a Form B of tapentadol hydrochloride. Id. at 1337.

          Alkem's prior art references included (1) the prior art patent that described a crystalline

 form of tapentadol hydrochloride (later called "Form B") and (2) an article that "outlines a

 number of variables that may be adjusted during the recrystallization process to determine

 whether polymorphism occurs in a compound." Id. at 1337, 1341. The "polymorphism of

 tapentadol hydrochloride was unknown at the time of filing the [asserted patent]," and "Form B

 was the only crystal structure ... known in the art at the time." Id. at 1341.

          The Court of Appeals found that the article did not provide "guidelines regarding which

 [variables] are likely to result in polymorphs of particular compounds." Id. at 1342. Thus, the

 article did little more than tell a POSA to "vary all parameters or try each of numerous possible



                                                   12




                                                Appx12
              Case: 22-2153         Document: 28         Page: 88       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 13 of 46 PageID #: 13196




 choices until one possibly arrived at a successful result," which does not provide a reasonable

 expectation of success. Id. (quoting Pfizer, Inc. v. Apotex, Inc., 480 F .3d 1348, 1365 (Fed. Cir.

 2007)).

           Here, the prior art includes Cannata, which discloses processes for preparing a crystalline

 form of rifaximin. As in Grunenthal, rifaximin's polymorphism was unknown as of the priority

 date. In Grunenthal, however, the prior art patent was known to produce a particular form-

 Form B-oftapentadol hydrochloride. Here, by contrast, no rifaximin had been publicly

 characterized as a particular form as of the priority date.

           I think the evidence is clear and convincing that a POSA would have been motivated to

 characterize the rifaximin produced by the Cannata processes. Cannata disclosed that rifaximin

 had strong antibacterial properties and low bioavailability, motivating a POSA to evaluate the

 substance as a potential drug candidate. (JTX 37 at 3:10-16; JTX 94 at 6-7; Tr. 869:16-870:4;

 Tr. 891:16-892:12). The FDA encouraged, if not required, that the solid forms of a drug

 substance be well-characterized during drug development, including as to the properties of

 solubility, stability, and bioavailability. (DTX 315-35; Tr. 892: 13-894:7). XRPD profiling was

 the predominant method for identifying crystalline materials. (DTX 315-38; Tr. 894:23-895:12).

 FDA guidance required "appropriate manufacturing and control procedures" when

 manufacturing and storing the drug substance could result in a hydrated drug substance. (DTX

 315-39; Tr. 895: 13-24). Because the Cannata process for preparing rifaximin used water, a

 POSA would know about the potential for a hydrate to form, and be motivated to perform

 routine testing (e.g., KF or TGA) for water content and hydration formation. (DTX 317-19; JTX

 54 at 182; Tr. 888:3-890:5; DTX 315-39).




                                                    13




                                                Appx13
            Case: 22-2153         Document: 28         Page: 89       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 14 of 46 PageID #: 13197




        I think the evidence shows that a POSA would have a reasonable expectation of success

 in characterizing the polymorph ~' as opposed to the other forms of rifaximin. Although

 Norwich's evidence failed to show that~ was produced each and every time rifaximin was

 prepared according to Cannata, it did strongly suggest that polymorph ~ is a commonly produced

 polymorph and the most stable form of rifaximin.

        The Viscomi Declaration stated that rifaximin prepared according to Cannata yielded ~

 along with other polymorphs. (JTX 80 at ,r 7). Dr. Zaworotko explained that~ is the most stable

 form. Tr. 877:17-18. ("[B]eta is the winner in terms of stability under normal conditions of

 temperature and humidity."). Dr. Myerson's critiques of Dr. Zaworotko's testimony do not have

 the same force in the context of obviousness as they did in the context of inherent anticipation.

 While Visco mi 2008' s increased specificity in the method of preparation suffices to suggest that

 Cannata may not produce rifaximin ~ each and every time (as would be required for inherent

 anticipation), the standard for obviousness is a reasonable expectation of success. See

 Medichem, SA. v. Rolabo, SL., 437 F.3d 1157, 1165 (Fed. Cir. 2006) ("While the definition of

 'reasonable expectation' is somewhat vague, our case law makes clear that it does not require a

 certainty of success.").

        I reject Salix's argument that a POSA would not have been able to predict the precise

 peaks that characterize rifaximin ~' and accordingly a POSA would not have had a reasonable

 expectation of success. The Federal Circuit has held, "[A] rule oflaw equating unpredictability

 to patentability, applied in this case, would mean that any new salt ... would be separately

 patentable, simply because the formation and properties of each salt must be verified through

 testing. This cannot be the proper standard since the expectation of success need only be

 reasonable, not absolute." Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1364 (Fed. Cir. 2007). I



                                                 14




                                              Appx14
            Case: 22-2153            Document: 28      Page: 90      Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 15 of 46 PageID #: 13198




think the same is true in this context. I credit the testimony of Dr. Zaworotko that the XRPD

peaks and water content are "inherent" properties of a crystal form that can be tested using

routine methods. (Tr. 871 :20-872:5; 884:2-13; 895:8-12). Thus, a POSA would have a

reasonable expectation of success at characterizing the polymorph and arriving at the claimed

XRPD peaks and water contents. 1

        There is no evidence of secondary considerations of nonobviousness for the Polymorph

Patents. (See D .I. 174 at 15-18).

        Thus, I find by clear and convincing evidence that claim 4 of the '199 patent is obvious in

light of Cannata in view of common knowledge.

        Claim 36 of the '206 patent claims a pharmaceutical composition comprising (1)

rifaximin Pwith the claimed XRPD peaks and a water content between about 4.5% to 40% and

 (2) a pharmaceutically acceptable excipient or carrier.

        Norwich argues that rifaximin had previously been formulated as a pharmaceutical

composition comprising pharmaceutically acceptable excipients or carriers. (D.1. 176 at 37).

Marchi in 1982 and the Normix Label in 2001 each taught "pharmaceutical compositions"

 comprising rifaximin. (Id). Marchi disclosed that rifaximin can be used as an "antibacterial

 agent[]" in pharmaceutical compositions with conventional pharmaceutically acceptable

 excipients or carriers. (JTX 48 at 4:27-33, 4:67-5:4, 5:14-40, 60-62, 6:6-31, Cls. 10-11; Tr.

 865:10-866:12, 868:20-869:3). The Normix Label disclosed that rifaximin was an approved

 antibacterial drug in Italy in 1985 as a coated tablet comprising 200 mg of rifaximin and




 1
  Plaintiffs call to my attention Pharmacyclics LLC v. Alvogen Pine Brook LLC, 556 F. Supp. 3d
 377,412 (D. Del. 2021), app.filed, No. 21-2270 (Fed. Cir. Aug. 31, 2021). (D.1. 181 at 37). I
 have considered that case but I do not agree with it on this point.
                                                 15




                                              Appx15
             Case: 22-2153             Document: 28            Page: 91         Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 16 of 46 PageID #: 13199



 phannaceutically acceptable excipients. (JTX 94 at 5, 7-8; Tr. 867:13-17, 869:10-870:4, 903:3-

 9).

         Norwich further argues that rifaximin's antibacterial properties were known. Cannata

 taught that rifaximin has outstanding antibiotic properties and has poor absorption, which

 indicates to a POSA that it could be used for GI treatments. (Tr. 862:22-24; 863:14-18).

 Marchi also disclosed "remarkable" antibacterial properties. (JTX 48 at 4:27-33, 4:67-5:4, 5:14-

 40, 5:60-62, 6:6-31, Cls. 10-11; Tr. 865:10-866:12, 868:20-869:3).

         Salix did not respond to these arguments. (See D.I. 181 at 37-39).

         The only difference between the previous phannaceutical compositions of rifaximin and

 claim 36 is that claim 36 characterizes rifaximin as polymorphic form~- Rifaximin ~ is obvious

 over Cannata in view of common knowledge, for the same reasons as previously stated in

 connection with asserted claim 4 of the '199 patent. Accordingly, I find that a POSA would

 have had the motivation to combine the prior art references of Cannata, the Normix Label, or

 Marchi and Cannata, in view of the commonly known testing techniques, with a reasonable

 expectation of success in doing so. Salix offers no evidence or arguments to the contrary. Thus,

 Norwich has proved by clear and convincing evidence that claim 36 of the '206 patent is invalid

 as obvious.

                       3. Written Description

         The asserted claims describe rifaximin ~ as having XRPD peaks "at about 5.4°, 9.0°, and

 20.9° 20." '199 Patent, Cl. 4, '206 Patent, Cl. 36. The specification states that rifaximin ~ is

 "characterized ... by a powder X-ray diffractogram (reported in FIG. 2) which shows peaks at

 the values of the diffraction angles 20 of 5 .4 °; 6.4 °; 7 .0°; 7 .8°; 9 .0°; 10.4 °; 13 .1 °; 14.4 °; 17 .1 °;




                                                         16




                                                     Appx16
              Case: 22-2153         Document: 28         Page: 92       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 17 of 46 PageID #: 13200




17.90°; 18.30°; 20.9°." '199 Patent 5:64-6:3. Norwich argues that the polymorph patents

improperly claim a genus, whereas the specification recites only a species. (D.I. 176 at 37-38).

          Salix responds that (1) the claims, on their face, are limited to the specific polymorphic

form rifaximin ~' rendering Norwich's genus characterization inaccurate, and (2) even if

Norwich is right, the claims identify structural features common to the genus as required by the

caselaw. (D.I. 181 at 39-42). I agree with Salix on the first point, and accordingly will not

address Salix' s second argument.

          The evidence shows that a subset of XRPD peaks can identify the polymorph. The

"normal practice at the US PTO" is to claim a polymorphic form using "at least three powder

diffraction pattern peaks." (Tr. 965 :11-17; JTX 28 at XIF AX_NOR_0002208). Dr.

Zaworotko ' s own patent explains, "For XRPD data herein, each composition of the present

 invention[, a new crystalline form of a known compound,] may be characterized by any one, any

two, any three, any four, any five, any six, any seven, or any eight or more the 20 angle peaks."

(Tr. 916:17-917 :18, PTX 707 at 15:36-39). I do not think the asserted claims claim a genus.

 They claim only rifaximin ~' a polymorphic form which can be identified using the three peaks

recited in the claims.

          Thus, I reject Norwich's written description challenge.

 IV.      THE METHOD PATENTS

              A. Inducement

                      1. Findings of Fact

       1. At least some physicians will review Norwich's label.

       2. Physicians will instruct patients to take rifaximin according to the instructions on the

          label.



                                                    17




                                                 Appx17
           Case: 22-2153           Document: 28          Page: 93     Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 18 of 46 PageID #: 13201




                    2. Infringement

        Before turning to a limitation-by-limitation infringement analysis for the method patents,

 I will address an underlying dispute regarding induced infringement when the patient is the one

 performing the patented method. Inducement requires direct infringement. Salix argues that either

 (1) the patients, in taking rifaximin, will directly infringe "because patients will read and follow

 the instructions in Norwich's Label (with or without the help of their physician)," or (2) physicians

 and patients will jointly infringe based on the label. (D.I. 174 at 4). I do not think there is joint

 infringement. I find that Plaintiffs have not shown that doctors condition the patient's receipt of a

 rifaximin prescription on the performance of particular steps in the way contemplated by Akamai.

 See Akamai Techs., Inc. v. Limelight Networks, Inc., 797 F.3d 1020, 1023 (Fed. Cir. 2015) (en

 bane). Rather, the patients directly infringe.

        According to Norwich, "Because patients will not take rifaximin correctly without

 physician instruction, the Norwich Label does not induce patients and cannot be the basis for

 finding specific intent." (D.I. 183 at 3-4 (citation omitted)). Essentially, because there is another

 party involved in the inducement (physicians), the "chain of events leading to infringement is ...

 too attenuated to prove specific intent." (D .I. 183 at 6--7). I disagree. The Court of Appeals has

 long held, "the sale of a product specifically labeled for use in a patented method constitutes

 inducement to infringe that patent[.]" Eli Lilly & Co. v. Actavis Elizabeth LLC, 435 F. App'x 917,

 926 (Fed. Cir. 2011 ). In the context of a prescription medication, physicians have a particularly

 important role in conveying essential information to patients. The evidence in this case bears this

 out. (See Tr. 66:22-69:20; Tr. 119:5-120: 16 (describing the process of prescribing rifaxirnin to

 patients)). Other areas oflaw, such as the learned intermediary doctrine, recognize the physician's

 essential role in communicating information about a medication to the patient. See Reyes v. Wyeth



                                                    18




                                                  Appx18
           Case: 22-2153           Document: 28          Page: 94        Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 19 of 46 PageID #: 13202




Lab ys, 498 F. 2d 1264, 1276 (5th Cir. 1974). A pharmaceutical company, such as Norwich, is

well aware of how doctors prescribe medications to patients.            Thus, if there will be direct

infringement, then Norwich will have the specific intent to induce patients' direct infringement.

            B. The HE Patents

        HE is a liver disease that affects the brain. (Tr. 41 : 15-21 ; 48: 10-16). For patients with HE,

the liver does not properly filter toxins from the blood. These toxins can cause changes to the

patient's mental state. (Id.) Physicians grade HE severity using the Conn score, which ranges

from Oto 4. (Tr. 45:14-47:4). Conn scores ofO or 1 reflect a normal or near-normal mental state.

A Conn score of 2 or higher reflects more serious symptoms, from obvious personality changes to

 stupor or even coma. (Tr. 46:6-11, 14-15). Conn scores of O and 1 cannot be detected in a routine

 physical exam. (Tr. 45:20-21; 46:4-5). Physicians also assess HE severity using an asterixis

 score. (Tr. 346:5-8). Asterixis occurs when a patient cycles between lower and higher levels of

 consciousness and can be measured by tremors in a patient's outstretched hand. (Tr. 46: 16-47:4).

        HE can be either episodic or persistent. (Tr. 44: 13-25). Persistent HE is characterized by

 a Conn score that remains at 2 or above. (Tr. 44:24-25). Patients with episodic HE have periods

 ofremission punctuated by episodes of breakthrough overt HE. (Tr. 44:13-25; 45:14-46:15). An

 episode of "breakthrough overt HE" is an increase in the patient's Conn score to grade 2 or higher

 (e.g., going from O or 1 to 2 or more), or an increase in the patient's Conn and asterixis scores of

 one grade each with a baseline Conn Score of 0. (D.I. 149, Ex. 1 ,r 81 ). Patients with a history of

 overt HE who are not currently having an overt HE episode are in "remission of HE." (Id. ,r 81;

 Tr. 48:2-6). Thus, patients with a Conn score of O or 1 and no asterixis are in remission. (Tr.

 48:2-6). After a first overt HE episode, only about half of patients will live one year. (Tr. 50:6-

 19).



                                                   19




                                                Appx19
            Case: 22-2153          Document: 28          Page: 95     Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 20 of 46 PageID #: 13203




        Plaintiff asserts four method claims in connection with the HE patents.

        Asserted Claim 6 of the '195 patent is a dependent claim with three elements: ( 1) reducing

the risk of HE recurrence, (2) by orally administering about 550 mg of rifaximin twice daily (BID)

to the adult subject, (3) for a period of 12 months or longer.

        Asserted Claim 8 of the '573 patent is a dependent claim with three elements: (1)

 maintaining remission of HE, wherein remission is defined as a Conn score of 0 or 1, (2) by

administering 550 mg of rifaximin to the subject BID, (3) for a period of 12 months or longer.

        Asserted Claim 11 of the '397 patent is a dependent claim with four elements: (1)

reducing a subject's risk of experiencing a breakthrough overt HE episode, (2) by orally

 administering to the subject 550 mg of rifaximin BID, (3) for a period of about 12 months or

 longer, (4) to a subject with a Conn score of 0 or 1.

        Asserted Claim 12 of the '397 patent is a dependent claim with five elements: (1)

 reducing a subject's risk of experiencing a breakthrough overt HE episode, (2) by orally

 administering to the subject between about 1000 mg to about 1200 mg of rifaximin daily, (3) for

 a period of about 12 months or longer, (4) to a subject with a Conn score of 0 or 1, (5) "further

 comprising administering lactulose."

                    1. Findings of Fact

     1. Norwich has knowledge of the HE patents.

    2. Norwich's label will encourage administration of rifaximin for 12 months or longer.

    3. Norwich's label will encourage administration of rifaximin for the "reduction in risk of

        overt hepatic encephalopathy (HE) recurrence in adults."

    4. Norwich's label will encourage administration in patients having a Conn score of 0 or 1.




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                                               Appx20
              Case: 22-2153        Document: 28       Page: 96       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 21 of 46 PageID #: 13204




   5. Norwich's label will encourage at least some physicians to co-administer rifaximin and

       lactulose.

   6. Patients will take rifaximin according to the instructions on the label and will directly

       infringe the asserted HE claims.

   7. Norwich's label will induce infringement of the asserted HE claims.

   8. The priority date of the asserted claims is October 2, 2008.

   9. A POSA would have had a Ph.D. in pharmacology, biology, biomedical sciences,

       microbiology and/or an M.D . with board certification in gastroenterology. He or she

       would have had training in or experience with liver and GI disorder research. If needed,

       a POSA would have collaborated with others having ordinary skill in areas relevant to the

       claimed subject matter, including infectious diseases and microbiology.

    10. The Salix Presentation was not publicly accessible as of the priority date and is not prior

       art.

    11. Leevy 2007 does not disclose a method of administering rifaximin to maintain remission.

    12. As of the priority date, a 12-month duration for the administration of rifaximin was not

       within the common knowledge of a POSA.

    13. The claimed method met a long-felt need of reducing the risk of HE recurrence and

       maintaining remission.

    14. There was skepticism in the industry regarding the long-term use of antibiotics to maintain

       remission in HE patients.

    15. The HE patents are not invalid as obvious.

    16. The specification describes using rifaximin with or without lactulose.

    17. A POSA would recognize that the inventors had possession of the claimed method.



                                                21




                                             Appx21
           Case: 22-2153          Document: 28        Page: 97       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 22 of 46 PageID #: 13205




                   2. Infringement

                           i.   Administering for 12 Months or Longer (All Claims)

        It is more likely than not that Norwich's Label will encourage administration of the ANDA

 product for 12 months or longer in at least some patients, and that Norwich knows and specifically

 intends for this period of administration. Norwich's product is indicated for reducing overt HE

 recurrence. (JTX 73 § 1.2). HE is chronic. It must be managed until the patient gets a liver

 transplant or dies. I credit the testimony of Drs. Mahl and Brown that they have had HE patients

 maintain remission of HE for 12 months while on rifaximin 550 mg BID. (Tr. 120:21-24; Tr.

 55:3-11). The label has no recommendation as to duration of administration. The label further

 describes a study in which some patients used the product for 12 months or longer. Taken together,

 this evidence demonstrates by a preponderance of the evidence that Norwich's label would

 encourage administering rifaximin for at least 12 months.

                           ii. Maintaining Remission ('573 Patent, Claim 8)

        I find that Salix has proved by a preponderance of the evidence that Norwich's label

 instructs as to "maintaining remission of HE" as required by the asserted claims. Norwich's label

 is indicated for the "reduction in risk of overt hepatic encephalopathy (HE) recurrence in adults."

 (JTX 73 § 1.2). The experts described "reducing the risk of overt HE recurrence" and "maintaining

 remission of HE" as "basically synonymous" or a "continuum of the same thing." (Tr. 249:23-

 250: 18, 252:9-18; Tr. 51 :21-52: 19). Remission is binary-either a patient is in remission or the

 patient is not. An overt HE recurrence ends remission. Thus, to maintain remission, a patient must

 avoid overt HE recurrence.




                                                 22




                                              Appx22
            Case: 22-2153          Document: 28         Page: 98       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 23 of 46 PageID #: 13206




                            iii. Conn Score of Oor 1 ('397 Patent, Claims 11 and 12)

        Norwich's label will more likely than not induce use of rifaximin in patients with a Conn

score of O or 1. The label encourages use to prevent an overt HE recurrence, which as I have

found, means maintaining remission. The evidence shows that patients in remission of HE have a

Conn score of O or 1. Thus, the label will encourage the use of rifaximin in patients who have a

Conn score of Oor l. This conclusion is bolstered by the Clinical Studies section, which describes

a clinical study in which the patients were "defined as being in remission (Conn score of O or 1)

from hepatic encephalopathy." (JTX 73 § 14.2).

        Norwich argues that (1) doctors do not calculate a Conn score for their patients before

prescribing rifaximin, and (2) the Indications section does not reference the Clinical Studies

 section and thus it "merely describe[es] a parameter of the study, rather than actually encouraging,

recommending, or promoting" the infringing use.          (D.l. 183 at 10). I find these arguments

 unpersuasive.

        The expert testimony shows that at least some physicians use Conn scores in clinical

 practice. (Tr. 154:2-22; 264:6-7). Defendant's expert, Dr. Mahl, testified that he does not

 calculate Conn scores but does record the "elements that might go into a Conn score." (Tr. 114: 16-

 20). The patents do not require the calculation of a Conn score. Rather, they require use in patients

 with a Conn score of Oor 1, which can be present regardless of whether it has been calculated. On

 this testimony, it seems likely that Norwich's ANDA product will be used in at least some patients

 who have a calculated Conn score of O or 1 as well as patients whose Conn scores would be a O or

 1, if calculated, based on the symptoms observed by their physicians.

        Regarding the Clinical Studies section, the law does not require the indication section of a

 label to specifically direct the reader to look at other sections in order for those other sections to



                                                  23




                                               Appx23
           Case: 22-2153          Document: 28         Page: 99       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 24 of 46 PageID #: 13207




 be considered. The Court of Appeals has held, "The jury was entitled to credit expert testimony

 regarding the label's instructions on who should take what drug, when, why, and how, and to reject

 the argument that certain portions of the label were disjointed from others." GlaxoSmithKline LLC

 v. Teva Pharms. USA Inc., 7 F.4th 1320, 1329 (Fed. Cir. 2021),petitionfor cert.filed, No. 22-37

 (July 11, 2022). I credit the testimony of Dr. Brown that physicians commonly read the Clinical

 Studies section. (Tr. 67:24--68:8). The "Hepatic Encephalopathy" subsection starts with the

 sentence: "The efficacy of rifaximin tablets 550 mg taken orally two times a day was evaluated in

 a randomized, placebo-controlled, double-blind, multi-center 6-month trial of adult subjects from

 the U.S., Canada, and Russia who were defined as being in remission (Conn score of 0 or 1) from

 hepatic encephalopathy (HE)." (JTX 73 § 14.2). Accordingly, I find that the label will induce use

 in patients with a Conn score of 0 or 1.

                            iv. Administration with Lactulose ('397 Patent, Claim 12)

        Norwich's label will encourage co-administration with lactulose. In the Indications and

 the Clinical Studies section, the label notes that 91 % of patients took rifaximin and lactulose

 concomitantly, and that lactulose did not alter the treatment effect of rifaximin. (JTX 73 §§ 1.2,

 14.2). This strongly suggests that taking lactulose concomitantly is safe and effective, and it will

 likely encourage some physicians to administer rifaximin in conjunction with lactulose as required

 by the claims. I reject Norwich's comparison to Shire LLC v. Amneal Pharmaceuticals, which

 held that label indicating that a drug could be taken "with or without" food was "indifferent" as to

 which option was select and thus not an instruction to infringe. 2014 WL 2861430, at *5 (D.N.J.

 June 23, 2014), ajfd in part, rev'd on other grounds, 802 F.3d 1301 (Fed. Cir. 2015). The high

 percentage of patients who took lactulose concomitantly, and the fact that this information was

 included in the Indications section, encourages physicians to prescribe the two concomitantly.



                                                 24




                                              Appx24
           Case: 22-2153          Document: 28          Page: 100     Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 25 of 46 PageID #: 13208




        I credit the testimony of Dr. Brown, who stated that the label, by citing the 91 percent

figure, "makes clear that you can - you can and probably should use Lactulose in the majority of

your subjects." (Tr. 76: 5-7). I further credit Dr. Brown's testimony, "Whenever possible, I use

the combination of Lactulose and rifaximin because that's where the bulk of the data is." (Tr. at

76:12-13). I find that a physician reading the Norwich label and considering a study in which

91 % of the patients were administered lactulose concomitantly will be inclined to do so likewise

"because that's where the bulk of the data" showing the efficacy of rifaximin is.

                            v. Substantial Noninfringing Use (All Claims)

        Norwich argues that its ANDA product has substantial noninfringing uses, which is

 relevant to intent to induce. (D.I. 183 at 11-12). Most HE patients live less than 12 months after

their first overt HE episode. Thus, a substantial number of patients taking Norwich's ANDA as

 directed will not take rifaximin for 12 months or more, and these uses will not meet the 12-

 month-or-more claim limitation. Norwich points to Warner-Lambert Co. v. Apotex Corp., 316

 F.3d 1348, 1363-66 (Fed. Cir. 2003) in support of this argument.

        The Federal Circuit has distinguished Warner-Lambert, where the infringing use would

 be off-label use of the defendant's ANDA product and encompass only a small number of sales,

 and cases where "the proposed label itselfrecommends infringing acts." Vanda Pharms. Inc. v.

 West-Ward Pharms. Int'! Ltd., 887 F.3d 1117, 1132-33 (Fed. Cir. 2018). Here, since I find that

 the label itself recommends infringement, the potential for substantial non-infringing uses does

 not negate Norwich's intent to induce infringement.

                    3. Invalidity

        The parties agree that the definition of a POSA is not outcome determinative. (D.1. 176 at

 2; D .I. 181 at 1). I adopt Plaintiffs' definition of a POSA.



                                                   25




                                                Appx25
           Case: 22-2153          Document: 28         Page: 101       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 26 of 46 PageID #: 13209




        Norwich argues that as of 2008, it was widely known that rifaximin was safe and effective

for treating HE. (D.1. 176 at 3). Rifaximin was indicated abroad for HE in 2000. (JTX 94 at 5,

 9). In 2004, the FDA approved Salix's Xifaxan for traveler's diarrhea. From that time, there is

 evidence of widespread off-label use of Xifaxan by physicians to treat patients with HE. Market

 research conducted by Salix shows that, by January 2007, 77% of physicians who treated HE

 patients had prescribed Xifaxan for HE. (DTX 349-16).

        The prior art described the use of rifaximin in HE patients. For instance, a 1993 article

 ("Festi") described one open study and two randomized, controlled, comparative studies. The

 three studies "confirm[ed] the usefulness of rifaximin in the management of cirrhotic patients with

 mild HE." (JTX 42 at 607; Tr. 165: 11-166:5). A 2000 article ("Williams 2000") described a study

 confirming that 1200 and 2400 mg doses of rifaximin showed significant improvement "in

 reducing objective parameters of HE in cirrhotic patients," and "treatment with rifaximin 1200

 mg/day may be considered as an adjuvant or an alternative" to lactulose, with no adverse effects.

 (JTX 66 at 203-4, 207). Lactulose was the "mainstay" for HE therapy at the time. (See Tr. 203 : 17-

 204:5). In 2004, doctors at a Salix-hosted conference on hepatology reported being "very happy

 with [rifaximin's] results" and that rifaximin had "excellent" tolerability with "no significant side

 effects." (Tr. 172:10-18; 174:8-22; DTX 584-1, 3). A 2007 retrospective chart review ("Leevy

 2007") showed better treatment outcomes for patients on rifaximin than on lactulose. (DTX 390-

 3; Tr. 204:6-16).

        Norwich also points to retrospective chart reviews published after the priority date that

 show use ofrifaximin for HE before the priority date. (See D.I. 176 at 9-10 (citing JTX 111, JTX

 109) ). I do not think these uses are in the prior art because there is no evidence that a POSA would

 have known about them. They do provide evidence of a POSA' s state of mind, since the physicians



                                                  26




                                               Appx26
           Case: 22-2153            Document: 28        Page: 102        Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 27 of 46 PageID #: 13210




 prescribing Xifaxan off-label meet both parties' definition of a POSA. (See D.I. 182 , 121; D.I.

 177, 1). See In Re: Copaxone Consol. Cases, 906 F.3d 1013, 1025 (Fed. Cir. 2018) (holding,

 "The district court . . . properly relied on [a reference] not as statutory prior art, but for the fact

 that [POSAs] were interested in pursuing less frequent dosing regimens.").

                            i.   Prior Art Combinations

        Norwich presents two obviousness combinations for the asserted HE claims: the Bausch

 HE Study in light of the Salix Presentation, and Leevy 2007 in light of common knowledge. I will

 consider each in tum.

        The Bausch HE Study is the protocol for the clinical trial that ultimately led to the approval

 of rifaximin for HE. It disclosed the method, dosage, lactulose, and Conn score limitations of the

 asserted claims.   The Salix Presentation was a presentation given by Dr. Leevy at a Salix

 shareholder's meeting in which Dr. Leevy described using rifaximin to treat HE. (DTX 52-4). Dr.

 Leevy described the duration limitation. Between the two, all claim limitations are disclosed.

         Salix argues that the Salix Presentation was not in the prior art because it was not

 accessible. (D.I. 181 at 4). Salix tried to exclude the evidence before trial. (D.1. 150). I denied

 Salix's motion without prejudice to evaluating its prior art status based on a complete

 understanding of the record. (D.1. 161 at 28:9-18). Norwich's response to the motion in limine

 relied on evidence that Norwich did not present at trial. (See D.I. 150 at 9 of 18 (describing a Salix

 press release announcing the conference)). Accordingly, I will reconsider the question in light of

 the evidence presented at trial.

         At trial, Defendant offered the transcript of the Salix Presentation and expert testimony

 regarding the presentation. (DTX 660; Tr. 175:20-176:22). Defendant's expert, Dr. Berg, testified

 that the Salix presentation was publicly available online at the SEC and that a POSA would be



                                                   27




                                                Appx27
           Case: 22-2153         Document: 28          Page: 103       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 28 of 46 PageID #: 13211




motivated to find it because Salix was the only company selling rifaximin in the United States at

 the time. (Tr. 175 :22-24; 176: 15-22). Salix responds that this testimony is unsupported by

explanation or evidence. (D .I. 181 at 4--5). While I credit Dr. Berg's assertions regarding a

 POSA's motivation to look for and methods of finding such a document, I do not credit his

 testimony regarding the availability of the Salix Presentation online before the priority date. I do

 not think a medical doctor's expertise is a basis for opining on what the SEC had available online

 more than a decade ago. Dr. Berg's opinion is not supported by independent evidence. "At this

 critical point in the determination of obviousness, there must be factual support for an expert's

 conclusory opinion." Upjohn Co. v. Mova Pharm. Corp., 225 F.3d 1306, 1311 (Fed. Cir. 2000).

 Without evidence of online accessibility, and without evidence that the meeting was attended by

 interested POSAs (or even directed to POSAs, rather than investors), I find that Defendant has not

 shown by clear and convincing evidence that the Salix Presentation is prior art.

        Norwich's second prior art combination is Leevy 2007 and common knowledge. Norwich

 argues, "Leevy 2007 disclosed the method, dosage, and Conn score limitations." (D.I. 176 at 8).

 Norwich argues that common knowledge supplies the missing limitations of duration (of 12

 months or more) and lactulose. (Id. at 9).

        Upon review of the evidence, I find that Leevy 2007 does not describe the method

 limitation. Independently, common knowledge cannot supply the duration limitation. I will

 address each in turn.

        The claims are directed to maintaining remission or reducing the risk of breakthrough overt

 HE. Leevy 2007 concluded that HE hospitalizations were less frequent and shorter for patients on

 rifaximin than for patients on lactulose. Norwich argues that these hospitalizations are a metric

 for breakthrough overt HE and therefore Leevy 2007 discloses the method limitation. (D.I. 176 at



                                                  28




                                              Appx28
            Case: 22-2153         Document: 28         Page: 104       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 29 of 46 PageID #: 13212




 8). But Norwich's argument is not supported by the record. Norwich's expert, Dr. Berg, testified

 as to Leevy 2007' s disclosure of rifaximin' s ability "to treat HE" or as "therapy for HE." (E.g.,

 Tr. 181 :9-18; 206:2-10). He did not characterize it as disclosing prevention or the like. I see no

 testimony linking Leevy's reduction in hospitalizations with the claimed method of preventing

 breakthrough overt HE.

          Furthermore, Leevy 2007 did not track Conn scores throughout the study. As Salix argues,

 "a POSA would not have been able to determine whether subjects who had a Conn score of 1 at

 the beginning of the rifaximin phase maintained that Conn score throughout the 6 months." (D.I.

 181 at 5). I credit Dr. Brown's testimony, "You cannot interpret the natural course of these

 patients' HE through the six-month period based on the data provided." (Tr. 393:4--6). Leevy

 2007 does not teach the maintaining remission limitation.

          Thus, Leevy 2007 cannot supply the limitations required for the asserted claims, whether

 it is maintaining remission of HE or reducing the risk for breakthrough overt HE. On that basis

 alone, Defendant fails to prove obviousness.

          There is a second, independent basis to reject the prior art combination of Leevy 2007 and

 common knowledge. I do not think that a POSA would have a reasoned basis to resort to the

 "common sense" that rifaximin could be used for 12 months or longer. Common sense can supply

 a limitation missing from the prior art if a "searching" review of the prior art provides a "reasoned

 basis for resort to common sense." Arendi S.A.R.L. v. Apple Inc., 832 F.3d 1355, 1363 (Fed. Cir.

 2016).

          Many of the sources Norwich relies upon to show long-term administration are not prior

 art. (See D.I. 176 at 9-10 (citing retrospectives published after the priority date and the Salix

 Presentation)). They were not, at that point, in the common knowledge of the field.



                                                  29




                                                Appx29
             Case: 22-2153        Document: 28        Page: 105        Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 30 of 46 PageID #: 13213




        Administration of rifaximin for 12 months or more suggests prevention (i.e., maintaining

remission or reducing the risk of overt HE recurrence), not mere treatment. Norwich argues,

"[T]he record is replete with prior art disclosing the use of rifaximin in patients in remission from

HE (i.e., having a Conn score of O or 1)." (D.I. 185 at 5-6). It is true that some of the studies

included patients with Conn scores of O or 1. (JTX 66 at 205; JTX 42 at 607.) Many of these

patients would have been in remission, but the sources discuss HE "treatment," not prevention or

maintenance of remission. The Bausch HE study was the first prior art source to clearly articulate

a desire to prevent hepatic encephalopathy. (DTX 52-4 ). As of the priority date, the Bausch Study

did not have any results. Accordingly, I do not think that a 12-month treatment period was within

the common knowledge as of the priority date.

        Furthermore, Salix has presented evidence that a POSA would have known that long-term

administration of rifaximin, an antibiotic, was risky. Not only could long-term use of antibiotics

lead to a superinfection, which could kill the patient, but, "A POSA would have been concerned

that if an HE patient developed clinical resistance to rifaximin, (the POSA] would not be able to

administer rifaximin the next time the patient experienced an HE episode." (D.I. 181 at 11; Tr.

 388:3-9).    The parties' experts disagreed about the level of risk associated with long-term

administration of rifaximin and how a POSA would consider that risk. I credit Dr. DuPont's

testimony that without further studies, a POSA would have been reluctant to administer rifaximin

 long-term. (Tr. 467 :7-12). Thus, I think that the prior art does not provide enough of a reasoned

 basis for supplying the duration limitation.

          Finally, Salix has presented evidence of secondary considerations ofnonobviousness that

 weigh in favor of finding the HE patents nonobvious. The claimed HE methods met a long-felt

 need for maintaining remission and reducing the risk of breakthrough overt HE episodes. Salix



                                                 30




                                                Appx30
             Case: 22-2153         Document: 28        Page: 106       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 31 of 46 PageID #: 13214



argues, "As of October 2008, no drug had been approved for HE in over 30 years, and no drug had

ever been approved to prevent HE recurrence." (D.I. 174 at 17). Norwich's expert responded that

there was no need because physicians were already using a combination of rifaximin and lactulose

to treat HE. (Tr. 222:7-20). As Salix points out, however, "Short-term, off-label use of rifaximin

 to treat HE did not meet a long-felt need for long-term prevention of HE recurrence." (D.I. 186

 at 10).

           There was also some skepticism in the industry. Salix points to comments from the FDA

 advisory committee expressing the concern "that indefinite use of rifaximin could change the gut

 flora and cause antibiotic resistance." (D.I. 174 at 17). Norwich argues that the FDA statements

 lack a nexus to the asserted claims. I disagree. "Where the offered secondary consideration

 actually results from something other than what is both claimed and novel in the claim, there is no

 nexus to the merits of the claimed invention." Novartis AG v. Torrent Pharm. Ltd., 853 F.3d 1316,

 1330 (Fed. Cir. 2017) (citation omitted). But here, the potential antibiotic resistance would have

 resulted from the claimed method of treatment. Accordingly, I give some weight to the FDA

 comments as evidence of skepticism.

           Ultimately, I find that Norwich has not shown by clear and convincing evidence that the

 asserted HE claims are invalid as obvious.

                             ii. Written Description

           Norwich argues, "Claim 8 of the '573 patent, claim 6 of the '19 5 patent, and claim 11 of

 the '397 patent are invalid for lack of written description because the specifications of the patents

 fail to show that the administration of rifaximin alone (i.e., in the absence of concomitant

 administration oflactulose) achieves the claimed effects." (D.I. 181 at 16). Norwich's argument

 seems to be that the specifications lack data supporting the efficacy of rifaximin alone. (See id.).



                                                  31




                                               Appx31
           Case: 22-2153          Document: 28         Page: 107        Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 32 of 46 PageID #: 13215




This is not the standard for written description. The specifications all describe using rifaximin

with or without lactulose. (JTX 19 at 16:62-17:3 ("This method includes: administering rifaximin

to a subject daily that is being treated with lactulose, and tapering lactulose consumption .... In one

embodiment, the baseline use oflactulose is no use."); JTX 11 at 16:62-17:3; JTX 22 at 10:49-57).

 I therefore find that Norwich has not shown a lack of adequate written description by clear and

 convincing evidence.

            C. THE IBS-D PATENTS

        Irritable bowel syndrome ("IBS") is characterized by symptoms including abdominal

 pain, bloating, frequency, urgency, gas, and changed bowel habits, such as diarrhea, constipation,

 or alternating diarrhea and constipation. (E.g., Tr. 618:23--620:2). Subtypes of IBS include IBS

 with diarrhea (IBS-D), IBS with constipation (IBS-C), or IBS with alternating diarrhea and

 constipation (IBS-A). (Tr. 622:9--623:1). The IBS-D subtype comprises about one-third ofIBS

 patients. (Tr. 622:21--623: 1). IBS may be caused, for example, by abnormal motility, abnormal

 muscular coordination, changes in the microbiome in the colon or small intestine, intolerance to

 certain foods, or psychological factors. (Tr. 618:23--620:2).

        Plaintiffs assert two claims in connection with the IBS-D patents.

        Asserted Claim 3 of the '667 patent is a dependent claim that has three elements: (1)

 administering 550 mg of rifaximin three times a day (TID) for 14 days; (2) to treat one or more

 symptoms ofIBS-D; (3) in a subject 65 years of age or older.

        Asserted Claim 2 of the '569 patent is a dependent claim with two elements: (1)

 administering 550 mg of rifaximin TID for 14 days; and (2) after stopping rifaximin, achieving a

 durability of response that comprises about 12 weeks of adequate relief of symptoms.




                                                  32




                                               Appx32
          Case: 22-2153            Document: 28      Page: 108        Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 33 of 46 PageID #: 13216



                   1. Findings of Fact

    1. Norwich is aware of the IBS-D patents.

   2. Norwich's label will encourage administering rifaximin to adults aged 65 years or older

       with IBS-D.

    3. Norwich's label will encourage administration of "one 550 mg tablet taken orally three

       times a day for 14 days" for the treatment of IBS-D, which inevitably will result in at least

       some patients having a durability of response comprising about 12 weeks of adequate relief

       after stopping rifaximin.

    4. Patients will take rifaximin according to the label and will directly infringe the asserted

       IBS-D claims.

    5. Norwich's label will induce infringement of the asserted IBS-D claims.

    6. The priority date for the IBS-D claims is February 26, 2008.

    7. A person of skill in the art would have had a medical degree with training in

       gastroenterology or have been a practicing physician, such as an internist, with

       experience in treating IBS.

    8. The prior art includes the '608 patent (JTX 132), the Pimentel Book (PTX 752), Yang

       (DTX 892), the RFIB 2001 Press Release (DTX 657), Pimentel 2006 (JTX 53), the RFIB

       2001 Protocol (DTX 340), Cuoco (JTX 38), Barrett (JTX 71), Viscomi 2005 (JTX 64),

       Lin 2006 (JTX 69), Lauritano (DTX 384), and Scarpellini (JTX 60).

    9. The RFIB 2001 Protocol and Pimentel 2006 disclose all limitations of the IBS-D claims.

    10. A POSA would have been motivated to combine the RFIB 2001 Protocol and Pimentel

       2006 with a reasonable expectation of success.




                                                33




                                             Appx33
           Case: 22-2153            Document: 28        Page: 109        Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 34 of 46 PageID #: 13217



    11. As of the priority date, the prior art disclosed positive results in using rifaximin to treat

        IBS-D for a range of doses. The asserted IBS-D claims describe a dosing regimen within

        the known range.

    12. A POSA would have had motivation to treat IBS-D patients 65 years of age or older with

        rifaximin. A POSA would have had a reasonable expectation of success in treating this

        patient group with rifaximin.

    13. The prior art did not teach away from using rifaximin to treat IBS-D according to the

        claimed methods.

    14. There was some skepticism in the literature.

    15. The asserted IBS-D claims are invalid as obvious.

    16. The specification describes "durability ofresponse" as including adequate relief from

        symptoms for 12 weeks.

    17. A POSA would recognize that the inventor possessed the claimed durability of response.

    18. A POSA would have reasonable certainty regarding the meaning of "adequate relief' and

        "durability of response."

                    2. Infringement

                            i.   Age 65 and Over ('667 Patent, Claim 3)

        Claim 3 of the '667 patent requires administration of rifaximin to patients who are 65 years

 and older.   I find that Norwich's label will induce administration to this patient population.

 Norwich's ANDA product is indicated for "adults." (JTX 73 § 1.3). "Adults" include people who

 are 65 years and older. The label's "Use in Special Populations" section describes "Geriatric Use."

 (JTX 73 § 8.5). The label states, "No overall differences in safety or effectiveness were observed

 between these subjects [aged 65 and over] and younger subjects for either indication." (Id.)



                                                   34




                                               Appx34
           Case: 22-2153          Document: 28         Page: 110       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 35 of 46 PageID #: 13218




Accordingly, Norwich knows and specifically intends that its ANDA product will be used to treat

IBS-D in patients who are 65 and older.

                           ii. 12 Week Durability of Response ('569 Patent, Claim 2)

        Claim 2 of the ' 569 patent requires a "durability ofresponse [that] comprises about 12

weeks of adequate relief." I find that Norwich's label will induce such a response in at least

some patients. Salix argues, "By following [the dosing] instructions [on the label], some patients

will inevitably have a durability of response comprising about 12 weeks of adequate relief."

(D.I. 174 at 14). Salix's expert testified to this, and Norwich's expert admitted as much. (Tr.

537: 12-540:4, 581: 16--22 (agreeing that at least some patients "will experience adequate relief of

their IBS-D symptoms for 12 weeks after taking rifaximin 550 milligrams three times a day for

 14 days")). "[A]n accused product that sometimes, but not always, embodies a claimed method

nonetheless infringes." Bell Commc'ns Rsch., Inc. v. Vitalink Commc'ns Corp., 55 F.3d 615,

622-23 (Fed. Cir. 1995).

        Norwich's label supports a finding of inducement. The product is indicated "for the

treatment of irritable bowel syndrome with diarrhea." (JTX 73 § 1.3). The Clinical Studies

 section states, "The efficacy of rifaximin tablets for the treatment of 1B S-D was established in 3

 randomized, multi-center, double-blind, placebo-controlled trials in adult patients." (JTX 73 §

 14.3). The third study, TARGET 3, tracked long-term response to treatment. In it, "382

 [patients] experienced a period of symptom inactivity or decrease that did not require repeat

 treatment by the time they discontinued, including patients who completed the 22 weeks after

 initial treatment with rifaximin." (Id.). Norwich argues that TARGET 3 only measured two

 symptoms ofIBS-D, rather than the claimed "adequate relief' of IBS-D symptoms, and that it

 reported "time to recurrence" rather than the claimed "durability ofresponse." (D.1. 183 at 14).



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                                               Appx35
           Case: 22-2153         Document: 28         Page: 111       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 36 of 46 PageID #: 13219



Even when a proposed label does not exactly track the claim language, a package insert

containing directives that will "inevitably lead some consumers to practice the claimed method"

provides sufficient evidence for a finding of specific intent. See AstraZeneca LP v. Apotex, Inc.,

633 F.3d 1042, 1060 (Fed. Cir. 2010). Accordingly, I find that Norwich's label will induce some

patients to experience a 12-week durability ofresponse as required by the patents and that

Norwich will have the specific intent to induce infringement.

                   3. Obviousness

        Salix asserts that the definition of a POSA is not outcome determinative. (D.I. 181 at 16).

Noriwch has proposed that a POSA would have had a medical degree with training in

gastroenterology or have been a practicing physician, such as an internist, with experience in

treatingIBS. (D.I.181 at 17). IadoptNorwich'sdefinitionofaPOSA.

        Norwich argues that, as of the priority date, rifaximin was known to be safe and effective

 in treating IBS-D. Prior to February 2008, there was widespread off-label use of Xifaxan to treat

 IBS in the United States. As of January 2008, 74% of gastroenterologists polled by Salix had

 prescribed Xifaxan for IBS. (DTX 349-130). Prescription data showed that 27.7% ofXifaxan 200

 mg tablet uses in November 2007 had been for IBS. (DTX 349-89; Tr. 832:2-833:23).

        The prior art also discussed using rifaximin to treat IBS. In 1999, Dr. Pimentel applied for

 patents on the use of rifaximin to treat IBS. (JTX 132; JTX 133; Tr. 617:1-21). The '608 patent

 claims a method of "treating a subject suffering from [IBS], comprising administering rifaximin

 to the subject ... " (JTX 132 at cl. 1; Tr. 620:3-621:9). 2 At a 2005 conference hosted by Salix,

 Dr. Pimentel disclosed that his practice group had used rifaximin to treat about 900 patients. (Tr.




 2
  The '608 patent issued in 2010 but the parties agree that it was publicly accessible before the
 priority date. (D.1. 149, Ex. 1 1 136).
                                                 36




                                              Appx36
          Case: 22-2153          Document: 28        Page: 112       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 37 of 46 PageID #: 13220



 627:7-628:5; DTX 582-4, 5). In 2006, Dr. Pimentel published a book titled A New JBS Solution,

 Bacteria - the Missing Link in Treating Irritable Bowel Syndrome, which recommended the use

 ofrifaximin as a safe and effective way to treat IBS-D. (PTX 752; Tr. 623:25-624:21).

        In 2006, three studies were published on the use of rifaximin to treat IBS. A randomized,

 double-blind, placebo-controlled study found rifaximin to be more effective than placebo in

 improving IBS. ("Pimentel 2006," JTX 53). A retrospective chart review ofIBS patients who had

 tested positive for small intestine bacterial overgrowth ("SIBO") reported a significant reduction

 in the number of patients having IBS symptoms 4-5 months after treatment, and that 12 of 23

 patients had "complete resolution of IBS symptoms."        ("Cuoco," JTX 38 at 94).      Another

 retrospective chart review of 8 patients disclosed, "rifaximin use resulted in complete resolution

 of clinical symptoms in 4 patients, with no IBS relapse (follow-up, 1 to 6 months)," and "partial

 symptom improvement was observed in 4 patients, 3 of whom were treated for an additional 2

 months with rifaximin 400 mg three times daily cycle therapy (2 weeks on I I week off[]) which

 resulted in a 50% to 70% improvement from baseline." ("Barrett," JTX 71; Tr. 639:9-640:5).

        Norwich proposes three prior art combinations involving three pieces of prior art. Because

 I agree that Pimentel 2006 in light of the RFIB 2001 Protocol renders the asserted claims of the

 IBS-D patents obvious, I will not address the other two combinations.

        Pimentel 2006 administered rifaximin, 400 mg TID for 10 days, to treat IBS patients aged

 18-65. Pimentel 2006 taught, "rifaximin resulted in statistically greater global improvement in

 IBS than placebo," and "[i]mprovements were sustained through 10 weeks of follow-up" after 10

 days of treatment. (JTX 53 at 562).

        The "RFIB 2001 Protocol" (DTX 340) was a Phase II trial designed to administer rifaximin

 to patients aged 18 and over, 550-2,220 mg per day for 14 days for the treatment of IBS-D. The



                                                37




                                             Appx37
             Case: 22-2153        Document: 28        Page: 113        Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 38 of 46 PageID #: 13221




protocol included the outcome measures of providing adequate relief of symptoms and evaluating

a durability of response over a 12-week post-treatment period. Salix announced the successful

completion of this study on September 5, 2007 (the "RFIB 2001 Press Release") and disclosed,

"Top-line results of this study demonstrate that ... a 14-day course of rifaximin at 550 mg twice-

a-day, provides a statistically significant improvement in both adequate relief of IBS symptoms

and adequate relief of bloating, compared to placebo." (DTX 657-4; Tr. 656:12-657:10).

           The RFIB 2001 Protocol and Pimentel 2006 disclose all limitations of the asserted IBS-D

 claims.

           I find that a POSA would have been motivated to combine Pimentel 2006 with the RFIB

 2001 Protocol and would have had a reasonable expectation of success. Pimentel 2006 reported

 sustained improvement in IBS symptoms for patients aged 18-65 for at least 10 weeks on a 400

 mg TID, 10-day regimen. The RFIB 2001 Protocol included no upper age limit, a 14-day dosing

 regimen of 550 to 2200 mg per day, and the treatment of patients with IBS-D in particular. As of

 the priority date, a POSA would have known about the successful RFIB 2001 Protocol results.

 Widespread off-label use reflects a motivation to use rifaximin for the treatment of IBS-D with a

 reasonable expectation of success. As described above, several pieces of prior art reported success

 in treating IBS with rifaximin. The caselaw does not require "conclusive proof of efficacy."

 Hoffmann-La Roche Inc. v. Apotex Inc., 748 F.3d 1326, 1331 (Fed. Cir. 2014). Rifaximin had

 been shown to be effective in treating IBS in Pimentel 2006 and IBS-D in the RFIB 2001 Protocol,

 which were randomized, placebo-controlled clinical trials. Together, I think this is strong evidence

 that a POSA would have a motivation to use rifaximin for the treatment of IBS-D. 3



 3
   The parties do not discuss whether there is any difference between the motivation to use
 rifaximin to treat IBS and to treat IBS-D. I think a POSA would have been motivated to treat
 IBS-D and would have had a reasonable expectation of success in doing so, even though much of
                                                 38




                                               Appx38
           Case: 22-2153          Document: 28          Page: 114        Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 39 of 46 PageID #: 13222



        I also find that a POSA would have had the motivation to select an optimal dosing regimen

 from within the known range. The prior art describes positive results from a range of doses.

 Pimentel 2006 used 400 mg of rifaximin TID for 10 days and reported "global improvement in

 IBS." (JTX 53 at 558). Cuoco disclosed a total dose of 1200 mg for 14 days and reported

 significant reduction in the number of patients having IBS symptoms. (JTX 38 at 91). Barrett

 disclosed 400 mg TID for 1-5 months. (JTX 71). In 2007, Quigley explained, "Antibiotic dose

 and duration of therapy have not been established. All studies to date have used different doses

 and antibiotic regimens; the optimal approach needs to be established in a prospective, placebo-

 controlled, dose-ranging study." (PTX 692 at 1142). The RFIB 2001 Protocol taught a range from

 1100 mg to 2200 mg per day for 10-14 days. (Tr. 655:20-656:11). The RFIB 2001 Press Release

 reported that a "14-day course of rifaximin at 550 mg twice-a-day" dosage saw effective results.

 (DTX 657-4). The claimed dose is 550 mg of rifaximin TID for 14 days.

        "Where the general conditions of a claim are disclosed in the prior art, it is not inventive

 to discover the optimum or working ranges by routine experimentation." In re Applied Materials,

 Inc., 692 F.3d 1289, 1295 (Fed. Cir. 2012) (cleaned up). Here, a POSA would have been motivated

 to combine the prior art to achieve a dosage regimen within the known range. Salix's market

 research showed that 56% of physicians who prescribed Xifaxan for IBS used TID dosing and

 62% had prescribed the drug to be taken for 10-14 days. (DTX 349-131 ). This market research

 is not prior art because it was not publicly available as of the priority date, but it reflects a POSA's

 state of mind. Pimentel 2006 taught, "Recent data suggest that the optimal dosage of rifaximin

 may, in fact, be higher than that used in our study." (JTX 53 at 562). A POSA would have been



 the prior art describes the treatment of "IBS." About one third ofIBS patients have IBS-D, and
 there is no evidence in the record that a POSA would expect an IBS-D patient to respond
 differently to treatment than a patient with another form of IBS. (Tr. 622:21-623: 1).
                                                   39




                                                Appx39
           Case: 22-2153         Document: 28         Page: 115        Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 40 of 46 PageID #: 13223



motivated to use TID dosing to maintain an effective concentration of rifaximin in the small

intestine to control bacteria levels. (Tr. 672:4-23). Finally, a POSA would have been motivated

to improve the use of rifaximin to treat IBS by using a larger tablet to reduce patients' pill burden

and improve compliance. (Tr. 674:1-16.). 4

        I further find that a POSA would have had the motivation to treat patients 65 years of age

or older with a reasonable expectation of success. The prior art described rifaximin use to treat

 symptomsoflBS-Dpatients65yearsorolder. (JTX71 at l-2;DTX340-7;DTX657-4). A POSA

 would have expected the effect observed in Pimentel 2006 to apply to older patients too. (Tr.

 679:12-16).

        Salix attacks Norwich's obviousness case on several fronts.

        Salix argues that a POSA would recognize these prior art sources as flawed. Cuoco, for

 instance, is based on the unproven premise that SIBO contributed to IBS-D. Furthermore, its

 methodology was poor. (D.I. 181 at 19). Barrett was a retrospective chart review of only 8 patients

 and concluded that more research was needed. (Id.). Pimentel 2006 did not find an improvement

 in the symptoms of abdominal pain and diarrhea. (JTX 53 at 561). An editorial by Dr. Drossman

 noted that Pimentel 2006's limitations made its "findings inconclusive and raise[d] questions about

 the clinical significance of the results." (PTX 457 at 627; Tr. 767:11-18, 770:10-19). Finally,

 Salix argues that the RFIB 2001 Protocol did not disclose results, and "it was unrebutted that a



 4
   Salix argues that Dr. Harary undermined his own testimony on the pill burden. Dr. Harary
 testified, "I don't think going from two pills to one pill would make a big difference, but if you
 have a larger number of pills, then going to one pill would be - would be convenient and the
 patients would be more comfortable taking them." (Tr. 674:12-16). As of the priority date, only
 200 mg pills were available. I take Dr. Harary's testimony to be saying that three 200 mg pills
 would be needed to achieve a similar dose (600 mg, as opposed to the claimed 550 mg), and that
 three pills are more inconvenient than one pill. Accordingly, I do not see how Dr. Harary
 undermined his own testimony regarding pill burden.


                                                 40




                                              Appx40
           Case: 22-2153           Document: 28          Page: 116        Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 41 of 46 PageID #: 13224



 POSA would not have reasonably expected RFIB2001 would be successful simply because the

 trial had begun." (D.I. 181 at 19-20).

        I am unpersuaded by these arguments. It is fair to critique sources, and a POSA would

 take a source's shortcomings into consideration when evaluating the evidence. Obviousness does

 not require perfect evidence, however, and the available evidence persuaded a significant number

 of doctors who would have been qualified as POSAs to use rifaximin to treat IBS. Regarding

 Pimentel 2006's failure to find an improvement in abdominal pain and diarrhea, the patents are

 not directed to specific symptoms but to "adequate relief." There are many symptoms of IBS-D.

 The patents themselves do not claim relief from every symptom.

        Finally, I find that Salix's press release disclosing success in the RFIB 2001 Protocol study

 is prior art, and thus a POSA would have known about the RFIB 2001 top-line results as of the

 priority date. Salix argues that the press release was derived from the inventor's work and thus

 cannot be prior art. (D.I. 181 at 20 (citing Invitrogen Corp. v. Biocrest Mfg., L.P., 424 F.3d 1374,

 1380-81 (Fed. Cir. 2005))). Norwich argues that Salix has waived this contention by failing to

 raise it in the Pretrial Order. (D.1. 185 at 8). Upon review of the Pretrial Order and its Exhibits

 (D.1. 147-149), I see Plaintiffs' acknowledgement that Norwich is asserting the press release as

 prior art (D.I. 149, Ex. 4, at 5 n.2), and I see a list of items the prior art status of which Plaintiffs

 contest, which does not include the press release (id. at 6 ,28), and I do not see any discussion of

 derivation, so the argument is likely waived. But I do not need to decide waiver, however, because

 there is no evidence upon which to make a factual finding that the press release was derived from

 the inventor's work. "Since appellees have produced no evidence-unsurprising given their

 belated recourse to this argument-and provided no supported explanation demonstrating that the

 Brandt references were in fact printed publications authored by Dr. VanDenburgh for the purposes



                                                    41




                                                Appx41
           Case: 22-2153          Document: 28          Page: 117       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 42 of 46 PageID #: 13225



of§ 102(a), we see no reason to remand to make further findings on this issue." Allergan, Inc. v.

Apotex Inc., 754 F.3d 952, 969 (Fed. Cir. 2014). The Allergan Court thus concluded that the

printed publications at issue were prior art. Id. at 969-70). The press release is therefore prior art.

 Its disclosure of positive results would give a POSA a reasonable expectation of success in using

 rifaximin to treat IBS-D.

        Salix also points to skepticism in the literature regarding the connection between SIBO and

 IBS and whether to use antibiotics to treat IBS-D.        Drossman criticized the Pimentel 2006

 methodology, as discussed above. A 2007 Education Practice note by Eamonn M.M. Quigley

 stated, "sound rationale for antibiotic therapy ha[ d] not been established because the issue of SIBO

 in IBS ha[d] not been resolved." (PTX 692 at 1142; Tr. 777:20-21). Indeed, Salix argues, using

 antibiotics would have drawbacks: antibiotics could "exacerbate symptoms" or "lead to antibiotic

 resistance and opportunistic infections" like c. difficile. (PTX 664 at 1780; PTX 692 at 1142). A

 February 4, 2008 article by Vanner considered the evidence and concluded that there was

 insufficient evidence to recommend the use of antibiotics to treat IBS. (Tr. 779:3-8). Accordingly,

 Salix argues that the off-label use is best understood as physicians acting out of "desperation, not

 because they expected it to work." (D.I. 181 at 17).

        Upon review of the evidence, it appears that IBS is a complex disease and the pathogenesis

 was unknown as of the priority date. The relationship between IBS and SIBO was actively being

 explored, provoking a debate within the field. Quigley, Vanner, and Drossman do not teach away

 from using rifaximin to treat IBS, and Salix does not argue that they do. Based on the evidence, I

 do not think a POSA would elevate these sources above the other prior art available. The RFIB

 2001 Press Release-which was not cited by Quigley, Vanner, or Drossman-states, "The belief

 that bacteria in the small bowel may play a role in the symptoms of IBS gains additional evidence



                                                  42




                                               Appx42
           Case: 22-2153          Document: 28          Page: 118     Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 43 of 46 PageID #: 13226



 with this large, multicenter trial." (DTX 657-4). I do not think a POSA would have discounted

 prior art sources that were based upon the theory that SIBO contributed to IBS because studies

 such as the RFIB 2001 Protocol were testing that hypothesis at the time. More importantly, a

 POSA would look to the top-line results from the RFIB 2001 Protocol as evidence that rifaximin

 could be effective in treating IBS-D, regardless of whether the results were based upon a link

 between IBS-D and SIBO.

        Regarding the concerns of bacterial resistance, expert testimony shows that short-term

 administration did not raise resistance concerns. (Tr. 493:15-494:20). Furthermore, in 2007, a

 retrospective study of 84 IBS patients who were retreated with rifaximin noted that 69% of patients

 had a "clinical response" to rifaximin and that retreatment did not result in clinically relevant

 antibiotic resistance. (DTX 892-2, 5; Tr. 630:5-19, 631:9-18).

        Accordingly, I do not think these concerns would dissuade a POSA from exploring the use

 of rifaximin in treating IBS-D. The 74% of gastroenterologists who had reported using rifaximin

 for IBS-D patients is real world evidence supporting the conclusion that there was a motivation to

 explore this treatment, despite the potential risks.

        Regarding secondary considerations, Salix argues that there was skepticism that the

 claimed dosing regimen could safely and effectively treat IBS-D. (D.I. 174 at 17). Salix points to

 statements in Quigley, Drossman, and Vanner such as, "A sound rationale for antibiotic therapy

 has not been established .... ," and, "There is insufficient evidence to recommend antibiotics for

 the treatment of [IBS] at present." (PTX 692 at 1142; PTX 693 at 1319). Furthermore, experts on

 the FDA advisory committee stated that using rifaximin 550 TID for 14 days was "a completely

 different paradigm and a different treatment structure," and that Salix had proposed to "treat[] a

 disease which we know nothing or very little about with a drug that we know little or nothing



                                                   43




                                                Appx43
             Case: 22-2153         Document: 28        Page: 119       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 44 of 46 PageID #: 13227



about." (PTX 535 at 302, 307). The FDA advisory committee also expressed concern about

antibiotic resistance. (Id. at 13 7).

        Norwich responds that Salix' s evidence of skepticism "fails" because rifaximin had already

 been used to safely and effectively treat IBS-D before 2008. (D.1. 183 at 18). I do not think this

 negates Salix' s evidence of skepticism.

        Regarding skepticism in the literature, Norwich argues that one of the articles was

 published before Yang and the RFIB 2001 Press Release, and the other two articles did not cite

 those references. (Id. at 20). I agree that evidence of skepticism is not as powerful when the

 skepticism is expressed by a source unfamiliar with the "prior art references that laid the

 groundwork for the inventors' experiments." PharmaStem Therapeutics, Inc. v. ViaCell, Inc., 491

 F.3d 1342, 1365 (Fed. Cir. 2007). I still give some weight to these articles, especially Vanner,

 which was published less than a month before the priority date.

        Regarding the FDA advisory committee, Norwich argues, "The cited passages from the

 2011 FDA advisory committee meeting regarding the IBS-D indication did not criticize the safety

 or effectiveness of rifaximin to treat IBS-D in at least some patients." (Id. at 19). Norwich's

 expert did not address the FDA statements. I decline to adopt attorney argument in place of expert

 testimony.

        Ultimately, I give some weight to Salix's evidence of skepticism from the literature and

 the FDA's statements. I do not think these experts "expressed disbelief," United States v. Adams,

 383 U.S. 39, 52 (1966), but there is a "range of third-party opinion that can constitute skepticism."

 Neptune Generics, LLCv. Eli Lilly & Co., 921 F.3d 1372, 1378 (Fed. Cir. 2019). Ultimately, Salix

 has shown a small amount of skepticism but not enough to change the outcome of the obviousness

 analysis.



                                                  44




                                               Appx44
           Case: 22-2153         Document: 28         Page: 120         Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 45 of 46 PageID #: 13228



        I find that the asserted IBS-D claims are invalid as obvious.

                   4. Written Description

        Norwich argues that asserted claim 2 of the '569 patent lacks written description because

 it fails to show possession of the claimed "durability of response compris[ing] about 12 weeks of

 adequate relief of symptoms." (D.I. 176 at 30). The specification explains:

        As used herein, 'durability ofresponse' includes for example, adequate relief of symptoms
        after removal of treatment, continuous adequate relief of symptoms after removal of
        treatment, or response that is greater than or superior to placebo response .... The duration
        of response, may be, for example, 2 days, 7 days, two weeks, 3 weeks, 4 weeks, 12 weeks,
        between about 1 week and about 24 weeks or longer.

 '569 Patent at 11 :44--53. The specification also discloses a proposed study design in Figure 3 "to

 show durability ofresponse." Id. at 6:10-12. Figure 3 shows a "4 Week Treatment Period" follow

 by a 12 week "Post-Treatment Phase." Id. at Fig. 3, 25:55-59. I think this is enough to show

 possession of the claimed 12-week durability of response.

        Norwich argues that the disclosure is "effectively unlimited in time." (D.I. 176 at 31).

 "[T]he level of detail required to satisfy the written description requirement varies depending on

 the nature and scope of the claims and on the complexity and predictability of the relevant

 technology." Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010). Here,

 the evidence shows that IBS-D is a complex disease and that not all patients achieve a 12-week

 durability of response. A POSA would recognize that the inventor adequately described a range

 of possibilities for the durability of response and was in possession of the claimed 12-week period.

                    5. Indefiniteness

        Norwich argues that asserted claim 2 of the '569 patent is invalid as indefinite. (D.I. 176

 at 28). As noted, Claim 2 includes the limitation, "durability of response compris[ing] about 12

 weeks of adequate relief of symptoms." Norwich argues that "adequate relief of symptoms" is



                                                 45




                                              Appx45
           Case: 22-2153          Document: 28          Page: 121     Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 191 Filed 08/10/22 Page 46 of 46 PageID #: 13229



subjective opinion. (Id.). Salix responds that "adequate relief' and "durability of response" have

accepted meanings to a POSA. (D.I. 181 at 31 ). IBS-D is a collection of symptoms and there is

no biomarker to determine a successful overall treatment of IBS-D. (Tr. 507:24-508:7). I credit

Dr. Schoenfeld's testimony that patient-reported "adequate relief' is used to determine IBS-D

treatment success in the field. (Tr. 519: 15-22; 821 :9-822: 1). Thus, I reject Norwich's argument

that claim 2 of the '569 patent is invalid as indefinite.

 V.     CONCLUSION

       For the foregoing reasons, Norwich's ANDA will induce infringement of the HE, IBS-D,

and Polymorph patent claims. The HE claims are nonobvious and Norwich has failed to show a

lack of adequate written description. The asserted Polymorph and IBS-D claims are invalid as

obvious.

        I will enter a final judgment in accord with the conclusions of this opinion.




                                                  46




                                               Appx46
         Case: 22-2153          Document: 28         Page: 122        Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 192 Filed 08/10/22 Page 1 of 3 PageID #: 13230



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 SALIX PHARMACEUTICALS, LTD.;
 SALIX PHARMACEUTICALS, INC.;
 BAUSCH HEALTH IRELAND LTD.;
 ALFASIGMA S.P.A.,

                Plaintiffs,
                                                   Civil Action No. 20-430-RGA
        V.


 NORWICH PHARMACEUTICALS, INC.,

                Defendant.



                                        MEMORANDUM

       The parties have a dispute concerning the final judgment. (D.I. 190). I am entering a

final judgment in accordance with the following rationale.

       Plaintiffs sued Defendant under§ 271(e)(2)(A) of the Patent Act for submitting an

abbreviated new drug application ("ANDA") to the Food and Drug Administration ("FDA"). At

trial, Plaintiffs asserted three patent families against Defendants: one on the product, one on the

hepatic encephalopathy indication (the "HE indication"), and one on the irritable bowel

syndrome with diarrhea indication (the "IBS-D indication"). After a bench trial, I determined

that only the patents on the HE indication were both not invalid and infringed by Norwich's

proposed ANDA.

       The parties dispute whether the final judgment ought to order the FDA approval date for

"Norwich's ANDA No. 214369" or "Norwich's ANDA with proposed labeling containing [the

HE indication]" as the expiry date of the HE patents. (D.I. 190).




                                             Appx47
           Case: 22-2153         Document: 28         Page: 123       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 192 Filed 08/10/22 Page 2 of 3 PageID #: 13231



         35 U.S .C. § 27l(e)(2)(A) makes it an "act of infringement to submit" an ANDA "for a

drug claimed in a patent or the use of which is claimed in a patent." Because the ANDA' s HE

indication would infringe Plaintiffs' patents, the ANDA submission is an act of infringement. In

such cases, the Patent Act states, "the court shall order the effective date of any approval of the

drug ... involved in the infringement to be a date which is not earlier than the date of the

expiration of the patent which has been infringed." 35 U.S.C. § 271(e)(4). Thus, the effective

date of the approval of this infringing ANDA must not be earlier than the expiration of the latest

asserted HE claim.

         The scope of my ruling is that the HE patents are not invalid, and that the HE indication

would infringe the HE patents. Norwich's proposed ANDA has the HE indication. I cannot rule

on facts that are not before me. That Norwich may seek to carve out the HE indication as

permitted by 21 U.S.C. § 355(j)(2)(A)(viii) is immaterial to this analysis. That label is not before

me.

         The parties dispute whether I ought to enter injunctive relief. (D.I. 190 at 2, 4). I have

never had a hearing on whether injunctive relief should issue after a finding of ANDA

infringement, or so far as I can recall, even an argument in a pleading that it should not issue. 1

An injunction seems unlikely to make a practical difference when only method patents are not

invalid and infringed. The only reason I would enter an injunction directed at Defendant would

be to enjoin infringing activity that could be undertaken in the absence of FDA approval. But,

the absence of FDA approval blocks direct infringement of the HE method claims. Without that

direct infringement, Defendant cannot induce infringement. An injunction would therefore be

redundant of the order barring FDA approval, because the FDA cannot approve the ANDA



1
    There have been disputes about the details of the injunctive language.
                                                  2




                                              Appx48
         Case: 22-2153           Document: 28          Page: 124       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 192 Filed 08/10/22 Page 3 of 3 PageID #: 13232



before the patents expire. For that reason, I suspect it will be difficult for Salix to show

irreparable harm. See Alcon, Inc. v. Teva Pharms. USA, Inc., 2010 WL 3081327, at *2 (D. Del.

Aug. 5, 2010). Should Salix have a good faith belief that it is entitled to an injunction, it can file

a motion to reconsider the matter, and I will reconsider the matter.
                           ~
       So entered this / () d ay of August 2022.

                                               ~fl:~~
                                               United States District Judge




                                                   3




                                              Appx49
             Case: 22-2153       Document: 28          Page: 125      Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 193 Filed 08/10/22 Page 1 of 2 PageID #: 13233



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

SALIX PHARMACEUTICALS, LTD.; SALIX       )
PHARMACEUTICALS, INC.; BAUSCH            )
HEAL TH IRELAND LTD.; ALF ASIGMA S.P.A., )
                                         )
                Plaintiffs,              )                   C.A. No. 20-430 (RGA)
                                                        )
       V.                                               )
                                                        )
NORWICH PHARMACEUTICALS, INC.,                          )
                                                        )
                        Defendant.                      )


                                      FINAL JUDGMENT

       This action, having been tried before the Court from March 21 through March 25, 2022,

and the Court having issued an opinion after trial (D.I. 191 ):

       IT IS HEREBY ORDERED and ADJUDGED:

        1.       Judgment is entered in favor of Plaintiffs Salix Pharmaceuticals, Ltd., Salix

Pharmaceuticals, Inc., Bausch Health Ireland Ltd., and Alfasigma S.p.A. (collectively,

"Plaintiffs") and against Defendant Norwich Pharmaceuticals, Inc. ("Norwich") on Plaintiffs'

claim that Norwich will induce infringement of claim 8 of U.S. Patent No. 8,642,573 (the '"573

Patent"), claim 6 of U.S. Patent No. 9,421,195 (the'" 195 Patent"), and claims 11-12 of U.S. Patent

No. 10,335,397 (the '"397 Patent").in connection with Norwich's proposed generic rifaximin 550

mg tablets ("ANDA Product") that are the subject of Norwich's Abbreviated New Drug

Application ("ANDA") No. 214369.

       2.       Judgment is entered in favor of Plaintiffs and against Norwich on Norwich's

counterclaims for non-infringement and invalidity of claim 8 of the '573 Patent, claim 6 of the

'195 Patent, and claims 11-12 the '397 Patent.




                                              Appx50
               Case: 22-2153       Document: 28         Page: 126        Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 193 Filed 08/10/22 Page 2 of 2 PageID #: 13234



          3.      Judgment is entered in favor of Plaintiffs and against Norwich that pursuant to 35

U.S.C. § 271(e)(2), Norwich's submission of Norwich's ANDA No. 214369 was an act of

infringement of claim 8 of the '573 Patent, claim 6 of the '195 Patent, and claims 11-12 the '397

Patent.

          4.      Judgment is entered in favor of Norwich and against Plaintiffs on Norwich's

counterclaims for invalidity of claim 2 of U.S. Patent No. 8,309,569, claim 3 of U.S. Patent No.

10,765,667, claim 4 of U.S. Patent No. 7,612,199, and claim 36 of U.S. Patent No. 7,902,206.

          5.      Pursuant to 35 U.S.C. § 27l(e)(4)(A), it is hereby ordered that the effective date of

any final approval by the Food and Drug Administration ("FDA") of Norwich's ANDA No.

214369 is to be a date not earlier than the date of expiration of the last to expire of the' 573, '195,

and '397 Patents (currently October 2, 2029), plus any regulatory exclusivity to which Plaintiffs

are or become entitled. Norwich shall notify the FDA of this judgment within two (2) business

days of its entry (with a copy of such notice given simultaneously to Plaintiffs).

          6.      In the event that a party appeals this Final Judgment, any motion for attorneys' fees

and/or costs under Fed. R. Civ. P. 54 and/or Local Rules 54.1 or 54.3, or any motion that this case

is exceptional under 35 U.S.C. § 285, shall be considered timely if filed and served within thirty

(30) days after final disposition of any such appeal.



                                           ~
                  SO ORDERED this ~        a ay of August, 2022.



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                                                Appx51
         Case: 22-2153           Document: 28         Page: 127       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 222 Filed 05/17/23 Page 1 of 5 PageID #: 13849




                        IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE




  SALIX PHARMACEUTICALS, LTD.; SALIX
  PHARMACEUTICALS, INC.; BAUSCH HEAL TH
  IRELAND LTD.; ALFASIGMA S.P.A.,,


                 Plaintiffs,

                                                                 Civil Action No. 20-430-RGA
         V.


  NORWICH PHARMACEUTICALS, INC.,


                 Defendant.



                                    MEMORANDUM ORDER

        I filed a final judgment in this case. (D.I. 193). Shortly thereafter, Defendant filed a motion

 to modify that judgment pursuant to Federal Rule of Civil Procedure 60(b ). (D.I. 205). Subsequent

 briefing made clear that Defendant was primarily relying upon Rule 60(b )( 5), which provides: "On

 motion and just terms, the court may relieve a party ... from a final judgment, order, or proceeding

 for the following reasons: ... (5) the judgment has been satisfied, released, or discharged; it is

 based on an earlier judgment that has been reversed or vacated; or applying it prospectively is no

 longer equitable." Plaintiffs oppose the motion. (D.I. 213).

        The background to the pending motion is that Defendant filed an ANDA seeking to make

 and market a drug for two different methods of treatment-the IBS-D indication and the HE

 indication. I had a bench trial. After trial, I ruled in Defendant's favor on the IBS-D indication (as

 well as the composition claims), finding all patent claims asserted in relation to those two issues




                                              Appx52
         Case: 22-2153          Document: 28          Page: 128      Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 222 Filed 05/17/23 Page 2 of 5 PageID #: 13850




to be invalid. I ruled in Plaintiffs' favor only on the HE indication, finding all claims asserted in

relation to that issue to be infringed and not invalid. In the final judgment, I ordered the FDA not

to approve the ANDA before the latest expiration (in about 2029) of the patents on which Plaintiffs

won. About a month after entry of the final judgment, Defendant filed an amended ANDA that

purports to carve out everything relating to the HE indication. Defendant says, if the FDA approves

the amended ANDA, Defendant would not be inducing infringement by marketing the

pharmaceutical with the amended label. Other than providing the proposed label, Defendant has

refused to provide any other information about the amended ANDA, including its status with the

FDA or anything else.

        I do not think Defendant's request fits in comfortably with the requirements of Rule

60(b)(5), and I do not think, even if it did, that it could be resolved in the summary fashion that

Defendant seems to think it should be.

        First, the Rule. Defendant says the judgment has been "satisfied," but I think it is pretty

clear that the "satisfied, released, or discharged" language is talking about money, and is therefore

 inapplicable. Defendant says the injunction prohibiting FDA approval before 2029 is "no longer

 equitable" because Defendant no longer seeks to do the act that was the basis for the injunction.

 The case law says that Rule 60(b)(5) is for a significant change in circumstances. See Rufo v.

 Inmates of Suffolk Cnty. Jail, 502 U.S. 367, 383 (1992). While such a change in circumstances

 does not have to be entirely unforeseeable, a "modification should not be granted where a party

 relies upon events that actually were anticipated at the time" the final judgment was entered. Id.

 at 385. I do not think "changed circumstances" applies here. The case was tried as essentially

 three independent up-or-down decisions. In my experience with ANDAs, it is common, and

 certainly not rare, to have split decisions. ANDA practitioners and pharmaceutical companies



                                                  2




                                             Appx53
         Case: 22-2153          Document: 28          Page: 129       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 222 Filed 05/17/23 Page 3 of 5 PageID #: 13851




surely know this. Thus, there were a limited number of possible outcomes at trial. But, of course,

the trial results are not the changed circumstances, as the actual outcomes were previewed two

weeks before the final judgment (D.I. 189) and disclosed at the same time as the final judgment.

The only changed circumstance is that Defendant decided to amend its ANDA, which it filed on

September 6, 2022 (D.I. 206 at 2), nearly one month after the final judgment. The changed

circumstance is simply a voluntary decision of the trial loser to change course, which is neither

unanticipated nor unforeseeable.

        I also wonder about "equitableness" generally. Defendant made various strategic choices

along the way, but now does not want to live with the consequences of those choices. 1 Defendant

says that it is now worse off than other generics that settled with Plaintiffs and apparently can

launch in 2028. While true, Defendant does not argue that it could not have settled and gotten the

same deal as the other generics. Defendant says that it has gone to the effort of proving the asserted

composition and IBS-D patent claims invalid, so other generics will be able to enter the market a

 lot sooner than 2028 by taking advantage of Defendant's accomplishments. 2 Defendant suggests

this is inequitable (and perhaps it is), but the inequity does not exist between Plaintiffs and

 Defendant. To the extent there is inequity, it is between Defendant and other generics. Defendant

 says that the public will be harmed because Plaintiffs will not have any generic competition (with

 attendant lower costs) on the IBS-D treatment method for some period of time, even though




 1
   I was assigned one related ANDA, where Defendant was only seeking approval to market the
 IBS-D indication, and not the HE indication. Salix Pharms., Ltd. v. Sun Pharms. Inds., LTD, No.
 19-734-RGA (D.Del. filed April 24, 2019). That Defendant quickly resolved its case with
 Plaintiffs.
 2
   This may be a bit speculative too, because Plaintiffs have lots of relevant patents and patent
 claims, and, while presumably they advanced their best claims at the trial in this case, I would
 expect they have more listed in the Orange Book to assert against the next generic to file an
 ANDA.
                                                  3




                                             Appx54
         Case: 22-2153          Document: 28          Page: 130       Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 222 Filed 05/17/23 Page 4 of 5 PageID #: 13852




Plaintiffs have no right to a monopoly on that treatment method. This is a bit speculative, since

there is no information about if or when the FDA might approve the amended ANDA.

       Second, the record. It is not a simple matter to determine whether an ANDA applicant has

successfully carved out language from a label to tum infringement into non-infringement. 3

Defendant, other than saying it has successfully carved out the HE indication, and providing me

the label, has presented no evidence in support of its assertion. Further, Rule 60(b) "does not allow

relitigation of issues that have been resolved by the judgment." 11 WRIGHT, MILLER, & KANE,

FEDERAL PRACTICE AND PROCEDURE § 2863, at 459 (3d ed. 2012). Defendant presents no facts

indicating that it could not have litigated the carve-out or that it was denied a full and fair

opportunity to do so. Allergan, Inc. v. Sandoz Inc., 2013 WL 6253669, at *3 (E.D. Tex. Dec. 3,

2013), aff'd, 587 F. App'x 657 (Fed. Cir. 2014). As in Allergan, Defendant fully litigated the

merits of its non-infringement and invalidity case, lost, and now seeks a way around the final

judgment through Rule 60(b) that "is tantamount to seeking summary judgment premised on new

allegations that only came to exist after the final judgment was rendered .... " Id.

       Defendant states that Plaintiffs have not tried to state a claim against the carve out, and

therefore, they cannot. I am unpersuaded that Plaintiffs have some duty now to state a claim on

something that Defendant never raised as an issue before entry of final judgment. It is not

surprising that Defendant has cited no case that requires a plaintiff to be able to state a claim on a

new issue after judgment. What Defendant wants would essentially be a second litigation.




3
  I had an ANDA trial in January 2023 where one of the issues is whether the carve out has been
successful. The issue is hotly disputed. See Sanofi-Aventis US LLC v. Sandoz, Inc., No. 20-
804-RGA, D.I. 355 at 2 (D.Del. Feb. 17, 2023) (arguing non-infringement because Sandoz
removed certain information from its proposed label).

                                                  4




                                             Appx55
         Case: 22-2153         Document: 28          Page: 131      Filed: 07/24/2023
Case 1:20-cv-00430-RGA Document 222 Filed 05/17/23 Page 5 of 5 PageID #: 13853




       Third, the law. Plaintiffs say, and Defendant does not present any argument to the contrary,

that what Defendant seeks is unprecedented in an ANDA case. I am hesitant to be the first, because

it just seems wrong to me that Defendant can litigate a case through trial and final judgment based

on a particular ANDA, and then, after final judgment, change the ANDA to what it wishes it had

started with, and win in a summary proceeding.

       Thus, I DENY Defendant's Rule 60(b) motion. (D.I. 205).

       IT IS SO ORDERED this      Q_1'}ay of May, 2023.

                                                     United States D strict Judge




                                                 5




                                            Appx56
          Case: 22-2153    Document: 28    Page: 132    Filed: 07/24/2023




              CERTIFICATE OF COMPLIANCE WITH RULE 32(A)

      1.    This brief complies with the type-volume limitations of Federal Rule of
Appellate Procedure 32(a)(7)(B) because this brief contains 13,276 words,
excluding the parts of the brief exempted by Federal Rule of Appellate
Procedure 32(f).

      2.     This brief complies with the typeface requirements of Federal Rule of
Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of
Appellate Procedure 32(a)(6) because this brief has been prepared in a
proportionally spaced typeface using Microsoft Office 365 in Times New Roman
14-point font.


                                      /s/ William R. Peterson
                                      William R. Peterson
                                      Counsel for Appellants
                                      Salix Pharmaceuticals, Ltd.,
                                      Salix Pharmaceuticals, Inc.,
                                      Bausch Health Ireland Ltd., and
                                      Alfasigma S.p.A.

                                      Dated: July 24, 2023
